                 Case 08-13141-BLS   Doc 10274-3   Filed 11/18/11   Page 1 of 147




                                PROPOSED FORM OF ORDER




CH1 6333435v.6
                 Case 08-13141-BLS                   Doc 10274-3               Filed 11/18/11              Page 2 of 147




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

In re:                                                                   Chapter 11

TRIBUNE COMPANY, et al.,1                                                Case No. 08-13141 (KJC)

                                        Debtors.                         Jointly Administered
                                                                         Related Docket No. ____

         ORDER (I) APPROVING SUPPLEMENTAL DISCLOSURE DOCUMENT;
      (II) ESTABLISHING SCOPE, FORMS, PROCEDURES, AND DEADLINES FOR
    RESOLICITATION AND TABULATION OF VOTES TO ACCEPT OR REJECT DCL
    PLAN FROM CERTAIN CLASSES; (III) AUTHORIZING TABULATION OF PRIOR
     VOTES AND ELECTIONS ON DCL PLAN MADE BY HOLDERS OF CLAIMS IN
        NON-RESOLICITED CLASSES; (IV) SCHEDULING THE CONFIRMATION
     HEARING AND ESTABLISHING NOTICE AND OBJECTION PROCEDURES IN
             RESPECT THEREOF; AND (V) GRANTING RELATED RELIEF

           Upon the Motion2 of the Debtors pursuant to sections 105(a), 1125, 1126, 1127, 1128,

and 1129 of the Bankruptcy Code, Bankruptcy Rules 2002, 3003, 3017, 3018, 3019, and 3020,


1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.



CH1 6336282v.3
                 Case 08-13141-BLS           Doc 10274-3         Filed 11/18/11        Page 3 of 147




and Rule 3017-1 of the Local Rules, and other applicable law, for entry of an order (i) approving

the Supplemental Disclosure Document respecting the DCL Plan; (ii) establishing the scope,

forms, procedures, and deadlines for the resolicitation and tabulation of votes on and elections

under the Third Amended Joint Plan of Reorganization For Tribune Company and Its

Subsidiaries (the “Third Amended DCL Plan”) proposed by the Debtors, the Official Committee

of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and

JPMorgan Chase Bank, N.A. (the “DCL Plan Proponents”); (iii) authorizing the continued

tabulation of votes and elections previously made on the Second Amended DCL Plan3 by the

Holders of Claims in impaired Classes other than the Revoting Classes (defined below) for

purposes of the Third Amended DCL Plan; (iv) scheduling the Confirmation Hearing and

establishing notice and objection procedures and fixing necessary dates and deadlines in respect

thereof; and (v) granting related relief; and upon consideration of the Motion and all pleadings

related thereto; and due and proper notice of the Motion having been given under the

circumstances; and it appearing that no other or further notice is required; and it appearing that

the Court has jurisdiction to consider the Motion in accordance with 28 U.S.C. §§ 157 and 1334,

and that this matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); and after

due deliberation and upon the Court’s determination that the relief requested is in the best

interest of the Debtors and their estates, and sufficient cause appearing therefor,

                    THE COURT FINDS AND DETERMINES THAT:




2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.
3
 See Second Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries Proposed by the
Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon &
Co., L.P., and JPMorgan Chase Bank, N.A. (As Modified April 26, 2011) [Docket No. 8769], as amended on
October 19, 2011 [Docket No. 10024].



CH1 6336282v.3                                             2
                 Case 08-13141-BLS     Doc 10274-3      Filed 11/18/11     Page 4 of 147




                    A.    The Supplemental Disclosure Document, as a supplement to the

previously-approved Disclosure Documents respecting the DCL Plan,4 contains “adequate

information” within the meaning of section 1125 of the Bankruptcy Code.

                    B.    The scope of resolicitation of the DCL Plan is appropriately limited to the

Holders of Claims in the four (4) Classes of Claims whose distributions may be affected by the

resolution of the Allocation Disputes, which Classes are the Senior Noteholder Claims, Other

Parent Claims, EGI-TRB LLC Notes Claims, and PHONES Notes Claims; and (b) the Holders of

Claims in the thirty-seven (37) Classes of General Unsecured Claims against Non-Guarantor

Debtors for which no Holders voted to accept or reject the DCL Plan in the prior solicitation

process (Classes 2E, 4E through 7E, 10E, 12E through 15E, 18E through 20E, 22E through 38E,

40E, 42E, 43E, and 46E through 49E) (collectively, the “Subsidiary Revoting Classes”) (the

foregoing classes, collectively, the “Revoting Classes”).

                    C.    The forms of Supplemental Ballots, Supplemental Beneficial Ballots, and

Supplemental Master Ballots for each of the Revoting Classes attached to this Order as Exhibits

A-F, respectively, (i) are sufficiently consistent with Official Form No. 14 to be approved, (ii)

adequately address the particular needs of these Chapter 11 Cases, including, without limitation,

the resolicitation and tabulation of votes on the Third Amended DCL Plan and the making of


4
 See General Disclosure Statement dated December 15, 2010 [Docket No. 7232] , approved by order
entered on December 9, 2010 [Docket Nos. 7215, 7126]; Specific Disclosure Statement Relating to First
Amended Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by the
Debtors, The Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo,
Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. [Docket No. 7135] approved by order entered on
December 9, 2009 [Docket No. 7216]; Explanatory Statement Relating to Modified Elections Under
Second Amended Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by the
Debtors, The Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo,
Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (as modified April 26, 2011) [Docket No. 8754]
approved by order entered on May 17, 2011 [Docket No. 8926] (collectively with the Supplemental
Disclosure Document, and as defined in Section 1.1.85 of the Third Amended DCL Plan, the “Disclosure
Documents”).


CH1 6336282v.3                                      3
                 Case 08-13141-BLS     Doc 10274-3      Filed 11/18/11     Page 5 of 147




elections called for under such Plan, and (iii) are appropriate for each Class of Claims entitled to

revote to accept or reject the Third Amended DCL Plan and make elections thereon.

                    D.    The Supplemental Ballots, Supplemental Beneficial Ballots, and

Supplemental Master Ballots contain sufficient information to assure that (i) duplicate

Supplemental Ballots and Supplemental Master Ballots are not submitted and tabulated and (ii)

the Supplemental Master Ballots reflect the votes of the Beneficial Owners of the Debtors’

Senior Notes and PHONES Notes.

                    E.    The period, as set forth below, during which the DCL Plan Proponents

may resolicit acceptances of the Third Amended DCL Plan is a reasonable and adequate period

of time for Holders of Claims in the Revoting Classes to make an informed decision to accept or

reject the Third Amended DCL Plan.

                    F.    The procedures set forth in the Motion and the Instructions accompanying

the forms of Supplemental Ballots, Supplemental Beneficial Ballots, and Supplemental Master

Ballots (a) provide for a fair and equitable voting process and are consistent with section 1126 of

the Bankruptcy Code and the Bankruptcy Rules, and (b) are fair and reasonable with respect to a

party’s right to make the various elections set forth in the Third Amended DCL Plan, including,

without limitation, to grant the releases and select among the treatment options provided under

the Third Amended DCL Plan.

                    G.    The Resolicitation Package to be distributed to Holders of Claims in the

Revoting Classes, consisting of (i) a copy of the Third Amended DCL Plan, (ii) a copy of the

Supplemental Disclosure Document, (iii) a copy of the applicable Supplemental Ballot,

Supplemental Beneficial Ballot, or Supplemental Master Ballot, together with corresponding

Instructions and one or more pre-paid return envelopes, (iv) a copy of the Confirmation Hearing




CH1 6336282v.3                                     4
                 Case 08-13141-BLS         Doc 10274-3         Filed 11/18/11         Page 6 of 147




Notice; and (v) a copy of this Order (without exhibits), comply with Bankruptcy Rules 2002 and

3017 and constitute sufficient notice of the DCL Plan and the Confirmation Hearing to all

interested parties.

                    H.     The combination of direct and published notice of the Third Amended

DCL Plan and Confirmation Hearing, as set forth in the Motion, provides good and sufficient

notice of the Third Amended DCL Plan, the Confirmation Hearing, the opportunity for Holders

of Claims in the Revoting Classes to vote on and make elections under the Third Amended DCL

Plan, and procedures for parties to object to the Third Amended DCL Plan and satisfies the

requirements of due process with respect to all known and unknown creditors of the Debtors.

                    I.     The establishment of a new deadline for the submission of Media

Ownership Certifications is not required.

                    NOW THEREFORE, IT IS HEREBY ORDERED THAT:

                    1.     The Motion is granted.

                    2.     All applicable provisions of the Court’s Prior Solicitation Orders5 shall

continue in full force and effect for the purposes of resolicitation of votes on and elections under

the Third Amended DCL Plan, except as otherwise expressly modified in this Order.



5
  This Court previously authorized procedures for solicitation of votes to accept or reject the DCL Plan, and to make
elections thereunder, on two occasions. See Order (I) Approving General Disclosure Statement and Specific
Disclosure Statements; (II) Establishing Procedures for Solicitation and Tabulation of Votes to Accept or Reject
Plans of Reorganization; (III) Approving Forms of Ballots, Master Ballots and Related Instructions; (IV) Approving
Solicitation Package Contents and Authorizing Distribution of Solicitation and Notice Materials; (V) Fixing Voting
Record Date; (VI) Establishing Notice and Objection Procedures in Respect of Confirmation; (VII) Setting
Confirmation Schedule and Establishing Parameters on Confirmation-Related Discovery; (VIII) Establishing New
Deadline for Return of Media Ownership Certifications; (IX) Authorizing Expansion of Balloting and Tabulation
Agents Retention and Allocation of Costs of Same; and (X) Granting Related Relief [Docket No. 7126, amended at
Docket No. 7215] (the “First Solicitation Order”); Order Approving (I) Form, Scope and Procedures to (A) Provide
Holders of Senior Loan Claims and Senior Guaranty Claims with Opportunity to Change Votes on
Debtor/Committee/ Lender Plan; (B) Allow Holders of Senior Noteholder Claims and Other Parent Claims to Make
New Treatment Elections; (C) Allow Holders of Claims that Previously Granted Certain Releases to Make Elections
Concerning Such Releases as Modified; and (D) Allow Holders of Claims Against Tribune Company to Opt Out of
Transfer of Disclaimed State Law Avoidance Claims to Creditors Trust Under Debtor/Committee/Lender Plan; and


CH1 6336282v.3                                           5
                 Case 08-13141-BLS         Doc 10274-3          Filed 11/18/11         Page 7 of 147




                    3.     Supplemental Disclosure Document. The Supplemental Disclosure

Document is approved as containing adequate information within the meaning of section 1125 of

the Bankruptcy Code.

                    4.     The DCL Plan Proponents are required to distribute the Supplemental

Disclosure Document only to Holders of Claims in the Revoting Classes.

                    5.     Scope of Resolicitation. The DCL Plan Proponents are authorized and

empowered to provide the Holders of Senior Notes Claims, Other Parent Claims, EGI-TRB LLC

Notes Claims, PHONES Notes Claims, and General Unsecured Claims in the Subsidiary

Revoting Classes with the opportunity to vote to accept or reject the DCL Plan and make

elections thereunder.

                    6.     The DCL Plan Proponents are not required to provide any other Holders of

Claims that previously cast votes to accept or reject the Second Amended DCL Plan or that made

elections thereunder with the opportunity to change such votes or elections.

                    7.     Supplemental Voting Record Date. December 12, 2011 is established as

the Supplemental Voting Record Date for purposes of determining (i) the Holders of Claims in

the Revoting Classes that are entitled to vote on the Third Amended DCL Plan, as set forth in the

Motion, and (ii) the Holders of Claims in the non-Revoting Classes that, together with parties

filing a notice of appearance in these cases, governmental units having an interest in these cases,

indenture trustees and equity interest holders, will be provided the Confirmation Hearing Notice

and a copy of this Order (without exhibits).

                    8.     Approving Forms of Supplemental Ballots, Supplemental Beneficial

Ballots, Supplemental Master Ballots and Instructions. The Supplemental Ballots, Supplemental


(II) Supplement to Disclosure Statement and Explanatory Statement and Distribution of Same [Docket No. 8926]
(the “Second Solicitation Order” and, together with the First Solicitation Order, the “Prior Solicitation Orders”).



CH1 6336282v.3                                            6
                 Case 08-13141-BLS      Doc 10274-3      Filed 11/18/11    Page 8 of 147




Beneficial Ballots, and Supplemental Master Ballots, together with their accompanying

Instructions for each of the Revoting Classes, which shall be substantially in the forms annexed

hereto as Exhibits A-F, respectively, are hereby approved.

                    9.     The Debtors are authorized to make non-material modifications to any

Supplemental Ballots, Supplemental Beneficial Ballots, and Supplemental Master Ballots to be

distributed to Holders of Claims in the Revoting Classes pursuant to this Order without further

order of the Court.

                    10.    Resolicitation Package. The DCL Plan Proponents are authorized and

empowered to distribute, through the Voting Agent, to Holders of Claims in the Revoting

Classes, by first-class mail: (i) a copy of the Third Amended DCL Plan, (ii) a copy of the

Supplemental Disclosure Document, (iii) an appropriate number of Supplemental Ballots,

Supplemental Beneficial Ballots, and Supplemental Master Ballots, as applicable, together with

corresponding Instructions and one or more pre-paid return envelopes, (iv) a copy of the

Confirmation Hearing Notice; and (v) a copy of this Order (without exhibits).

                    11.    Resolicitation Procedures. The DCL Plan Proponents are authorized and

empowered to resolicit votes to accept or reject the DCL Plan from the Revoting Classes, in

accordance with the following procedures:

                   The DCL Plan Proponents will cause Supplemental Beneficial Ballots and
                    accompanying Instructions, together with a Supplemental Master Ballot, to be
                    distributed to each person or entity that was a record Holder of a Senior
                    Noteholder Claim or PHONES Notes Claim (other than the Holder of a PHONES
                    Notes Exchange Claim, discussed below) as of the Supplemental Voting Record
                    Date. The record Holders of Senior Noteholder Claims and PHONES Notes
                    Claims include, without limitation, representatives such as brokers, banks,
                    commercial banks, transfer agents, trust companies, dealers, or other agents or
                    nominees (collectively, the “Voting Nominees”). The Voting Agent will provide
                    each Voting Nominee with reasonably sufficient numbers of Supplemental
                    Beneficial Ballots and accompanying Instructions to distribute to the beneficial




CH1 6336282v.3                                      7
                 Case 08-13141-BLS       Doc 10274-3      Filed 11/18/11     Page 9 of 147




                    owners of the Senior Noteholder Claims and PHONES Notes Claims for whom
                    such Voting Nominee acts (collectively, the “Beneficial Owners”).
                   Each Voting Nominee will be required to forward the Resolicitation Packages to
                    each Beneficial Owner for voting, together with one or more pre-paid return
                    envelopes, so that the Beneficial Owner may return the completed Supplemental
                    Beneficial Ballot to the Voting Nominee by such deadline as may be established
                    by the Voting Nominee. Each Voting Nominee then will tabulate the individual
                    votes of its respective Beneficial Owners from their Supplemental Beneficial
                    Ballots on the Supplemental Master Ballot and return the Supplemental Master
                    Ballot to the Voting Agent so that it is received prior to the Supplemental Voting
                    Deadline. The Voting Nominees will be required to retain Beneficial Ballots for
                    inspection for a period of at least five (5) years following the Supplemental
                    Voting Deadline.
                   The elections made by Holders of Senior Noteholder Claims to receive the Senior
                    Noteholder Alternative Treatment and/or the elections made by Holders of Senior
                    Noteholder Claims or PHONES Notes Claims not to transfer their Disclaimed
                    State Law Avoidance Claims to the Creditors’ Trust to be established under the
                    Third Amended DCL Plan (the “Treatment Elections”) will be valid only if such
                    Holders have electronically delivered their Senior Notes or PHONES Notes, as
                    applicable, into the Automated Tender Offer Program at The Depository Trust
                    Company (the “ATOP System”) for placement into a Contra-CUSIP. Only the
                    Voting Nominees can submit these elections on behalf of Beneficial Owners of
                    Senior Noteholder Claims and PHONES Notes Claims. Holders of Senior
                    Noteholder Claims or PHONES Notes Claims that make a Treatment Election and
                    electronically deliver their Senior Notes or PHONES Notes into the Contra-
                    CUSIP may withdraw their Senior Notes or PHONES Notes from the Contra-
                    CUSIP up to and until the Supplemental Voting Deadline. However, following
                    the Supplemental Voting Deadline, such Senior Notes or PHONES Notes will not
                    be freely tradable. Holders of Senior Noteholder Claims or PHONES Notes
                    Claims that make a Treatment Election but fail to comply with the procedures for
                    making such elections set forth above, will (a) not receive the Senior Noteholder
                    Alternative Treatment on account of such Holders’ Allowed Senior Noteholder
                    Claims and/or (b) be deemed to consent to the transfer of such Holders’
                    Disclaimed State Law Avoidance Claims to the Creditors’ Trust pursuant to the
                    Third Amended DCL Plan, as applicable.
                   With respect to Holders of PHONES Notes Exchange Claims, the DCL Plan
                    Proponents will cause Resolicitation Packages to be distributed to the record
                    Holder of the relevant PHONES Notes as of the date and time such PHONES
                    Notes were put to Tribune for exchange It shall be the responsibility of such
                    record Holder to provide the Resolicitation Packages, including any Supplemental
                    Ballot, to any Beneficial Owner(s) of such PHONES Notes, and neither the
                    Voting Agent nor any of the DCL Plan Proponents shall have any responsibility
                    to provide the Resolicitation Packages applicable to Holders of PHONES Notes
                    Exchange Claims to any party other than such record Holder. The Supplemental
                    Ballots to be provided on account of PHONES Notes Exchange Claims, and/or


CH1 6336282v.3                                       8
              Case 08-13141-BLS      Doc 10274-3      Filed 11/18/11     Page 10 of 147




                 the Instructions accompanying such Supplemental Ballots, shall provide that they
                 are to be returned directly to the Voting Agent and not to the relevant record
                 Holders. The allowance of PHONES Notes Exchange Claims shall be solely for
                 voting purposes pursuant to Bankruptcy Rule 3018(a), and shall not constitute a
                 determination by the Court as to the allowance or classification of such Claims for
                 any other purpose.
                The DCL Plan Proponents will cause Resolicitation Packages to be distributed to
                 each person or entity that was a Holder of an Other Parent Claim, EGI-TRB LLC
                 Notes Claim, or General Unsecured Claim in the Subsidiary Revoting Classes as
                 of the Supplemental Voting Record Date.
                The Supplemental Ballot for Holders of Claims in the Subsidiary Revoting
                 Classes states in bolded text that where an impaired Class of Claims is otherwise
                 entitled to vote on the DCL Plan, but no Claim in such Class is voted, such Class
                 will be deemed to have accepted the Plan for that Debtor.
                The Holders of Other Parent Claims, EGI-TRB LLC Notes Claims, and General
                 Unsecured Claims in the Subsidiary Revoting Classes will have until the
                 Supplemental Voting Deadline to return the Supplemental Ballots to the Voting
                 Agent.
                 12.    The procedures previously established by the Bankruptcy Court to tabulate

votes and elections respecting the DCL Plan shall also apply to the tabulation of votes and

elections on any Supplemental Ballots, Supplemental Beneficial Ballots, and Supplemental

Master Ballots, as applicable, for the resolicitation of votes on and elections under the Third

Amended DCL Plan.

                 13.    Resolicitation Commencement. The Voting Agent shall complete mailing

of the solicitation materials on or before December 20, 2011.

                 14.    Supplemental Voting Deadline. Supplemental Ballots and Supplemental

Master Ballots must be properly executed and completed, and the originals thereof shall be

delivered to the Voting Agent so as to be actually received by no later than January 20, 2012 at

4:00 p.m. (prevailing Eastern Time) by (a) first-class mail postage prepaid in the return

envelope provided with the Supplemental Ballot or Supplemental Master Ballot, or (b) personal

delivery or overnight courier, in each case to the addresses provided on the Supplemental Ballots




CH1 6336282v.3                                    9
             Case 08-13141-BLS      Doc 10274-3       Filed 11/18/11     Page 11 of 147




or Supplemental Master Ballots, as applicable, or in the Instructions for such Supplemental

Ballots and Supplemental Master Ballots.

                 15.   No Electronic Transmissions. Supplemental Ballots and Supplemental

Master Ballots may not be transmitted to the Voting Agent by e-mail, facsimile, or other

electronic means.

                 16.   No Withdrawal. After the Supplemental Voting Deadline, Holders of

Claims in the Revoting Classes may not withdraw or modify their Supplemental Ballots,

Supplemental Beneficial Ballots, or Supplemental Master Ballots, as applicable, in any way,

absent prior consent of the DCL Plan Proponents or approval by this Court.

                 17.   Supplemental Tabulation Deadline. The Voting Agent is required to file

the results of its tabulation of votes to accept or reject the Plans and accompanying election

results no later than January 27, 2012.

                 18.   Rule 3018 Motions. If any Holder of a Claim wishing to have its Claim

allowed for purposes of voting to accept or reject the Third Amended DCL Plan in a manner that

is inconsistent with the amount or classification(s) set forth on the Supplemental Ballot(s) (or

Supplemental Beneficial Ballot, as applicable) it received, or if any party that did not receive a

Supplemental Ballot wishes to have its Claim temporarily allowed for voting purposes only, such

Holder must serve on the DCL Plan Proponents and file with this Court, on or before December

23, 2011, a motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such

Claim for purposes of voting (the “3018 Motion”). A 3018 Motion must set forth, with

particularity, the amount and classification in which such Holder believes its Claim should be

allowed for voting purposes and the evidence in support of its belief. In respect of any timely-

filed 3018 Motion, the Supplemental Ballot(s) in question shall be counted against the Third




CH1 6336282v.3                                   10
             Case 08-13141-BLS        Doc 10274-3       Filed 11/18/11      Page 12 of 147




Amended DCL Plan (a) in the amount established by this Court in an order entered on or before

the Supplemental Voting Deadline, or (b) if such an order has not been entered by the

Supplemental Voting Deadline and unless the DCL Plan Proponents and the party submitting the

3018 Motion have come to an agreement as to the relief requested in the 3018 Motion, in an

amount equal to (i) the liquidated, non-contingent, and non-disputed amount of such Claim as set

forth in the Debtors’ schedules of assets and liabilities; (ii) if a proof of claim has been timely

filed in respect of such Claim, the liquidated, non-contingent, and non-disputed amount set forth

in such proof of claim; or (iii) if neither (i) nor (ii) applies, such party shall not have a

Supplemental Ballot counted at all. For the avoidance of doubt, Claims objected to after the

Supplemental Voting Record Date shall be entitled to vote on the Third Amended DCL Plan

without the necessity of filing a Rule 3018 Motion seeking temporary allowance of such claim

for voting purposes.

                 19.    January 11, 2012 at 11:00 a.m. (prevailing Eastern time) is established

as the date for a hearing to consider any and all 3018 Motions.

                 20.    With respect to the Holders of PHONES Notes Exchange Claims, the

Court’s First Solicitation Order shall continue to govern the allowance of such claims solely for

the purposes of re-voting on and making elections under the Third Amended DCL Plan, in

accordance with the procedures set forth in this Motion. The allowance of PHONES Notes

Exchange Claims pursuant to section 3018(a) of the Bankruptcy Code shall not constitute a

determination by the Court as to the allowance or classification of such Claims for any other

purpose.

                 21.    Affirmance of Votes and Elections on DCL Plan by Non-Revoting

Classes. The votes cast on and elections made under the Second Amended DCL Plan by Holders




CH1 6336282v.3                                     11
             Case 08-13141-BLS       Doc 10274-3       Filed 11/18/11     Page 13 of 147




of Senior Loan Claims and Senior Guaranty Claims (Classes 1C and 50C-111C), Bridge Loan

Claims and Bridge Loan Guaranty Claims (Classes 1D and 50D-111D), and Holders of General

Unsecured Claims against the Filed Subsidiary Debtors that had at least one impaired accepting

Class (Classes 3E, 8E, 9E, 11E, 16E, 17E, 21E, 39E, 41E, 44E, 45E and 50E-111E) shall

continue to be tabulated as votes on and elections under the Third Amended DCL Plan.

                 22.   Holders of Other Parent Claims that elected to have their Claims treated as

Convenience Claims as part of the prior solicitation process undertaken on the Second Amended

DCL Plan shall continue to have that treatment election recognized and such Holders will not be

treated as Holders of Other Parent Claims for the purposes of resolicitation of the Third

Amended DCL Plan.

                 23.   Withdrawal of Third Amended DCL Plan as to Certain Debtors. In the

event that the DCL Plan Proponents withdraw the Third Amended DCL Plan as to any Debtor

because (a) the Third Amended DCL Plan with respect to that Debtor fails to be accepted by the

requisite number and amount of claims voting or (b) the Court, for any reason, denies

confirmation of the Third Amended DCL Plan with respect to such Debtor, then the Debtors

shall have the authority to sell such Debtor’s assets to a Debtor that is a proponent of the Third

Amended DCL Plan pursuant to sections 363(b) and/or 1123(b)(4) of the Bankruptcy Code, with

(i) such sale to be effective on or prior to the Effective Date of the Third Amended DCL Plan for

the acquiring Debtor, and (ii) the sale price for the selling Debtor’s assets to be paid to the selling

Debtor in cash in an amount equal to the fair value of such assets, as proposed by Tribune

Company and approved by the Court.

                 24.   Confirmation Hearing. The Confirmation Hearing shall commence on

February ___, 2012 at __:__ _.m., prevailing Eastern time, and shall continue for up to two (2)




CH1 6336282v.3                                    12
             Case 08-13141-BLS       Doc 10274-3       Filed 11/18/11      Page 14 of 147




business days from that date, inclusive; provided, however, that the Court reserves judgment to

the extent to which additional days for the Confirmation Hearing will be permitted, and all

parties’ rights are reserved in all respects with respect to such issue.

                 25.    Notice of Confirmation Hearing. The Confirmation Hearing Notice and

the Publication Notice, substantially in the forms attached hereto as Exhibits G and H,

respectively, are hereby approved.

                 26.    The Debtors shall cause the Publication Notice to be published once each

in the national editions of The Wall Street Journal, The New York Times, the Los Angeles

Times, and the Chicago Tribune not less than twenty-eight (28) days before the Objection

Deadline.

                 27.    Objections to Confirmation of the DCL Plan. Objections to confirmation

of the Third Amended DCL Plan (including any supporting memoranda) must: (i) be made in

writing; (ii) state the name and address of the objecting party and the nature of the claim or

interest of such party; (iii) state with particularity the legal and factual basis and nature of any

objection to the Third Amended DCL Plan; and (iv) be filed with the Court, together with proof

of service, and served so that they are received on or before January __, 2012 at 4:00 p.m.

(prevailing Eastern Time) (the “Objection Deadline”) by counsel to the DCL Plan Proponents.

                 28.    The Court shall consider only timely-filed written objections to

confirmation of the Third Amended DCL Plan. All objections not timely filed and served in

accordance with the procedures described herein by the Objection Deadline shall be deemed

overruled.

                 29.    The DCL Plan Proponents shall file responses, if any, to any objections to

confirmation of the Third Amended DCL Plan on or before January __, 2012 at 4:00 p.m.




CH1 6336282v.3                                    13
             Case 08-13141-BLS      Doc 10274-3      Filed 11/18/11      Page 15 of 147




(prevailing Eastern Time). The DCL Plan Proponents shall also file with the Court their

proposed findings of fact and conclusions of law and their memorandum of law in support of

confirmation of the Third Amended DCL Plan on or before such date.

                 30.   Media Ownership Certifications. The deadline previously established by

the Court respecting the submission of Media Ownership Certifications is not modified by this

Order.

                 31.   Amended Plan Supplement. To the extent that any amendments to the Plan

Supplement are required in order to conform the terms of any Exhibits to the terms of the DCL

Plan, as amended, the Debtors will file an Amended Plan Supplement seven days prior to the

Objection Deadline.

                 32.   This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation or interpretation of this Order.


Dated: Wilmington, Delaware
       _____________, 2011

                                              __________________________________________
                                              THE HONORABLE KEVIN J. CAREY
                                              UNITED STATES BANKRUPTCY JUDGE




CH1 6336282v.3                                  14
             Case 08-13141-BLS    Doc 10274-3     Filed 11/18/11   Page 16 of 147




                                         EXHIBIT A

           Forms of Supplemental Beneficial Ballots and Supplemental Master Ballots
                          for Holders of Senior Noteholder Claims




CH1 6333435v.6
              Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 17 of 147



                                Senior Noteholder Claims – Third Amended DCL Plan
                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


                SUPPLEMENTAL BENEFICIAL BALLOT FOR BENEFICIAL OWNERS
                   OF SENIOR NOTEHOLDER CLAIMS TO ACCEPT OR REJECT
                               THIRD AMENDED DCL PLAN

         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide for, among
other things, procedures for Holders of Senior Noteholder Claims to vote to accept or reject the Third
Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries Proposed By the
Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo,
Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”) and to make
certain elections called for under such Plan.
        This Supplemental Beneficial Ballot is for voting to accept or reject the Third Amended DCL
Plan and for making elections under such Plan.


1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.



                                                                        1
          Case 08-13141-BLS           Doc 10274-3       Filed 11/18/11      Page 18 of 147



        You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors.
Please be aware that your votes on and elections under the earlier versions of the Third Amended DCL
Plan and other plans of reorganization with respect to your Senior Noteholder Claims are not being
counted for purposes of the Third Amended DCL Plan. Accordingly, if you wish to have your vote on
and elections under the Third Amended DCL Plan counted, you must complete and return this
Supplemental Beneficial Ballot and return it to your Voting Nominee (defined below) in sufficient time
for your Voting Nominee to process your ballot and submit a Supplemental Master Ballot so that it is
actually received by the Voting Agent by no later than January 20, 2012 at 4:00 p.m. (Eastern Time)
(the “Supplemental Voting Deadline”), in accordance with the attached Instructions.
         You have received with this Supplemental Beneficial Ballot a copy of the Third Amended DCL
Plan, a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that describes the
modifications to the Third Amended DCL Plan that have been made since the prior solicitation of votes
on and elections under such Plan, a notice respecting the hearing before the Bankruptcy Court to consider
confirmation of the Third Amended DCL Plan, and a copy of the Resolicitation Order (without exhibits)
(together with Supplemental Election Forms that will be transmitted to you by separate mailing,
collectively, the “Resolicitation Package”). Capitalized terms used but not defined in this Supplemental
Beneficial Ballot have the meanings given to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your vote on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
        Claims Voted by this Supplemental Beneficial Ballot. You have been identified as a
Beneficial Owner of a Senior Noteholder Claim against Tribune Company that is entitled to re-vote to
accept or reject the Third Amended DCL Plan. Senior Noteholder Claims against Tribune Company are
all Claims based on the following series of Senior Notes issued by Tribune Company:

                            Series of Notes                         CUSIP #
                 6.25% Notes due November 10, 2026          (CUSIP # 89605HBY9)
                 7.25% Notes due March 1, 2013              (CUSIP # 887364AA5)
                 7.5% Notes due July 1, 2023                (CUSIP # 887364AB3)
                 6.61% Notes due September 15, 2027         (CUSIP # 887364AF4)
                 7.25% Notes due November 15, 2096          (CUSIP # 887360AT2)
                 4.875% Notes due August 15, 2010           (CUSIP # 896047AE7)
                 5.25% Notes due August 15, 2015            (CUSIP # 896047AF4)
                 5.67% Notes due December 8, 2008           (CUSIP #89604KAN8)

        This Supplemental Beneficial Ballot is only to be used to vote your Senior Noteholder Claims. If
you hold other Claims against Tribune Company or the Subsidiary Debtors in the Debtors’ Chapter 11
Cases and those Claims are in Classes entitled to re-vote for purposes of the Third Amended DCL Plan,
you will receive separate Supplemental Ballots to vote such Claims.
     PRIOR TO COMPLETING THIS SUPPLEMENTAL BENEFICIAL BALLOT, PLEASE
REFER TO THE INSTRUCTIONS ENCLOSED IN THIS SUPPLEMENTAL BENEFICIAL
BALLOT FOR FURTHER EXPLANATION ON HOW TO COMPLETE THE ITEMS SET
FORTH BELOW.




                                                    2
           Case 08-13141-BLS               Doc 10274-3          Filed 11/18/11         Page 19 of 147



        To vote to accept or reject the Third Amended DCL Plan and, if desired, make the elections
called for under the Third Amended DCL Plan, please complete the following:
ITEM 1.      AGGREGATE PRINCIPAL AMOUNT OF SENIOR NOTEHOLDER CLAIM. The
             undersigned certifies that as of December 12, 2011 (the “Supplemental Record Date”), the
             undersigned was the Beneficial Owner of a Senior Noteholder Claim in the following
             aggregate unpaid principal amount (for purposes of this Supplemental Beneficial Ballot, you
             should not adjust the principal amount for any accrued or unmatured interest).

                                                $ ______________________

    The preprinted amount of your Senior Noteholder Claim above will control for voting purposes.

ITEM 2.      VOTE TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN. The Beneficial
             Owner of the Senior Noteholder Claim set forth above hereby votes with respect to such
             Claim on the Third Amended DCL Plan as follows (check one box only):

                   to ACCEPT the                                     to REJECT the
                    Third Amended DCL Plan                             Third Amended DCL Plan

ITEM 3.      RELEASE ELECTIONS (OPTIONAL). If you return a Supplemental Beneficial Ballot and
             vote to accept the Third Amended DCL Plan, you will be deemed to have granted the releases
             contained in Section 11.2.2 of the Plan unless you elect not to grant such releases by checking
             the applicable box below. 2 If you vote to reject the Third Amended DCL Plan, you may elect
             to grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan by
             checking the applicable box below. If you do not return your Supplemental Beneficial Ballot,
             you are deemed not to grant the releases in Section 11.2.2 of the Third Amended DCL Plan
             unless you advise the Voting Agent in writing that you elect to grant the releases contained in
             Section 11.2.2 of the Third Amended DCL Plan. The election to grant the releases is at your
             option. If you do not grant the releases contained in Section 11.2.2 of the Third
             Amended DCL Plan, you shall not receive the benefit of the releases set forth in Section
             11.2.2 of the Third Amended DCL Plan.
                        The undersigned has voted to accept the Third Amended DCL Plan in Item 2
                         above but elects not to grant the releases contained in Section 11.2.2 of the Third
                         Amended DCL Plan.




2
  Section 11.2.2 of the Third Amended DCL Plan provides that each Person (a) that has voted to accept the Plan and
has not opted out from granting the releases, (b) that has voted to reject the Plan but has opted to grant the releases,
(c) that is deemed to accept the Plan and has been provided an opportunity but has not opted out of granting the
releases, or (d) who otherwise agrees to provide the releases, shall be deemed to have unconditionally released each
and all of the Released Parties of and from any and all claims, obligations, suits, judgments, damages, debts, rights,
remedies, causes of action and liabilities of any nature whatsoever (including, without limitation, the LBO-Related
Causes of Action and those arising under the Bankruptcy Code, including any avoidance claim), whether known or
unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured, existing or hereafter arising, in
law, equity, or otherwise, that are or may be based in whole or in part upon any act, omission, transaction, event or
other occurrence taking place or existing on or before the Effective Date that are in connection with the Debtors or
any of them, or their respective assets, property and Estates, the Chapter 11 Cases or the Plan, Disclosure
Documents or the Restructuring Transactions (as such terms are defined in the Third Amended DCL Plan), except as
otherwise provided in Section 11.2.2 of the Third Amended DCL Plan.


                                                           3
           Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 20 of 147



                      The undersigned has voted to reject the Third Amended DCL Plan in Item 2
                       above but elects to grant the releases contained in Section 11.2.2 of the Third
                       Amended DCL Plan.
     Under separate cover, you have received, or will receive, a separate Supplemental Election Form
     by which you may elect (a) not to transfer your Disclaimed State Law Avoidance Claims (as
     defined in the Third Amended DCL Plan) that you may hold to the Creditors’ Trust, and (b) to
     receive an alternative distribution on account of your Senior Noteholder Claims. PLEASE
     CAREFULLY REVIEW AND FOLLOW THE INSTRUCTIONS RECEIVED WITH THE
     ELECTION FORM.

ITEM 4.      CERTIFICATION. By signing this Supplemental Beneficial Ballot, the Holder of the Senior
             Noteholder Claim identified in Item 1 certifies and/or acknowledges that:
             a.      it is the Beneficial Owner of the Senior Noteholder Claim to which this Supplemental
                     Beneficial Ballot pertains or is an authorized signatory and has full power and
                     authority to vote to accept or reject the Third Amended DCL Plan and make the
                     election called for on this Supplemental Beneficial Ballot;
             b.      it has been provided with a copy of the Third Amended DCL Plan, the Supplemental
                     Disclosure Document, and the Resolicitation Order and acknowledges that the vote
                     and elections set forth on this Supplemental Beneficial Ballot are subject to all of the
                     terms and conditions set forth in the Third Amended DCL Plan, the Supplemental
                     Disclosure Document, and the Resolicitation Order;
             c.      it has not submitted any other Supplemental Beneficial Ballot(s) relating to the
                     Senior Noteholder Claims voted herein that are inconsistent with the votes as set
                     forth in this Supplemental Beneficial Ballot or that, as limited by the terms of the
                     Resolicitation Order and the instructions attached hereto, if such other Supplemental
                     Beneficial Ballot(s) was/were previously submitted, they either have been or are
                     hereby revoked or changed to reflect the votes set forth herein;
             d.      it is deemed to have consented to the submission of a Supplemental Master Ballot to
                     the Voting Agent (if applicable); and
             e.      either (a) this Supplemental Beneficial Ballot is the only Supplemental Beneficial
                     Ballot submitted by the undersigned for Senior Noteholder Claims or (b) in addition
                     to this Supplemental Beneficial Ballot, one or more Supplemental Beneficial Ballots
                     for Senior Noteholder Claims have been submitted as follows (please use additional
                     sheets of paper if necessary):
     COMPLETE THIS SECTION ONLY IF YOU HAVE VOTED OTHER SUPPLEMENTAL
                            BENEFICIAL BALLOTS
Account Number of        Name of Registered          CUSIP Number of Other        Principal Amount of Other
   Other Senior           Holder or Voting             Senior Noteholder          Senior Noteholder Claims
Noteholder Claims      Nominee of Other Senior              Claims                   Voted in Additional
                         Noteholder Claims                                                 Ballot(s)
1.                                                                               $
2.                                                                               $
3.                                                                               $
4.                                                                               $




                                                      4
           Case 08-13141-BLS           Doc 10274-3         Filed 11/18/11       Page 21 of 147



                  Name:
                           (Print or Type)

                  Signature:

                  By:
                           (If Applicable)

                  Title:
                           (If Applicable)

                  Street Address:



                  City, State, Zip Code:

                  Telephone Number:

                  Email: __________________________________________________

                  Date Completed:

         This Supplemental Beneficial Ballot is not, and may not be deemed to be (a) a proof of claim or
equity interest or an assertion of a claim or equity interest, or (b) an admission by the Debtors or the other
Proponents of the Third Amended DCL Plan of the nature, validity, or amount of any Claim, and does not
signify that your claim has been or will be Allowed.
  THE SUPPLEMENTAL VOTING DEADLINE IS 4:00 P.M. EASTERN TIME ON JANUARY
  20, 2012, UNLESS SUCH TIME IS EXTENDED. PLEASE RETURN YOUR
  SUPPLEMENTAL BENEFICIAL BALLOT TO YOUR VOTING NOMINEE IN THE
  ENVELOPE PROVIDED IN SUFFICIENT TIME FOR YOUR VOTING NOMINEE TO
  PROCESS YOUR SUPPLEMENTAL BENEFICIAL BALLOT AND SUBMIT A
  SUPPLEMENTAL MASTER BALLOT TO THE VOTING AGENT SO THAT IT IS
  ACTUALLY RECEIVED BY THE VOTING AGENT ON OR BEFORE THE
  SUPPLEMENTAL VOTING DEADLINE OR YOUR VOTE WILL NOT BE COUNTED AS A
  VOTE TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN.

  PRIOR VOTES AND ELECTIONS MADE ON THE THIRD AMENDED DCL PLAN, OR
  OTHER PLANS OF REORGANIZATION FOR THE DEBTORS, BY HOLDERS OF SENIOR
  NOTEHOLDER CLAIMS WILL NOT BE RE-COUNTED. THEREFORE, YOU MUST BE
  SURE THAT THE SUPPLEMENTAL BALLOT IS RECEIVED BY THE VOTING AGENT
  BEFORE THE SUPPLEMENTAL VOTING DEADLINE.

IF YOU HAVE ANY QUESTIONS REGARDING THIS SUPPLEMENTAL BENEFICIAL
BALLOT OR THE PROCEDURES FOR VOTING ON THE THIRD AMENDED DCL PLAN, OR
IF YOU NEED AN ADDITIONAL SUPPLEMENTAL BENEFICIAL BALLOT OR
ADDITIONAL COPIES OF THE SUPPLEMENTAL DISCLOSURE DOCUMENT, THE THIRD
AMENDED DCL PLAN, OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE
VOTING AGENT AT (888) 287-7568 OR AT TRIBUNEVOTE@EPIQSYSTEMS.COM.




                                                      5
              Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 22 of 147



                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


         INSTRUCTIONS FOR COMPLETING SUPPLEMENTAL BENEFICIAL BALLOTS
          FOR HOLDERS OF SENIOR NOTEHOLDER CLAIMS TO ACCEPT OR REJECT
                           THE THIRD AMENDED DCL PLAN

    THESE INSTRUCTIONS EXPLAIN HOW TO COMPLETE THE SUPPLEMENTAL
 BENEFICIAL BALLOT ENCLOSED IN THE RESOLICITATION PACKAGE FOR VOTING
   TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN. PLEASE READ AND
FOLLOW THESE INSTRUCTIONS CAREFULLY SO THAT YOUR VOTES AND ELECTIONS
       RESPECTING THE THIRD AMENDED DCL PLAN WILL BE COUNTED.

                              Why You Have Received a Supplemental Beneficial Ballot
         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide, among
other things, for procedures for certain Holders of Claims against Tribune Company and/or its
subsidiaries in the above-captioned Chapter 11 Cases (collectively, the “Debtors”) to vote to accept or

1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
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(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
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Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
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Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
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Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
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Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
           Case 08-13141-BLS              Doc 10274-3         Filed 11/18/11         Page 23 of 147



reject the Third Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries
Proposed By the Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management,
L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”)
and to make certain elections called for under such Plan. Capitalized terms used but not defined in these
Instructions have the meanings ascribed to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
       The Resolicitation Order provides, among other things, that Holders of Senior Noteholder Claims
may re-vote on the Third Amended DCL Plan and may make elections thereunder.
         You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors with
respect to your Senior Noteholder Claims. Please be aware that your votes on and elections under the
earlier versions of the Third Amended DCL Plan and other plans of reorganization with respect to your
Senior Notes Claims are not being counted for purposes of the Third Amended DCL Plan. Accordingly,
if you wish to have your vote on and elections under the Third Amended DCL Plan counted, you must
complete and return the Supplemental Beneficial Ballot as provided in these Instructions.
                           Claims Voted by the Supplemental Beneficial Ballots
        You have been identified as a Beneficial Owner of a Senior Noteholder Claim against Tribune
Company that is entitled to re-vote to accept or reject the Third Amended DCL Plan and to make certain
elections called for under that Plan. Senior Noteholder Claims against Tribune Company are all Claims
based on the following series of Senior Notes issued by Tribune Company:
                             Series of Notes                               CUSIP #
                  6.25% Notes due November 10, 2026                (CUSIP # 89605HBY9)
                  7.25% Notes due March 1, 2013                    (CUSIP # 887364AA5)
                  7.5% Notes due July 1, 2023                      (CUSIP # 887364AB3)
                  6.61% Notes due September 15, 2027               (CUSIP # 887364AF4)
                  7.25% Notes due November 15, 2096                (CUSIP # 887360AT2)
                  4.875% Notes due August 15, 2010                 (CUSIP # 896047AE7)
                  5.25% Notes due August 15, 2015                  (CUSIP # 896047AF4)
                  5.67% Notes due December 8, 2008                 (CUSIP #89604KAN8)

              Materials that You Have Been Sent with the Supplemental Beneficial Ballot
        You have been sent with the Supplemental Beneficial Ballot various materials to assist you in
deciding how to vote on the Third Amended DCL Plan (collectively, the “Resolicitation Package”). In
addition to the Supplemental Ballot, the Resolicitation Package contains the following:
                 a copy of the Third Amended DCL Plan;
                 a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that
                  describes the modifications to the Third Amended DCL Plan that have been made since
                  the prior solicitation of votes and elections on such Plan. The Supplemental Disclosure
                  Document has been approved by the Bankruptcy Court as a supplement to the previously-
                  distributed Disclosure Documents2 to provide information to the Holders of Claims
                  against the Debtors for deciding how to vote on the Third Amended DCL Plan;


2
 See General Disclosure Statement dated December 15, 2010 [Docket No. 7232] (the “General Disclosure
Statement”), which contains a general description of (among other things) the Debtors, their respective businesses
and their reorganization proceedings; (ii) the Specific Disclosure Statement Relating to First Amended Joint Plan of
Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official Committee of


                                                         2
           Case 08-13141-BLS              Doc 10274-3         Filed 11/18/11         Page 24 of 147




                 notices respecting the hearing before the Bankruptcy Court to consider confirmation of
                  the Third Amended DCL Plan; and
                 a copy of the Resolicitation Order (without exhibits). The Resolicitation Order contains
                  important information regarding the process of voting on the Third Amended DCL Plan
                  and how votes on the Third Amended DCL Plan will be tabulated.
         Additionally, Holders of Senior Noteholder Claims will receive, by separate mailing, a
supplemental election form (the “Supplemental Election Form”) by which such Holders may elect (a) not
to transfer their Disclaimed State Law Avoidance Claims to the Creditors’ Trust as provided for under the
Third Amended DCL Plan, and (b) to receive an alternative distribution on account of their Allowed
Senior Noteholder Claims. Details concerning each of the foregoing elections, and the resulting effect
that such elections may have on potential recoveries under the Third Amended DCL Plan, are described
in the Plan and Disclosure Documents. Please see the Supplemental Election Form and its accompanying
instructions for further information regarding this election.
        It is very important that you read all of these materials carefully in deciding how you wish
to vote on the Third Amended DCL Plan and make the elections called for under such Plan. Your
vote on the Third Amended DCL Plan is very important and may affect your rights and the
treatment of your Claim.
        If you would like to receive additional copies of the Third Amended DCL Plan, the Supplemental
Disclosure Document, or any other materials relating to the Third Amended DCL Plan, you may obtain
copies without charge by visiting http://chapter11.epiqsystems.com/tribune or by contacting Epiq
Bankruptcy Solutions LLC (the “Voting Agent”) at (888) 287-7568 or tribunevote@epiqsystems.com.
                         Deadline for Returning Supplemental Beneficial Ballots
         You must complete, sign and date your Supplemental Beneficial Ballot and return it in the
enclosed envelope to your broker, bank, commercial bank, trust company, dealer, or other agent or
nominee (a “Voting Nominee”) in sufficient time for your Voting Nominee to process your Supplemental
Beneficial Ballot and submit a Supplemental Master Ballot to the Voting Agent so that it is actually
received by the Voting Agent no later than 4:00 p.m. (Eastern Time) on January 20, 2012 (the
“Supplemental Voting Deadline”), or your votes will not be counted, and your elections will not be
valid. Your Voting Nominee will provide specific instructions for returning the Supplemental Beneficial
Ballot to such Voting Nominee. Please do not mail Supplemental Beneficial Ballots directly to the
Voting Agent, the Debtors, or to any of the other Proponents of the Third Amended DCL Plan.
                          How to Complete Your Supplemental Beneficial Ballot

        The following are step-by-step instructions for how to complete your Supplemental Beneficial
Ballot for voting on the Third Amended DCL Plan and making the elections called for thereunder:


Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,
N.A. [Docket No. 7135] (the “Specific Disclosure Statement”), which contains a detailed description of (among
other things) the provisions of the First Amended DCL Plan, including those provisions that are retained in the Third
Amended DCL Plan; and (iii) the Explanatory Statement Relating to Modified Elections Under Second Amended
Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official
Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan
Chase Bank, N.A. (as modified April 26, 2011) [Docket No. 8754] (the “Explanatory Statement”), which contains a
description of (among other things) certain elections offered under the Second Amended DCL Plan (the General
Disclosure Statement, the Specific Disclosure Statement, the Explanatory Statement, and the Supplemental
Disclosure Document, collectively, the “Disclosure Documents”).




                                                         3
           Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 25 of 147



ITEM 1:          Amount of Claim.

         If you are Holder of a Senior Noteholder Claim, please certify the amount of your Claim as of
December 12, 2011 (the “Supplemental Record Date”). By certifying the amount in Item 1, you are
certifying that the party submitting the Supplemental Beneficial Ballot is the Beneficial Owner, as of the
Supplemental Record Date, of a Claim in the aggregate unpaid amount set forth in Item 1 of the
Supplemental Beneficial Ballot. The preprinted amount of the Claim set forth in Item 1 of the
Supplemental Beneficial Ballot will control for voting purposes. If you do not agree with the amount
preprinted on Item 1 of the Supplemental Beneficial Ballot, please see “Questions Concerning Your
Claim Amount” below.

ITEM 2:          Vote to Accept or Reject the Third Amended DCL Plan.

         Please cast your vote to accept or reject the Third Amended DCL Plan by checking the applicable
box in Item 2. Please note that you must vote the entire amount of your Claim to accept or reject the
Third Amended DCL Plan; in other words, you may not vote part of your Claim to accept and part of
your Claim to reject the Third Amended DCL Plan.
         If the Third Amended DCL Plan is confirmed by the Bankruptcy Court and becomes effective, it
will be binding upon you whether or not you vote to accept or reject the Plan or abstain from voting on
the Plan.
         Please be aware that a vote to accept the Third Amended DCL Plan is a vote to grant the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan, unless you elect not to grant such releases by
checking the applicable box on the Supplemental Beneficial Ballot. If you vote to reject the Third
Amended DCL Plan, you may elect to grant the releases contained in Section 11.2.2 of the Third
Amended DCL Plan by checking the applicable box on your Supplemental Beneficial Ballot. The Third
Amended DCL Plan provides that each Person (a) that has voted to accept the Plan and has not opted out
from granting the releases, (b) that has voted to reject the Plan but has opted to grant the releases, (c) that
is deemed to accept the Plan and has been provided an opportunity but has not opted out of granting the
releases, or (d) who otherwise agrees to provide the releases, shall be deemed to have unconditionally
released each and all of the Released Parties of and from any and all claims, obligations, suits, judgments,
damages, debts, rights, remedies, causes of action and liabilities of any nature whatsoever (including,
without limitation, the LBO-Related Causes of Action and those arising under the Bankruptcy Code,
including any avoidance claim), whether known or unknown, foreseen or unforeseen, liquidated or
unliquidated, matured or unmatured, existing or hereafter arising, in law, equity, or otherwise, that are or
may be based in whole or in part upon any act, omission, transaction, event or other occurrence taking
place or existing on or before the Effective Date that are in connection with the Debtors or any of them, or
their respective assets, property and Estates, the Chapter 11 Cases or the Plan, Disclosure Documents or
the Restructuring Transactions (as such terms are defined in the Third Amended DCL Plan), except as
otherwise provided in Section 11.2.2 of the Third Amended DCL Plan.
ITEM 3:          Release Elections (Optional).
        If you vote to accept the Third Amended DCL Plan, you are deemed to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt out of granting those
releases. If you vote to reject the Third Amended DCL Plan, you are deemed not to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt in to granting those releases.
If you do not return a Supplemental Beneficial Ballot, you are deemed not to grant the releases in Section
11.2.2 of the Third Amended DCL Plan unless you advise the Voting Agent in writing that you elect to
grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan.




                                                      4
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 26 of 147



        If you voted to accept the Third Amended DCL Plan but wish to opt out of granting the releases
in Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3. Similarly, if you vote to reject the Third Amended DCL Plan but wish to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3.
         If you either (i) vote to accept the Third Amended DCL Plan and do not check the box in Item 3
opting not to grant the Section 11.2.2 releases, or (ii) vote to reject the Third Amended DCL Plan and
check the box in Item 3 opting to grant the Section 11.2.2 releases, you will have consented to the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan to the fullest extent permitted by applicable
law. If you do not grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan,
you will not receive the benefit of the releases set forth in the Third Amended DCL Plan.
ITEM 4:         Certifications.

        Please review and complete the certifications in Item 4. Your original signature is required on the
Supplemental Beneficial Ballot for your votes on the Third Amended DCL Plan and your elections under
the Third Amended DCL Plan to count. In addition, in Item 4, if you are completing the Supplemental
Beneficial Ballot on behalf of an entity, indicate your relationship with such entity and the capacity in
which you are signing. You may be requested at a later time to provide proof of your authorization to so
sign. In addition, please provide your name and mailing address if different from that set forth on the
mailing label, or if no mailing label is attached to the Supplemental Beneficial Ballot.

        The certifications in Item 4 also require you to certify that the Supplemental Beneficial Ballot
being submitted is either the only Supplemental Beneficial Ballot you have submitted for Senior
Noteholder Claims or, if not, that all other Supplemental Beneficial Ballots submitted by you for such
Claims are as identified in Item 4(e). You may attach additional sheets of paper if necessary to complete
Item 4(e).

                            Returning Your Supplemental Beneficial Ballot

         Once you have completed your Supplemental Beneficial Ballot in accordance with the foregoing
instructions, please return the completed Supplemental Beneficial Ballot to the Voting Nominee for
inclusion on a Supplemental Master Ballot to be prepared and submitted by such Voting Nominee to the
Voting Agent. Please allow sufficient time for mailing your Supplemental Beneficial Ballot to your
Voting Nominee so that the Voting Nominee may include your votes and elections on a Supplemental
Master Ballot and provide it to the Voting Agent before the Supplemental Voting Deadline.

         No Electronic Transmissions. Supplemental Beneficial Ballots submitted by facsimile or other
electronic transmission will not be counted. In addition, please note that if your Supplemental Beneficial
Ballot is illegible or contains insufficient information to permit the identification of the Holder of the
Claim, your Supplemental Ballot will not be counted. Do not mail your Supplemental Beneficial Ballots
directly to the Debtors or to any of the Proponents of the Third Amended DCL Plan..

        No Withdrawal. After the Supplemental Voting Deadline, unless you obtain the prior consent of
the Proponents of the Third Amended DCL Plan or Bankruptcy Court approval, you may not (i) withdraw
or modify your Supplemental Beneficial Ballot in any way, (ii) change your vote to accept or reject the
Third Amended DCL Plan, (iii) change your release elections, (iv) change your treatment elections (if
applicable), or (v) change your election to transfer your Disclaimed State Law Avoidance Claims to the
Creditors’ Trust, which can be made on the separate Supplemental Creditors’ Trust Election Form.




                                                     5
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 27 of 147



                              Questions Concerning Your Claim Amount

        If you disagree with the amount of your Claim set forth in Item 1 of the Supplemental Ballot, you
may ask the Bankruptcy Court to allow your Claim solely for voting purposes in a different amount. To
have your claim allowed solely for voting purposes under the Third Amended DCL Plan in a different
amount, you must serve on the Proponents of the Third Amended DCL Plan (at the addresses listed on
[page 1] of the Third Amended DCL Plan) and file with the Bankruptcy Court, on or before January [•],
2012, a motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for
purposes of voting (a “3018 Motion”).
         A 3018 Motion must set forth with particularity the amount and classification in which you
believe your Claim should be allowed for voting purposes only, and the evidence in support of your
belief. If you file a 3018 Motion by the deadline above, your Supplemental Ballot will be counted (a) in
the amount established by the Bankruptcy Court in an order entered on or before the Supplemental Voting
Deadline, or (b) if such an order has not been entered by the Supplemental Voting Deadline and unless
the Proponents of the Third Amended DCL Plan have come to an agreement with you as to the relief
requested in the 3018 Motion, in an amount equal to the preprinted amount on the ballot or otherwise in
accordance with the tabulation rules set forth in the Resolicitation Order. January [•], 2012, at [•]:00
[•]a.m. (Eastern Time) has been established as the date and time for a hearing to consider any and all
3018 Motions.
         Additional Questions. If you have questions concerning the Supplemental Beneficial Ballot or
the procedures for voting to accept or reject the Third Amended DCL Plan, or if you need an additional
Supplemental Beneficial Ballot or additional copies of other materials in the Resolicitation Package,
please contact the Voting Agent at (888) 287-7568 or at tribunevote@epiqsystems.com. The materials in
the Resolicitation Package may also be obtained free of charge by visiting
http://chapter11.epiqsystems.com/tribune.
         Supplemental Beneficial Ballot is Not a Proof of Claim or Interest. This Supplemental Ballot
is not, and may not be deemed to be (a) a proof of claim or equity interest or an assertion of a claim or
equity interest, or (b) an admission by the Debtors or the other Proponents of the Third Amended DCL
Plan of the nature, validity, or amount of any Claim, and does not signify that your claim has been or will
be Allowed.
        Additional Information. No fees, commissions, or other remuneration will be payable to any
broker, dealer, or other person for soliciting votes on the Third Amended DCL Plan. The Supplemental
Beneficial Ballot is not a letter of transmittal and may not be used for any purpose other than to cast votes
to accept or reject the Third Amended DCL Plan and make the elections called for on the Supplemental
Beneficial Ballot. Holders should not surrender any debt instruments together with their Supplemental
Beneficial Ballot. The Voting Agent will not accept delivery of any such instruments surrendered
together with a Supplemental Master Ballot or Supplemental Beneficial Ballot.




                                                      6
              Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 28 of 147



                   Master Ballot for Senior Noteholder Claims – Third Amended DCL Plan
                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


SUPPLEMENTAL MASTER BALLOT FOR VOTING NOMINEES OF HOLDERS OF SENIOR
   NOTEHOLDER CLAIMS TO ACCEPT OR REJECT THIRD AMENDED DCL PLAN

                   PLEASE READ AND FOLLOW THE INSTRUCTIONS CAREFULLY.

        PLEASE COMPLETE, SIGN AND DATE THIS SUPPLEMENTAL MASTER BALLOT
AND RETURN IT TO EPIQ BANKRUPTCY SOLUTIONS, LLC (THE “VOTING AGENT”) AT
THE FOLLOWING ADDRESS: TRIBUNE COMPANY BALLOT PROCESSING CENTER, C/O
EPIQ BANKRUPTCY SOLUTIONS, LLC, 757 THIRD AVENUE, THIRD FLOOR, NEW YORK,
NY 10017, SO THAT IT IS ACTUALLY RECEIVED BY THE VOTING AGENT BY JANUARY
20, 2012 AT 4:00 P.M. EASTERN TIME (THE “SUPPLEMENTAL VOTING DEADLINE”).



1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.



                                                                        1
          Case 08-13141-BLS           Doc 10274-3       Filed 11/18/11       Page 29 of 147



      IF THIS SUPPLEMENTAL MASTER BALLOT IS NOT ACTUALLY RECEIVED BY
THE VOTING AGENT BY THE SUPPLEMENTAL VOTING DEADLINE, THE VOTES AND
ELECTIONS OF YOUR CUSTOMERS WILL NOT BE COUNTED. PRIOR VOTES AND
ELECTIONS MADE ON THE THIRD AMENDED DCL PLAN BY HOLDERS OF SENIOR
NOTEHOLDER CLAIMS WILL NOT BE RE-COUNTED. THEREFORE, YOU MUST ALLOW
SUFFICIENT TIME TO BE SURE THAT THE SUPPLEMENTAL MASTER BALLOT IS
RECEIVED BY THE VOTING AGENT BEFORE THE SUPPLEMENTAL VOTING
DEADLINE.

         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide for, among
other things, procedures for Holders of Senior Noteholder Claims to vote to accept or reject the Third
Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries Proposed By the
Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo,
Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”) and to make
certain elections called for under such Plan.
        You have previously received master ballots on behalf of beneficial owners of Senior Notes
issued by Tribune Company (“Beneficial Owners”) for tabulating votes on and elections under earlier
versions of the Third Amended DCL Plan and other plans of reorganization that were proposed for the
Debtors. Please be aware that votes on and elections under the earlier versions of the Third Amended
DCL Plan and other plans of reorganization with respect to the Senior Noteholder Claims are not being
counted for purposes of the Third Amended DCL Plan. Accordingly, for the votes on and elections under
the Third Amended DCL Plan of your Beneficial Owners to be counted, you must complete and return
this Supplemental Master Ballot so that it is actually received by the Voting Agent by the Supplemental
Voting Deadline, in accordance with the attached Instructions.
        This Supplemental Master Ballot is to be used by you, as a broker, bank, commercial bank, trust
company, dealer, or other agent or nominee (each of the foregoing, a “Voting Nominee”) to tabulate and
transmit the votes and elections of Beneficial Owners in respect of their Senior Noteholder Claims.
         The proponents of the Third Amended DCL Plan have provided to you, by separate mailing,
voting materials for each of the Beneficial Owners for whom you act as Voting Nominee, consisting of
Supplemental Beneficial Ballots and Supplemental Election Forms, copies of the Third Amended DCL
Plan, a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that describes the
modifications to the Third Amended DCL Plan that have been made since the prior solicitation of votes
on and elections under such Plan, notices respecting the hearing before the Bankruptcy Court to consider
confirmation of the Third Amended DCL Plan, and copies of the Resolicitation Order (without exhibits)
(collectively, the “Resolicitation Packages”). Capitalized terms used but not defined in this Supplemental
Master Ballot have the meanings given to them in (i) the Third Amended DCL Plan, (ii) the Supplemental
Disclosure Document, or (iii) the Resolicitation Order, as applicable.
       Senior Noteholder Claims are all Claims based on the following series of Senior Notes issued by
Tribune Company:

                            Series of Notes                         CUSIP #
                 6.25% Notes due November 10, 2026          (CUSIP # 89605HBY9)
                 7.25% Notes due March 1, 2013              (CUSIP # 887364AA5)
                 7.5% Notes due July 1, 2023                (CUSIP # 887364AB3)
                 6.61% Notes due September 15, 2027         (CUSIP # 887364AF4)
                 7.25% Notes due November 15, 2096          (CUSIP # 887360AT2)
                 4.875% Notes due August 15, 2010           (CUSIP # 896047AE7)



                                                    2
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 30 of 147




                 5.25% Notes due August 15, 2015              (CUSIP # 896047AF4)
                 5.67% Notes due December 8, 2008             (CUSIP #89604KAN8)

        Votes to accept or reject the Third Amended DCL Plan from Beneficial Owners of Senior
Noteholder Claims, and accompanying elections, will be returned to you on Supplemental Beneficial
Ballots. For each completed, executed Supplemental Beneficial Ballot returned to you by a Beneficial
Owner, you must retain a copy of such Supplemental Beneficial Ballot in your files for at least five (5)
years from the Supplemental Voting Deadline.

     PRIOR TO COMPLETING THIS SUPPLEMENTAL MASTER BALLOT, PLEASE
REFER TO THE INSTRUCTIONS ATTACHED TO THIS SUPPLEMENTAL MASTER
BALLOT FOR FURTHER EXPLANATION ON HOW TO COMPLETE THE ITEMS SET
FORTH BELOW.

ITEM 1.     CERTIFICATION OF AUTHORITY TO VOTE. The undersigned certifies that as of
            December 12, 2011, (the “Supplemental Record Date”), it (please check applicable box):

        is the broker, bank, or other agent or nominee that are the registered holder for the Beneficial
        Owners of the aggregate principal amount of Senior Notes listed in Items 2 and 3 below; or

        is acting under a power of attorney and/or agency (a copy of which will be provided upon
        request) granted by the broker, bank, or other agent or nominee that is the registered holder of the
        aggregate principal amount of Senior Notes listed in Items 2 and 3 below; or

        has been granted a proxy (an original of which is attached hereto) from a broker, bank, or other
        nominee, or a Beneficial Owner, that is the registered holder of the aggregate principal amount of
        Senior Notes listed in Items 2 and 3 and, accordingly, has full power and authority to (1) vote to
        accept or reject each of the Plans and (2) make the elections called for pursuant to each of the
        Plans, each on behalf of the Beneficial Owners of the Senior Notes described in Items 2 and 3
        below.




                                                     3
           Case 08-13141-BLS            Doc 10274-3             Filed 11/18/11       Page 31 of 147




ITEM 2.      TABULATION OF BENEFICIAL OWNER VOTING. The undersigned certifies that:

         ITEM 2A. Acceptances/Rejections. The Beneficial Owners of Senior Notes in the following
                  aggregate unpaid principal amounts have delivered duly completed Supplemental
                  Beneficial Ballots to the undersigned (or such information was derived from
                  Supplemental Beneficial Ballots that have been summarized in intermediary
                  Supplemental Master Ballots delivered to the undersigned) voting to Accept or Reject
                  the Third Amended DCL Plan:

Total Number of Holders      Total Aggregate Unpaid           Total Number of Holders      Total Aggregate Unpaid
  of Senior Noteholder        Principal Amount of               of Senior Noteholder        Principal Amount of
Claims Voting to Accept      Holders Voting to Accept         Claims Voting to Reject      Holders Voting to Reject

                                     $_______                                                      $_______


         ITEM 2B. Release Elections. The undersigned certifies that the Beneficial Owners of Senior
                  Noteholder Claims in the following aggregate unpaid principal amounts have made
                  the release elections below under the Third Amended DCL Plan:

Total Number of Holders       Total Aggregate Unpaid          Total Number of Holders       Total Aggregate Unpaid
   Voting to Reject the         Principal Amount of              Voting to Accept the         Principal Amount of
  Third Amended DCL          Holders Voting to Reject           Third Amended DCL          Holders Voting to Accept
   Plan who Elected to       the Third Amended DCL             Plan who Elected Not to     the Third Amended DCL
Grant Releases contained        Plan who Elected to           Grant Releases contained      Plan who Elected Not to
in Section 11.2.2 of Third   Grant Releases contained         in Section 11.2.2 of Third   Grant Releases contained
   Amended DCL Plan          in Section 11.2.2 of Third          Amended DCL Plan          in Section 11.2.2 of Third
                                Amended DCL Plan                                              Amended DCL Plan

                                     $_______                                                      $_______




                                                          4
                                     Case 08-13141-BLS         Doc 10274-3        Filed 11/18/11      Page 32 of 147


   ITEM 3.     TRANSMITTAL OF VOTES FROM SUPPLEMENTAL BENEFICIAL BALLOTS. The undersigned transmits the following votes of
               Beneficial Owners of Senior Notes and certifies that the following are Beneficial Owners, as of the Supplemental Record Date, and have
               delivered to the undersigned, as Voting Nominee, Supplemental Beneficial Ballots casting such votes (indicate in each column the aggregate
               principal amount voted for each account).

           Your Customer         Principal Amount of    Voted to ACCEPT      Voted to REJECT        Check if Beneficial       Check if Beneficial
          Name or Account        Senior Notes Voting        the Third            the Third        Owner voted to Reject    Owner voted to Accept
          Number for Each                                Amended DCL          Amended DCL          the Third Amended         the Third Amended
          Beneficial Owner                                     Plan                Plan           DCL Plan and Elected      DCL Plan and Elected
         Voting on the Third                                                                       to grant the releases   not to grant the releases
         Amended DCL Plan                                                                          contained in Section      contained in Section
                                                                                                      11.2.2 of Third           11.2.2 of Third
                                                                                                   Amended DCL Plan          Amended DCL Plan


         1.                      $                                                                                                

         2.                      $                                                                                                

         3.                      $                                                                                                

         4.                      $                                                                                                

         5.                      $                                                                                                

         6.                      $                                                                                                

         7.                      $                                                                                                

         8.                      $                                                                                                

         9.                      $                                                                                                

         10.                     $                                                                                                

USE ADDITIONAL SHEETS IF NECESSARY.




                                                                             5
           Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 33 of 147




ITEM 4.      ADDITIONAL INFORMATION SUBMITTED BY BENEFICIAL OWNERS. The
             undersigned certifies that the following information is a true and accurate schedule on which
             the undersigned has transcribed the information, if any, provided in Item 4(e) of each
             Supplemental Beneficial Ballot received from a Beneficial Owner of the Senior Noteholder.

      Information transcribed from Item 4 of the Supplemental Beneficial Ballots regarding other
             Supplemental Beneficial Ballots cast in respect of Senior Noteholder Claims

  Your Customer        Account Number          Name of           CUSIP Number           Principal
 Name or Account       of Other Senior        Registered            of Senior        Amount of Other
 Number for Each           Notes            Holder or Voting       Noteholder            Senior
 Beneficial Owner                             Nominee of          Claims Voted         Noteholder
  who completed                              Other Senior                            Claims Voted in
  Item 4(e) of the                            Noteholder                               Additional
    Supplemental                             Claims Voted                               Ballot(s)
 Beneficial Ballot
 1.                                                                                  $
 2.                                                                                  $
 3.                                                                                  $
 4.                                                                                  $


USE ADDITIONAL SHEETS IF NECESSARY
ITEM 5.      CERTIFICATION. By signing this Supplemental Master Ballot, the undersigned certifies
             that: (a) each Beneficial Owner of Senior Notes whose votes and elections are being
             transmitted by this Supplemental Master Ballot has been provided with a copy of the Third
             Amended DCL Plan, the Supplemental Disclosure Document, the Resolicitation Order, and a
             Supplemental Beneficial Ballot for voting its Claim on the Third Amended DCL Plan; (b) it
             is the registered holder of the Senior Notes to which this Supplemental Master Ballot pertains
             and/or has full power and authority to vote to accept or reject the Third Amended DCL Plan
             and make the elections called for thereunder; (c) it received a properly completed and signed
             Supplemental Beneficial Ballot from each Beneficial Owner listed in Item 3 above; and (d) it
             accurately transcribed all applicable information from the Supplemental Beneficial Ballots
             received from each Beneficial Owner.
             The undersigned also acknowledges that the solicitation of this vote to accept or reject the
             Third Amended DCL Plan is subject to all the terms and conditions set forth in the
             Resolicitation Order, dated December [•], 2011.
                                                      _______________________________________
                                                                Name of Voting Nominee

                                                      ________________________________________
                                                                  Participant Number

                                                      ________________________________________
                                                                      Signature

                                                      ________________________________________
                                                          If by Authorized Agent, Name and Title
                                                      6
Case 08-13141-BLS   Doc 10274-3   Filed 11/18/11   Page 34 of 147




                              ________________________________________
                                            Street Address

                              ________________________________________
                                        City, State and Zip Code

                              ________________________________________
                                          Telephone Number

                              ________________________________________
                                                Email
                              ________________________________________
                                           Date Completed




                             7
          Case 08-13141-BLS             Doc 10274-3        Filed 11/18/11      Page 35 of 147



      INSTRUCTIONS FOR COMPLETING THE SUPPLEMENTAL MASTER BALLOT
             TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN

THESE INSTRUCTIONS EXPLAIN HOW TO COMPLETE THE SUPPLEMENTAL MASTER
BALLOT FOR VOTING NOMINEES OF HOLDERS OF SENIOR NOTEHOLDER CLAIMS TO
 VOTE TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN. PLEASE READ AND
  FOLLOW THESE INSTRUCTIONS CAREFULLY SO THAT YOUR CUSTOMERS’ VOTES
 AND ELECTIONS RESPECTING THE THIRD AMENDED DCL PLAN WILL BE COUNTED.
                                       Supplemental Voting Deadline

        The Supplemental Voting Deadline is January 20, 2012 at 4:00 p.m. (Eastern Time). To have
the votes and elections of your customers count, you must complete, sign, and return the Supplemental
Master Ballot so that it is received by the Voting Agent at the address set forth in the Supplemental
Master Ballot on or before the Supplemental Voting Deadline. Capitalized terms used but not defined in
this Supplemental Election Tabulation Form have the meanings given to them in (i) the Third Amended
DCL Plan, (ii) the Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.

                    Transmittal of Supplemental Beneficial Ballots to Beneficial Owners

         If you are acting as a broker, bank, commercial bank, trust company, dealer, or other agent or
nominee (each of the foregoing, a “Voting Nominee”) for Beneficial Owners of Senior Noteholder
Claims issued by Tribune Company, you must (i) deliver a Supplemental Beneficial Ballot to such
Beneficial Owner(s), along with the Supplemental Disclosure Document, the Third Amended DCL Plan,
the Resolicitation Order, the Confirmation Hearing Notice, and other materials required to be forwarded;
and (ii) take the necessary actions to enable such Beneficial Owners to (a) complete and execute such
Supplemental Beneficial Ballot and (b) return the completed, executed Supplemental Beneficial Ballot to
you in sufficient time to enable you to complete the Supplemental Master Ballot and deliver it to the
Voting Agent before the Supplemental Voting Deadline.
        You or the Beneficial Owners for whom you are the Voting Nominee may wish to seek legal
advice concerning the Third Amended DCL Plan and the classification and treatment of the Senior
Noteholder Claims under such Plan.

                             How to Complete the Supplemental Master Ballot

       With respect to all of the Supplemental Beneficial Ballots returned to you, you must properly
complete the Supplemental Master Ballot, as follows:

               i.      Check the appropriate box in Item 1 on the Supplemental Master Ballot;

              ii.      Indicate the total votes to accept or reject the Third Amended DCL Plan in Item 2;

             iii.      Transcribe the votes from the Supplemental Beneficial Ballots in Item 2 and indicate
                       the following in Item 3:
                       a. whether each Beneficial Owner voted to accept or reject the Third Amended
                          DCL Plan;
                       b. in the case of any Beneficial Owners that voted to reject the Third Amended
                          DCL Plan, whether each such Beneficial Owner elected to grant the releases
                          contained in Section 11.2.2 of the Third Amended DCL Plan; and


                                                      1
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 36 of 147



                    c. in the case of any Beneficial Owners that voted to accept the Third Amended
                       DCL Plan, whether each such Beneficial Owner elected not to grant the releases
                       contained in Section 11.2.2 of the Third Amended DCL Plan.
        IMPORTANT: BENEFICIAL OWNERS MAY NOT SPLIT THEIR VOTES. PROPERLY
        EXECUTED SUPPLEMENTAL BENEFICIAL BALLOTS THAT ATTEMPT PARTIALLY
        TO ACCEPT AND PARTIALLY TO REJECT THE THIRD AMENDED DCL PLAN WILL
        NOT BE COUNTED AS A VOTE TO ACCEPT OR REJECT THE PLAN. EACH
        BENEFICIAL OWNER MUST VOTE ALL OF HIS, HER, OR ITS SENIOR NOTEHOLDER
        CLAIMS EITHER TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN (OR
        ABSTAIN FROM VOTING THEREON). IF ANY BENEFICIAL OWNER HAS ATTEMPTED
        TO SPLIT SUCH VOTE, PLEASE CONTACT EACH BENEFICIAL OWNER TO CORRECT
        ITS BALLOT OR THE VOTING AGENT IMMEDIATELY.

             iv.    Transcribe from Item 4(e) of each Supplemental Beneficial Ballot the information
                    provided by the Beneficial Owners into Item 4 of the Supplemental Master Ballot;

              v.    Review the certification in Item 5 of the Supplemental Master Ballot;

             vi.    Ensure that each Supplemental Beneficial Ballot is signed and each certification is
                    complete;

             vii.   Independently verify and confirm the accuracy of the information provided with
                    respect to each Beneficial Owner of Senior Notes;

            viii.   If additional space is required to respond to any item on the Supplemental Master
                    Ballot, please use additional sheets of paper clearly marked to indicate the applicable
                    Item of the Supplemental Master Ballot to which you are responding; and

             ix.    Sign, date, and return the original Supplemental Master Ballot.

          You must deliver the completed, executed Supplemental Master Ballot so that it is actually
received by the Voting Agent on or before the Supplemental Voting Deadline. You must retain a copy of
each completed, executed Supplemental Beneficial Ballot returned to you by a Beneficial Owner in your
files for at least five (5) years from the Supplemental Voting Deadline.
        Votes cast by Beneficial Owners through a Voting Nominee will be compared to the holdings of
the Senior Notes of such Beneficial Owners as of the Supplemental Record Date, as evidenced by the
record and depository listings. Votes submitted by a Voting Nominee pursuant to a Supplemental Master
Ballot will not be counted in excess of the record amount of the Senior Notes held by such Voting
Nominee.
         For the purpose of tabulating votes, each Beneficial Owner shall be deemed to have voted the
principal amount of its Senior Notes. To the extent that conflicting votes or “overvotes” are submitted by
a Voting Nominee, the Voting Agent, in good faith, will attempt to reconcile discrepancies with the
Voting Nominees. To the extent that overvotes on a Supplemental Master Ballot are not reconcilable
prior to the preparation of the vote certification, the Voting Agent will apply the votes to accept and to
reject the Third Amended DCL Plan in the same proportion as the votes to accept and reject the Third
Amended DCL Plan submitted on the Supplemental Master Ballot that contained the overvote, but only to
the extent of the Voting Nominee’s position in the Senior Notes.
       After the Voting Deadline, no vote or election on the Third Amended DCL Plan may be
withdrawn without the prior consent of the Proponents of the Third Amended DCL Plan.


                                                    2
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 37 of 147




PLEASE NOTE:

        This Supplemental Master Ballot is not a letter of transmittal and may not be used for any
purpose other than to cast votes to accept or reject the Third Amended DCL Plan and to make certain
elections called for under such Plan. Holders of Senior Noteholder Claims should not surrender their
Senior Notes with the Supplemental Beneficial Ballots. The Voting Agent will not accept delivery of any
such instruments surrendered together with a Supplemental Master Ballot.
        The Supplemental Master Ballot and Supplemental Beneficial Ballots are not, and may not be
deemed to be (a) a proof of claim or equity interest or an assertion of a claim or equity interest, or (b) an
admission by the Debtors or the other Proponents of the Third Amended DCL Plan of the nature, validity,
or amount of any Claim, and does not signify that any claim has been or will be Allowed.
         No fees or commissions or other remuneration will be payable to any Voting Nominee. Upon
written request with supporting documentation, however, the Debtors will reimburse you for reasonable,
actual, and necessary out-of-pocket expenses associated with the distribution of the Resolicitation
Packages to your Beneficial Owners, the tabulation of the Supplemental Beneficial Ballots, and the
completion of this Supplemental Master Ballot.

IF YOU BELIEVE THAT YOU ARE MISSING ANY MATERIALS FROM THE
RESOLICITATION PACKAGE OR THAT YOU HAVE RECEIVED THE WRONG BALLOT,
OR IF YOU HAVE QUESTIONS REGARDING THIS SUPPLEMENTAL MASTER BALLOT,
OR THE VOTING PROCEDURES, OR IF YOU NEED ADDITIONAL COPIES OF THE
SUPPLEMENTAL MASTER BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE
CONTACT THE VOTING AGENT AT (888) 287-7568 OR AT
TRIBUNEVOTE@EPIQSYSTEMS.COM.

PLEASE COMPLETE, SIGN, AND DATE THIS SUPPLEMENTAL MASTER BALLOT AND
RETURN IT TO THE VOTING AGENT AT THE FOLLOWING ADDRESS: TRIBUNE
COMPANY BALLOT PROCESSING CENTER, C/O EPIQ BANKRUPTCY SOLUTIONS, LLC,
757 THIRD AVENUE, THIRD FLOOR, NEW YORK, NY 10017.

BALLOTS RECEIVED BY FACSIMILE OR OTHER ELECTRONIC MEANS OR RECEIVED
AFTER THE SUPPLEMENTAL VOTING DEADLINE WILL NOT BE COUNTED.




                                                      3
              Case 08-13141-BLS                     Doc 10274-3              Filed 11/18/11              Page 38 of 147



                                Senior Noteholder Claims – Third Amended DCL Plan

                                       UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

In re:                                                                         Chapter 11

TRIBUNE COMPANY, et al.,1                                                      Case No. 08-13141 (KJC)

                                            Debtors.                           Jointly Administered


         SUPPLEMENTAL ELECTION FORM FOR HOLDERS OF SENIOR NOTEHOLDER
         CLAIMS AGAINST TRIBUNE COMPANY UNDER THIRD AMENDED DCL PLAN

         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide for, among
other things, procedures for Holders of Senior Notes Claims to vote to accept or reject the Third Amended
Joint Plan of Reorganization For Tribune Company and Its Subsidiaries Proposed By the Debtors, the
Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co.,
L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”) and to make certain elections
called for under such Plan.
        This election form (a “Supplemental Election Form”) has been sent to you, as a Holder of a
Senior Noteholder Claim against Tribune Company, to allow you to elect (i) to receive the Senior
Noteholder Alternative Treatment, which is specified in Section 3.2.5(c)(i) of the Third Amended DCL

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR,
Ihenc. (7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.



                                                                       1
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 39 of 147



Plan, and (ii) not to transfer your Disclaimed State Law Avoidance Claims to the Creditors’ Trust to be
established pursuant to Section 14.3.1 of the Third Amended DCL Plan.
        You have previously received election forms for making elections under earlier versions of the
Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors. Please
be aware that your elections under the earlier versions of the Third Amended DCL Plan and other plans of
reorganization with respect to your Senior Notes Claims are not being counted for purposes of the Third
Amended DCL Plan. Accordingly, if you wish to have your elections under the Third Amended DCL
Plan counted, you must complete and return this Supplemental Election Form and return it to your Voting
Nominee (defined below) in sufficient time for your Voting Nominee to process your Supplemental
Election Form and electronically tender your Senior Notes into the ATOP System (defined below) so that
your elections are actually received by the Voting Agent by no later than January 20, 2012 at 4:00 p.m.
(Eastern Time) (the “Supplemental Voting Deadline”).
         You have received with this Supplemental Election Form a copy of the Third Amended DCL
Plan, a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that describes the
modifications to the Third Amended DCL Plan that have been made since the prior solicitation of votes
and elections under such Plan, a notice respecting the hearing before the Bankruptcy Court to consider
confirmation of the Third Amended DCL Plan, and a copy of the Resolicitation Order (without exhibits)
(collectively, and together with the Supplemental Beneficial Ballots transmitted to you by separate
mailing, the “Resolicitation Package”). Capitalized terms used but not defined in this Supplemental
Election Form have the meanings given to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering whether you wish to make the elections called for under the Third Amended DCL
Plan. Your elections under the Third Amended DCL Plan are very important and may affect your
rights and the treatment of your Claim.
         This Supplemental Election Form is the exclusive means by which you may elect to receive the
Senior Noteholder Alternative Treatment under the Third Amended DCL Plan and/or elect not to transfer
your Disclaimed State Law Avoidance Claims to the Creditors’ Trust to be established under the Third
Amended DCL Plan. If you wish to make the elections provided in this Supplemental Election Form, you
must complete this Supplemental Election Form and return it to your broker, bank, commercial bank,
trust company, dealer or other agent or nominee (a “Voting Nominee”) in sufficient time for your Voting
Nominee to summarize your election on a Supplemental Election Tabulation Form and return that
Supplemental Election Tabulation Form so that it is received by the Voting Agent by the Supplemental
Voting Deadline. Supplemental Election Tabulation Forms received by the Voting Agent after that date
will be disregarded.
        If you do not submit this Supplemental Election Form, you will be deemed to have elected
the treatment specified in Section 3.2.5(c)(ii) of the Third Amended DCL Plan with respect to your
Allowed Senior Noteholder Claims and you will be deemed to transfer any Disclaimed State Law
Avoidance Claims you may hold to the Creditors’ Trust established under the Third Amended
DCL Plan when the Creditors’ Trust is established.
        Pursuant to Section 3.2.5 of the Third Amended DCL Plan, you will receive the principally-Cash
treatment option specified in Section 3.2.5(c)(ii) of the Third Amended DCL Plan unless you submit this
Supplemental Election Form and elect to receive the Senior Noteholder Alternative Treatment, which is
specified in Section 3.2.5(c)(i) of the Third Amended DCL Plan.
        If you elect not to transfer your Disclaimed State Law Avoidance Claims using this Supplemental
Election Form, you will be “opting out” of contributing all Disclaimed State Law Avoidance Claims you
now hold or may hold in the future, and you will not be entitled to (i) receive Creditors’ Trust Interests or



                                                      2
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 40 of 147



(ii) share in the proceeds of any recoveries ultimately obtained by the Creditors’ Trust. If you do not opt
out of the transfer of your Disclaimed State Law Avoidance Claims to the Creditors’ Trust, you will be
deemed to consent to the transfer of your Disclaimed State Law Avoidance Claims to the Creditors’ Trust
under the Third Amended DCL Plan in exchange for Creditors’ Trust Interests. The Creditors’ Trust
Interests may entitle you to share in the proceeds of any recoveries ultimately obtained by the Creditors’
Trust. The Creditors’ Trust will be established under the Third Amended DCL Plan on the Effective Date
of such Plan. For additional information regarding the Creditors’ Trust under the Third Amended DCL
Plan, please see Section 14.3.1 of the Third Amended DCL Plan.
        An election by a Holder of a Senior Noteholder Claim (i) to receive the Senior Noteholder
Alternative Treatment, and/or (ii) not to transfer its Disclaimed State Law Avoidance Claims to the
Creditors’ Trust established under the Third Amended DCL Plan will be valid only if such Holder has
electronically delivered its Senior Notes, as of the Supplemental Voting Deadline, into the Automated
Tender Offer Program at The Depository Trust Company (the “ATOP System”). Only the Voting
Nominee of a Holder of Senior Noteholder Claim can submit this election on such Holder’s behalf.
        Holders of Senior Noteholder Claims that (i) elect to receive the Senior Noteholder Alternative
Treatment and/or (ii) elect not to transfer their Disclaimed State Law Avoidance Claims to the Creditors’
Trust established under the Third Amended DCL Plan pursuant to this Supplemental Election Form and
electronically deliver their Senior Notes into the ATOP System can withdraw their Senior Notes from the
ATOP System up to and until the Supplemental Voting Deadline. However, following the Supplemental
Voting Deadline, such Senior Notes will not be freely tradable.
         If a Holder of a Senior Noteholder Claim (i) elects to receive the Senior Noteholder Alternative
Treatment and/or (ii) elects not to transfer its Disclaimed State Law Avoidance Claims to the Creditors’
Trust under the Third Amended DCL Plan but fails to comply with the procedures for making such
elections set forth above, such Holder will (a) not receive the Senior Noteholder Alternative Treatment on
account of such Holder’s Allowed Senior Noteholder Claim and/or (b) be deemed to consent to the
transfer of its Disclaimed State Law Avoidance Claims to the Creditors’ Trust pursuant to the Third
Amended DCL Plan, as applicable.
         PRIOR TO COMPLETING THIS SUPPLEMENTAL ELECTION FORM, PLEASE
     REFER TO THE ENCLOSED INSTRUCTIONS FOR FURTHER EXPLANATION ON
               HOW TO COMPLETE THE ITEMS SET FORTH BELOW

ITEM 1.     ELECTION TO RECEIVE SENIOR NOTEHOLDER ALTERNATIVE TREATMENT.
            Please check the box below if you elect to receive the treatment set forth in Section 3.2.5(c)(i)
            of the Third Amended DCL Plan on account of your Senior Noteholder Claim. If you do not
            submit this Senior Noteholder Election Form electing to receive the treatment set forth in
            Section 3.2.5(c)(i), you will receive the treatment specified in Section 3.2.5(c)(ii) of the Third
            Amended DCL Plan on account of your Allowed Senior Noteholder Claim.
                   The undersigned elects to receive the treatment set forth in Section 3.2.5(c)(i) of the
                    Third Amended DCL Plan for its Senior Noteholder Claim.

ITEM 2.     ELECTION NOT TO TRANSFER DISCLAIMED STATE LAW AVOIDANCE CLAIMS.
            If you wish to opt out of the transfer of any Disclaimed State Law Avoidance Claims that you
            may have to the Creditors’ Trust, please check the box below. If you do not submit this
            Senior Noteholder Election Form, you will be deemed to consent to the transfer of your
            Disclaimed State Law Avoidance Claims to the Creditors’ Trust in accordance with Section
            14.3.1 of the Third Amended DCL Plan.




                                                     3
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11      Page 41 of 147



                       I wish to opt out of the transfer of my Disclaimed State Law Avoidance Claims
                        to the Creditors’ Trust under the Third Amended DCL Plan.
ITEM 3.    CERTIFICATION By signing this Supplemental Election Form, the undersigned
           acknowledges and/or certifies that it has full power and authority to complete this
           Supplemental Election Form with respect to its Senior Noteholder Claims against Tribune
           Company. The undersigned acknowledges and/or certifies that it:
           a.       is the Beneficial Owner of the Senior Noteholder Claim to which this Supplemental
                    Election Form pertains or is an authorized signatory and has full power and authority
                    to make the elections called for on this Supplemental Election Form;
           b.       has not submitted any other Supplemental Election Form(s) on account of the Senior
                    Noteholder Claim represented herein that are inconsistent with the elections set forth
                    in this Supplemental Election Form or that, if such other Supplemental Election
                    Form(s) were previously submitted, they either have been or are hereby revoked or
                    changed to reflect the elections set forth herein;
           c.       is deemed to have consented to the submission of a Supplemental Election
                    COMPLETE THIS SECTION ONLY IF YOU HAVE SUBMITTED OTHER
                    SUPPLEMENTAL ELECTION FORMS FOR PHONES NOTES
                    CLAIMS:Tabulation Form to the Voting Agent;
           d.       instructs its Nominee to effect this Supplemental Election Form through the ATOP
                    System; and
           e.       either (a) this Supplemental Election Form is the only Supplemental Election Form
                    submitted by the undersigned for Senior Noteholder Claims or (b) in addition to this
                    Supplemental Election Form, one or more Supplemental Election Forms for Senior
                    Noteholder Claims have been submitted as follows:
     COMPLETE THIS SECTION ONLY IF YOU HAVE SUBMITTED OTHER SENIOR
       NOTEHOLDER ELECTION FORMS FOR SENIOR NOTEHOLDER CLAIMS
Account Number of       Name of Registered        CUSIP Number of        Principal Amount of Other Senior
   Other Senior          Holder or Voting           Other Senior           Noteholder Claims At Issue in
Noteholder Claims       Nominee of Other          Noteholder Claims        Additional Senior Noteholder
                        Senior Noteholder                                 Supplemental Election Form(s)
                             Claims
1.                                                                       $
2.                                                                       $
3.                                                                       $
4.                                                                       $


                Name:
                         (Print or Type)

                Signature:

                By:
                         (If Applicable)




                                                    4
           Case 08-13141-BLS           Doc 10274-3         Filed 11/18/11       Page 42 of 147



                  Title:
                           (If Applicable)

                  Street Address:

                  ________________________________________________________

                  City, State, Zip Code:

                  Telephone Number:

                  Email: __________________________________________________

                  Date Completed:
         This Supplemental Election Form is not, and may not be deemed to be (a) a proof of claim or
equity interest or an assertion of a claim or equity interest, or (b) an admission by the Debtors or the other
Proponents of the Third Amended DCL Plan of the nature, validity, or amount of any Claim, and does not
signify that your claim has been or will be Allowed.

      THE SUPPLEMENTAL VOTING DEADLINE IS 4:00 P.M. EASTERN TIME ON
      JANUARY 20, 2012. PLEASE RETURN THIS SUPPLEMENTAL ELECTION
      FORM TO YOUR NOMINEE IN THE ENVELOPE PROVIDED IN SUFFICIENT
      TIME FOR YOUR NOMINEE TO PROCESS YOUR SUPPLEMENTAL
      ELECTION FORM, SUBMIT YOUR ELECTIONS THROUGH THE ATOP
      SYSTEM AND SUBMIT A SUPPLEMENTAL ELECTION TABULATION FORM
      TO THE VOTING AGENT SO THAT IT IS ACTUALLY RECEIVED BY THE
      VOTING AGENT ON OR BEFORE THE SUPPLEMENTAL VOTING
      DEADLINE OR YOUR ELECTIONS WILL NOT BE COUNTED.

IF YOU HAVE ANY QUESTIONS REGARDING THIS SUPPLEMENTAL ELECTION FORM,
OR THE PROCEDURES FOR MAKING THESE ELECTIONS, OR IF YOU NEED AN
ADDITIONAL SENIOR NOTEHOLDER ELECTION FORM OR RELATED MATERIALS,
PLEASE CONTACT THE VOTING AGENT AT 888-287-7568 OR AT
TRIBUNEVOTE@EPIQSYSTEMS.COM.




                                                      5
              Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 43 of 147



                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


         INSTRUCTIONS FOR COMPLETING SUPPLEMENTAL ELECTION FORM FOR
         HOLDERS OF SENIOR NOTEHOLDER CLAIMS AGAINST TRIBUNE COMPANY
                       UNDER THE THIRD AMENDED DCL PLAN

THESE INSTRUCTIONS EXPLAIN HOW TO COMPLETE THE ENCLOSED
SUPPLEMENTAL ELECTION FORM. PLEASE READ AND FOLLOW THESE
INSTRUCTIONS CAREFULLY SO THAT YOUR ELECTIONS RESPECTING THE THIRD
AMENDED DCL PLAN WILL BE COUNTED.

                                Why You Have Received a Supplemental Election Form
         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide, among
other things, for procedures for certain Holders of Claims against Tribune Company and/or its
subsidiaries in the above-captioned Chapter 11 Cases (collectively, the “Debtors”) to vote to accept or
reject the Third Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries

1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
           Case 08-13141-BLS              Doc 10274-3         Filed 11/18/11         Page 44 of 147



Proposed By the Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management,
L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”)
and to make certain elections called for under such Plan.
       The Resolicitation Order provides, among other things, that Holders of Senior Noteholder Claims
may re-vote on the Third Amended DCL Plan and may make elections thereunder.
         The enclosed Supplemental Election Form has been sent to you, as a Holder of a Senior
Noteholder Claim against Tribune Company, to allow you to elect (i) to receive the Senior Noteholder
Alternative Treatment (defined below), which is specified in Section 3.2.5(c)(i) of the Third Amended
DCL Plan, and (ii) not to transfer your Disclaimed State Law Avoidance Claims to the Creditors’ Trust
established pursuant to Section 14.3.1 of the Third Amended DCL Plan.
         You have previously received election forms for making elections under earlier versions of the
Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors. Please
be aware that your elections under the earlier versions of the Third Amended DCL Plan and other plans of
reorganization with respect to your Senior Noteholder Claims are not being counted for purposes of the
Third Amended DCL Plan. Accordingly, if you wish to have your vote on and elections under the Third
Amended DCL Plan counted, you must complete and return the Supplemental Election Form as provided
in these Instructions.
                 Materials that You Have Been Sent with the Supplemental Election Form
        You have been sent with the Supplemental Election Form various materials to assist you in
deciding how to vote on the Third Amended DCL Plan (collectively, the “Resolicitation Package”). In
addition to the Supplemental Election Form Ballot, the Resolicitation Package contains the following:
                  a copy of the Third Amended DCL Plan;
                  a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that
                   describes the modifications to the Third Amended DCL Plan that have been made since
                   the prior solicitation of votes and elections on such Plan. The Supplemental Disclosure
                   Document has been approved by the Bankruptcy Court as a supplement to the previously-
                   distributed Disclosure Documents2 to provide information to the Holders of Claims
                   against the Debtors for deciding how to vote on the Third Amended DCL Plan;
                  notices respecting the hearing before the Bankruptcy Court to consider confirmation of
                   the Third Amended DCL Plan; and



2
 See General Disclosure Statement dated December 15, 2010 [Docket No. 7232] (the “General Disclosure
Statement”), which contains a general description of (among other things) the Debtors, their respective businesses
and their reorganization proceedings; (ii) the Specific Disclosure Statement Relating to First Amended Joint Plan of
Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official Committee of
Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,
N.A. [Docket No. 7135] (the “Specific Disclosure Statement”), which contains a detailed description of (among
other things) the provisions of the First Amended DCL Plan, including those provisions that are retained in the Third
Amended DCL Plan; and (iii) the Explanatory Statement Relating to Modified Elections Under Second Amended
Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official
Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan
Chase Bank, N.A. (as modified April 26, 2011) [Docket No. 8754] (the “Explanatory Statement”), which contains a
description of (among other things) certain elections offered under the Second Amended DCL Plan (the General
Disclosure Statement, the Specific Disclosure Statement, the Explanatory Statement, and the Supplemental
Disclosure Document, collectively, the “Disclosure Documents”).



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          Case 08-13141-BLS           Doc 10274-3       Filed 11/18/11      Page 45 of 147




               a copy of the Resolicitation Order (without exhibits). The Resolicitation Order contains
                important information regarding the process of voting on the Third Amended DCL Plan
                and how votes on the Third Amended DCL Plan will be tabulated.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your votes on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
        If you would like to receive additional copies of the Third Amended DCL Plan, the Supplemental
Disclosure Document, or any other materials relating to the Third Amended DCL Plan, you may obtain
copies without charge by visiting http://chapter11.epiqsystems.com/tribune or by contacting Epiq
Bankruptcy Solutions LLC (the “Voting Agent”) at (888) 287-7568 or tribunevote@epiqsystems.com.
                      Deadline for Returning the Supplemental Election Form
        You must complete, sign and date your Supplemental Election Form and return it in the enclosed
envelope to your broker, bank, commercial bank, trust company, dealer, or other agent or nominee (a
“Voting Nominee”) in sufficient time for your Voting Nominee to process your Supplemental Election
Form and electronically tender your Senior Notes into the ATOP System (defined below) by no later than
4:00 p.m. (Eastern Time) on January 20, 2012 (the “Supplemental Voting Deadline”), or your
elections will not be valid.
                        How to Complete Your Supplemental Election Form

        The following are step-by-step instructions for how to complete your Supplemental Election
Form:

ITEM 1.     Election to Receive Senior Noteholder Alternative Treatment Under Third Amended
            DCL Plan.

         Section 3.2.5(c) of the Third Amended DCL Plan provides for alternative treatments for Senior
Noteholder Claims, pursuant to which the Holders of Senior Noteholder Claims may elect to receive an
alternative distribution comprised of a “strip” of consideration consisting of a Pro Rata share of
Distributable Cash, New Senior Secured Term Loan, and New Common Stock, plus Pro Rata shares of
applicable Creditors’ Trust and Litigation Trust Interests (as described Section 3.2.5(c)(i) of the Third
Amended DCL Plan, the “Senior Noteholder Alternative Treatment”), or a default treatment consisting of
Distributable Cash, plus Pro Rata shares of applicable Creditors’ Trust and Litigation Trust Interests.
         The alternative treatments provided for under Section 3.2.5(c) of the Third Amended DCL Plan
are identical to those provided for under the prior version of such Plan, provided, however, that the
adjudication and/or resolution of certain Allocation Disputes (as defined in the Third Amended DCL
Plan) could potentially affect the distributions to which the Holders of Senior Noteholder Claims are
entitled under the Third Amended DCL Plan. Additional information regarding the Allocation Disputes
can be found in Section 5.18 of and Exhibit 5.18 to the Third Amended DCL Plan, and the Supplemental
Disclosure Document.
        If you are the Holder of a Senior Noteholder Claim and wish to receive the default
treatment for your Senior Noteholder Claim under the Third Amended DCL Plan then you do not
need to make any election concerning this matter on the Supplemental Election Form.




                                                    3
           Case 08-13141-BLS            Doc 10274-3         Filed 11/18/11       Page 46 of 147



ITEM 2:     Election Not to Transfer Disclaimed State Law Avoidance Claims to Creditors’ Trust
            Under Third Amended DCL Plan.
        Check the box in Item 2 if you elect not to transfer your Disclaimed State Law Avoidance Claims
to the Creditors’ Trust to be established under the Third Amended DCL Plan.
        If you elect not to transfer your Disclaimed State Law Avoidance Claims to the Creditors’ Trust,
you will not be entitled to (i) receive Creditors’ Trust Interests or (ii) share in the proceeds of any
recoveries ultimately obtained by the Creditors’ Trust. If you do not opt out of the transfer of your
Disclaimed State Law Avoidance Claims, you will be deemed to consent to the transfer of your
Disclaimed State Law Avoidance Claims to the Creditors’ Trust under the Third Amended DCL Plan in
exchange for Creditors’ Trust Interests and will not be able to pursue your Disclaimed State Law
Avoidance Claims directly. For additional information regarding the Creditors’ Trust, please see Section
14.3.1 of the Third Amended DCL Plan.
       If you do not submit the Supplemental Election Form electing not to transfer any
Disclaimed State Law Avoidance Claims you may hold to the Creditors’ Trust established under
the Third Amended DCL Plan, you will be deemed to transfer any Disclaimed State Law Avoidance
Claims you may hold to the Creditors’ Trust to be established under the Third Amended DCL
Plan.
ITEM 3:     Certifications.
         Please review and complete the certifications in Item 3. Your original signature is required on the
Supplemental Election Form for your elections under the Third Amended DCL Plan to count. In
addition, in Item 3, if you are completing the Supplemental Election Form on behalf of an entity, indicate
your relationship with such entity and the capacity in which you are signing. You may be requested at a
later time to provide proof of your authorization to so sign. In addition, please provide your name and
mailing address if different from that set forth on the mailing label, or if no mailing label is attached to the
Supplemental Election Form.
         The certifications in Item 3 also require you to certify that the Supplemental Election Form being
submitted is either the only Supplemental Election Form you have submitted for Senior Noteholder
Claims or, if not, that all other Supplemental Election Form(s) submitted by you for such Claims are as
identified in Item 3(d). You may attach additional sheets of paper if necessary to complete Item 3(d).
                              Returning Your Supplemental Election Form
         Once you have completed your Supplemental Election Form in accordance with the foregoing
instructions, please return the completed Supplemental Election Form to your Voting Nominee. Your
Voting Nominee will provide specific instructions for returning the Supplemental Election Form to such
Voting Nominee. Please do not mail Supplemental Election Form or your Senior Notes directly to Voting
Agent, the Debtors, or to any of the other Proponents of the Third Amended DCL Plan.
        The election of a Holder of a Senior Noteholder Claim (i) to receive the Senior Noteholder
Alternative Treatment and/or (ii) not to transfer its Disclaimed State Law Avoidance Claims to the
Creditors’ Trust established under the Third Amended DCL Plan will be valid only if such Holder has
electronically delivered its Senior Notes, as of the Supplemental Voting Deadline, into the Automated
Tender Offer Program system (the “ATOP System”) at The Depository Trust Company. Only your
Voting Nominee can submit this election on your behalf.
         Holders of Senior Noteholder Claims that elect (i) to receive the Senior Noteholder Alternative
Treatment and/or (ii) not to transfer their Disclaimed State Law Avoidance Claims to the Creditors’ Trust
established under the Third Amended DCL Plan pursuant to the Supplemental Election Form and
electronically deliver their Senior Notes into the ATOP System can withdraw their Senior Notes from the



                                                       4
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11      Page 47 of 147



ATOP System up to and until the Supplemental Voting Deadline. However, following the Supplemental
Voting Deadline, such Senior Notes will not be freely tradable.
         If a Holder of a Senior Noteholder Claim elects (i) to receive the Senior Noteholder Alternative
Treatment and/or (ii) not to transfer its Disclaimed State Law Avoidance Claims to the Creditors’ Trust
under the Third Amended DCL Plan but fails to comply with the procedures for making such elections set
forth above, such Holder will (i) not receive the Senior Noteholder Alternative Treatment on account of
such Holder’s Allowed Senior Noteholder Claim and/or (ii) be deemed to consent to the transfer of its
Disclaimed State Law Avoidance Claims to the Creditors’ Trust pursuant to the Third Amended DCL
Plan, as applicable.
       Please allow sufficient time for mailing your Supplemental Election Form to your Voting
Nominee for your Voting Nominee to process your Supplemental Election Form and electronically tender
your Senior Notes into the ATOP System before the Supplemental Voting Deadline.
        No Electronic Transmissions. Supplemental Election Forms submitted by facsimile or other
electronic transmission will not be counted. In addition, please note that if your Supplemental Election
Form is illegible or contains insufficient information to permit the identification of the Beneficial Owner
of the Claim, your Supplemental Election Form will not be counted.
        No Withdrawal. After the Supplemental Voting Deadline, you may not (i) withdraw or modify
your Supplemental Election Form in any way, (ii) change your treatment election, or (iii) change your
election to transfer your Disclaimed State Law Avoidance Claims to the Creditors’ Trust.
        Additional Questions. If you have questions concerning the Supplemental Election Form or if
you need an additional Supplemental Election Form or additional copies of other materials in the
Resolicitation Package, please contact the Voting Agent at (888) 287-7568 or at
tribunevote@epiqsystems.com.
         Many materials in the Resolicitation Package may also be obtained free of charge by visiting
http://chapter11.epiqsystems.com/tribune.
          Additional Information. No fees, commissions, or other remuneration will be payable to any
broker, dealer, or other person for soliciting votes on the Plans. The Supplemental Election Form is not a
letter of transmittal and may not be used for any purpose other than to make the elections called for on the
Supplemental Election Form.




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                Case 08-13141-BLS                    Doc 10274-3             Filed 11/18/11             Page 48 of 147



    Supplemental Election Tabulation Form for Senior Noteholder Claims – Third Amended DCL Plan
                                      UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

In re:                                                                       Chapter 11

TRIBUNE COMPANY, et al.,1                                                    Case No. 08-13141 (KJC)

                                     Debtors.                                Jointly Administered


    SUPPLEMENTAL ELECTION TABULATION FORM FOR VOTING NOMINEES OF HOLDERS
        OF SENIOR NOTEHOLDER CLAIMS FOR TREATMENT AND CREDITORS’ TRUST
                 ELECTIONS PURSUANT TO THIRD AMENDED DCL PLAN

                     PLEASE READ AND FOLLOW THE INSTRUCTIONS CAREFULLY.

     PLEASE COMPLETE, SIGN, AND DATE THIS SUPPLEMENTAL ELECTION
TABULATION FORM AND RETURN IT TO EPIQ BANKRUPTCY SOLUTIONS, LLC (THE
“VOTING AGENT”) AT THE FOLLOWING ADDRESS: TRIBUNE COMPANY BALLOT
PROCESSING CENTER, C/O EPIQ BANKRUPTCY SOLUTIONS, LLC, 757 THIRD AVENUE,
THIRD FLOOR, NEW YORK, NY 10017, SO THAT IT IS ACTUALLY RECEIVED BY THE
VOTING AGENT BY JANUARY 20, 2012 AT 4:00 P.M. EASTERN TIME (THE
“SUPPLEMENTAL VOTING DEADLINE”).




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California Community
News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc. (3844); Chicago
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Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579); Chicagoland Publishing
Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail Associates, Inc. (6121);
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forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation (5628); Forum Publishing
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(1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc. (2663); Internet Foreclosure Service, Inc.
(6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc. (7943); KSWB Inc. (7035); KTLA Inc. (3404);
KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times International, Ltd. (6079); Los Angeles Times
Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893); Neocomm, Inc. (7208); New Mass. Media, Inc. (9553);
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Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel Communications Company (3775); Patuxent Publishing Company
(4223); Publishers Forest Products Co. of Washington (4750); Sentinel Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of
Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc. (1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-
Sentinel Company (2684); The Baltimore Sun Company (6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning
Call, Inc. (7560); The Other Company LLC (5337); Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company,
Inc. (4227); Times Mirror Services Company, Inc. (1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325);
Tower Distribution Company (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune
Broadcasting Company (2569); Tribune Broadcasting Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington
Bureau Inc. (1088); Tribune California Properties, Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347);
Tribune Direct Marketing, Inc. (1479); Tribune Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune
Finance, LLC (2537); Tribune Finance Service Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune
Manhattan Newspaper Holdings, Inc. (7279); Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings
Company (9936); Tribune New York Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune
Television Company (1634); Tribune Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest,
Inc. (2975); ValuMail, Inc. (9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384);
WCCT, Inc., f/k/a WTXX Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530);
WLVI Inc. (8074); and WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan
Avenue, Chicago, Illinois 60611.
                                                                       1
                 Case 08-13141-BLS      Doc 10274-3       Filed 11/18/11       Page 49 of 147



      IF THIS SUPPLEMENTAL ELECTION TABULATION FORM IS NOT ACTUALLY
RECEIVED BY THE VOTING AGENT BY THE SUPPLEMENTAL VOTING DEADLINE, THE
ELECTIONS OF YOUR CUSTOMERS WILL NOT BE COUNTED. PRIOR ELECTIONS MADE
ON THE THIRD AMENDED DCL PLAN BY HOLDERS OF SENIOR NOTEHOLDER CLAIMS
WILL NOT BE RE-COUNTED. THEREFORE, YOU MUST ALLOW SUFFICIENT TIME TO BE
SURE THAT THE SUPPLEMENTAL ELECTION TABULATION FORM IS RECEIVED BY THE
VOTING AGENT BEFORE THE SUPPLEMENTAL VOTING DEADLINE.

         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide, among other
things, for procedures for Holders of Senior Noteholder Claims to vote to accept or reject the Third Amended
Joint Plan of Reorganization For Tribune Company and Its Subsidiaries Proposed By the Debtors, the
Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co.,
L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”) and to make certain elections
called for under such Plan.
         You have previously received election tabulation forms on behalf of beneficial owners of Senior
Notes issued by Tribune Company (“Beneficial Owners”) for tabulating elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors. Please
be aware that elections under the earlier versions of the Third Amended DCL Plan and other plans of
reorganization with respect to the Senior Noteholder Claims are not being counted for purposes of the Third
Amended DCL Plan. Accordingly, for the elections under the Third Amended DCL Plan of your Beneficial
Owners to be counted, you must complete and return this Supplemental Election Form so that it is actually
received by the Voting Agent by the Supplemental Voting Deadline, in accordance with the attached
Instructions.
        This Supplemental Election Tabulation Form is to be used by you, as a broker, bank, commercial
bank, trust company, dealer, or other agent or nominee (each of the foregoing, a “Voting Nominee”) to
tabulate and transmit certain voluntary elections of Beneficial Owners in respect of their Senior Noteholder
Claims.
         The proponents of the Third Amended DCL Plan have provided to you, by separate mailing, voting
materials for each of the Beneficial Owners for whom you act as Voting Nominee, consisting of
Supplemental Beneficial Ballots and Supplemental Election Forms, copies of the Third Amended DCL Plan,
a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that describes the
modifications to the Third Amended DCL Plan that have been made since the prior solicitation of votes on
and elections under on such Plan, notices respecting the hearing before the Bankruptcy Court to consider
confirmation of the Third Amended DCL Plan, and copies of the Resolicitation Order (without exhibits)
(collectively, the “Resolicitation Packages”). Capitalized terms used but not defined in this Supplemental
Election Tabulation Form have the meanings given to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
       Senior Noteholder Claims are all Claims based on the following series of Senior Notes issued by
Tribune Company:

                                Series of Notes                       CUSIP #
                     6.25% Notes due November 10, 2026        (CUSIP # 89605HBY9)
                     7.25% Notes due March 1, 2013            (CUSIP # 887364AA5)
                     7.5% Notes due July 1, 2023              (CUSIP # 887364AB3)
                     6.61% Notes due September 15, 2027       (CUSIP # 887364AF4)
                     7.25% Notes due November 15, 2096        (CUSIP # 887360AT2)
                     4.875% Notes due August 15, 2010         (CUSIP # 896047AE7)
                     5.25% Notes due August 15, 2015          (CUSIP # 896047AF4)

                                                    2
CH1 6351635v.2
                     Case 08-13141-BLS         Doc 10274-3          Filed 11/18/11    Page 50 of 147




                           5.67% Notes due December 8, 2008             (CUSIP #89604KAN8)

             Elections with respect to the Third Amended DCL Plan made by Beneficial Owners of Senior Notes
    will be returned to you on Supplemental Election Forms. For each completed, executed Supplemental
    Election Form returned to you by a Beneficial Owner, you must retain a copy of such Supplemental Election
    Form in your files for at least five (5) years from the Supplemental Voting Deadline.

          PRIOR TO COMPLETING THIS SUPPLEMENTAL ELECTION TABULATION FORM,
    PLEASE REFER TO THE INSTRUCTIONS ATTACHED TO THIS SUPPLEMENTAL ELECTION
    TABULATION FORM FOR FURTHER EXPLANATION ON HOW TO COMPLETE THE ITEMS
    SET FORTH BELOW.

    ITEM 1.          CERTIFICATION OF AUTHORITY TO MAKE ELECTIONS. The undersigned certifies that
                     as of December 12, 2011, (the “Supplemental Record Date”), it (please check applicable box):

         is the broker, bank, or other agent or nominee that is the registered holder for the Beneficial Owners
           of the aggregate principal amount of Senior Notes listed in Items 2 and 3 below; or

         is acting under a power of attorney and/or agency (a copy of which will be provided upon request)
           granted by the broker, bank, or other agent or nominee that is the registered holder of the aggregate
           principal amount of Senior Notes listed in Items 2 and 3 below; or

         has been granted a proxy (an original of which is attached hereto) from a broker, bank, or other
           nominee, or a Beneficial Owner, that is the registered holder of the aggregate principal amount of
           Senior Notes listed in Items 2 and 3 and, accordingly, has full power and authority to make the
           elections called for under the Third Amended DCL Plan, each on behalf of the Beneficial Owners of
           the Senior Notes described in Items 2 and 3 below.

    ITEM 2.          TABULATION OF BENEFICIAL OWNER ELECTIONS. The undersigned certifies that the
                     Beneficial Owners of Senior Noteholder Claims in the following aggregate unpaid principal
                     amounts have delivered duly completed Supplemental Election Forms to the undersigned (or
                     such information was derived from Supplemental Election Forms that have been summarized in
                     intermediary Supplemental Election Tabulation Forms delivered to the undersigned) making the
                     elections below under the Third Amended DCL Plan:

Total Number of Holders           Total Aggregate Unpaid           Total Number of Holders     Total Aggregate Unpaid
 Electing Treatment Set            Principal Amount of             Electing Not to Transfer     Principal Amount of
Forth in Section 3.2.5(c)(i)         Holders Electing               Disclaimed State Law       Holders Electing Not to
 of the Third Amended             Treatment Set Forth in             Avoidance Claims to      Transfer Disclaimed State
        DCL Plan                  Section 3.2.5(c)(i) of the        Creditors’ Trust to be    Law Avoidance Claims to
                                   Third Amended DCL                established under the       Creditors’ Trust to be
                                            Plan                    Third Amended DCL           established under the
                                                                             Plan               Third Amended DCL
                                                                                                         Plan


                                     $_______________                                             $______________




                                                               3
    CH1 6351635v.2
                                              Case 08-13141-BLS             Doc 10274-3     Filed 11/18/11      Page 51 of 147



         ITEM 3.          TRANSMITTAL OF ELECTIONS FROM INDIVIDUAL SUPPLEMENTAL ELECTION FORMS. The undersigned transmits the
                          following elections of Beneficial Owners of Senior Noteholder Claims and certifies that the following are Beneficial Owners that have
                          delivered to the undersigned, as Voting Nominee, Supplemental Election Forms making such elections (indicate in each column the
                          aggregate principal amount making the relevant elections for each account).

                                                                                                                                       Check if the Beneficial Owner
                                                                                                                                           Elected Not to Transfer
                                                                                                        Check if the Beneficial Owner       Disclaimed State Law
     Your Customer Name or                                                                                  Elected to Receive the        Avoidance Claims to the
     Account Number for Each                                             Principal Amount of Senior     Treatment Set Forth in Section      Creditors’ Trust to be
                                        Voluntary Offering Position
     Beneficial Owner Making                                               Notes Making Elections           3.2.5(c)(i) of the Third     established under the Third
                                             (VOI) Number
     Elections Under the Third                                            Under the Third Amended         Amended DCL Plan on Its        Amended DCL Plan on Its
        Amended DCL Plan                       (REQUIRED)                         DCL Plan               Supplemental Election Form     Supplemental Election Form

1.                                                                      $                                                                             
2.                                                                      $                                                                             
3.                                                                      $                                                                             
4.                                                                      $                                                                             
5.                                                                      $                                                                             
6.                                                                      $                                                                             
7.                                                                      $                                                                             
8.                                                                      $                                                                             
9.                                                                      $                                                                             
10.                                                                     $                                                                             

         PLEASE USE ADDITIONAL SHEETS IF NECESSARY




                                                                 4
         CH1 6351635v.2
                  Case 08-13141-BLS        Doc 10274-3       Filed 11/18/11      Page 52 of 147



     ITEM 4.          ADDITIONAL INFORMATION SUBMITTED BY BENEFICIAL OWNERS

     The undersigned certifies that the following information is a true and accurate schedule on which the
     undersigned has transcribed the information, if any, provided in Item 3(e) of each Supplemental Election
     Form received from a Beneficial Owner of the Senior Notes.

         Information transcribed from Item 3 of the Supplemental Election Forms regarding other
         Supplemental Election Forms submitted in respect of Senior Noteholder Claims:

    Your Customer         Account Number of    Name of Registered      CUSIP Number of        Principal Amount of
  Name or Account            Other Senior       Holder or Voting         Other Senior             Other Senior
   Number for Each        Noteholder Claims    Nominee of Other        Noteholder Claims       Noteholder Claims
  Beneficial Owner                             Senior Noteholder
who completed Item                                  Claims
      3(e) of the
    Supplemental
    Election Form
1.                                                                                            $
2.                                                                                            $
3.                                                                                            $
4.                                                                                            $


     PLEASE USE ADDITIONAL SHEETS IF NECESSARY




                                                         5
     CH1 6351635v.2
             Case 08-13141-BLS             Doc 10274-3         Filed 11/18/11       Page 53 of 147



ITEM 5.          CERTIFICATION. By signing this Supplemental Election Tabulation Form, the undersigned
                 certifies that:
                 a.      each Beneficial Owner of Senior Notes whose elections are being transmitted by this
                         Supplemental Election Tabulation Form has been provided with a copy of the Third
                         Amended DCL Plan, the Supplemental Disclosure Document, the Resolicitation
                         Order, an a Supplemental Election Form for making elections under the Third
                         Amended DCL Plan; and
                 b.      it is the registered holder of the Senior Notes to which this Supplemental Election
                         Tabulation Form pertains and/or has full power and authority to make the elections
                         called for under the Third Amended DCL Plan; and
                 c.      it received a properly completed and signed Supplemental Election Form from each
                         Beneficial Owner listed in Item 3 above; and
                 d.      it accurately transcribed all applicable information from the Supplemental Election
                         Form(s) received from each Beneficial Owner.

                        The undersigned also acknowledges that the solicitation of the elections is subject to all
                 the terms and conditions set forth in the Resolicitation Order, dated December [●], 2011.

                                                           _______________________________________
                                                                      Name of Voting Nominee

                                                          ________________________________________
                                                                      Participant Number

                                                          ________________________________________
                                                                          Signature

                                                          ________________________________________
                                                              If by Authorized Agent, Name and Title

                                                          ________________________________________
                                                                        Street Address

                                                          ________________________________________
                                                                    City, State and Zip Code

                                                          ________________________________________
                                                                      Telephone Number

                                                          ________________________________________
                                                                            Email
                                                          ________________________________________
                                                                       Date Completed




                                                          6
CH1 6351635v.2
          Case 08-13141-BLS              Doc 10274-3         Filed 11/18/11       Page 54 of 147



                             INSTRUCTIONS FOR COMPLETING THE
                         SUPPLEMENTAL ELECTION TABULATION FORM

THESE INSTRUCTIONS EXPLAIN HOW TO COMPLETE THE SUPPLEMENTAL MASTER
BALLOT FOR VOTING NOMINEES OF HOLDERS OF SENIOR NOTEHOLDER CLAIMS TO
 VOTE TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN. PLEASE READ AND
  FOLLOW THESE INSTRUCTIONS CAREFULLY SO THAT YOUR CUSTOMERS’ VOTES
 AND ELECTIONS RESPECTING THE THIRD AMENDED DCL PLAN WILL BE COUNTED.
                                        Supplemental Voting Deadline

         The Supplemental Voting Deadline is January 20, 2012 at 4:00 p.m. Eastern Time. To have
the elections of your customers count, you must complete, sign, and return the Supplemental Election
Tabulation Form so that it is received by the Voting Agent at the address set forth in the Supplemental
Tabulation Form on or before the Supplemental Voting Deadline. Capitalized terms used but not defined
in this Supplemental Election Tabulation Form have the meanings given to them in (i) the Third
Amended DCL Plan, (ii) the Supplemental Disclosure Document, or (iii) the Resolicitation Order, as
applicable.

                    Transmittal of Supplemental Beneficial Ballots to Beneficial Owners

          If you are acting as a broker, bank, commercial bank, trust company, dealer, or other agent or
nominee (each of the foregoing, a “Voting Nominee”) for Beneficial Owners of Senior Noteholder
Claims issued by Tribune Company, you must (i) deliver a Supplemental Election Form to such
Beneficial Owner(s), along with the Supplemental Disclosure Document, the Third Amended DCL Plan,
the Resolicitation Order, the Confirmation Hearing Notice, and other materials required to be forwarded;
(ii) take the necessary actions to enable such Beneficial Owners to (a) complete and execute such
Supplemental Election Form and (b) return the completed, executed Supplemental Election Form to you
in sufficient time to enable you to complete the Supplemental Election Tabulation Form and deliver it to
the Voting Agent before the Supplemental Voting Deadline; and effect the elections made by the
Beneficial Owners by electronically tendering such Beneficial Owners’ Senior Notes into the ATOP
System (defined below).
        You or the Beneficial Owners for whom you are the Voting Nominee may wish to seek legal
advice concerning the Third Amended DCL Plan and the classification and treatment of the Senior
Noteholder Claims under such Plan.

                       How to Complete the Supplemental Election Tabulation Form

       With respect to all of the Supplemental Election Forms, you must properly complete the
Supplemental Election Tabulation Form, as follows:

               i.      Check the applicable box in Item 1 on the Supplemental Election Tabulation Form;

              ii.      Indicate the total (a) elections to receive the treatment set forth in 3.2.5(c)(i) of the
                       Third Amended DCL Plan and (b) elections not to transfer the Disclaimed State Law
                       Avoidance Claims to the Creditors’ Trust to be established under the Third Amended
                       DCL Plan in Item 2;

             iii.      Transcribe the elections from the Supplemental Election Forms in Item 2 and indicate
                       the following in Item 3:


                                                        1
             Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11      Page 55 of 147



                         a. whether each Beneficial Owner elected to receive the treatment set forth in
                            Section 3.2.5(c)(i) of the Third Amended DCL Plan;
                         b. whether each Beneficial Owner elected not to transfer its Disclaimed State Law
                            Avoidance Claims to the Creditors’ Trust established under the Third Amended
                            DCL Plan.

          IMPORTANT: BENEFICIAL OWNERS MAY NOT SPLIT THEIR ELECTIONS. PROPERLY
          EXECUTED SUPPLEMENTAL ELECTION FORMS THAT ATTEMPT PARTIALLY TO
          MAKE ANY OF THE ELECTIONS WILL NOT BE COUNTED AS A VALID ELECTION.
          EACH BENEFICIAL OWNER MUST MAKE THE SAME ELECTION FOR ALL OF HIS,
          HER, OR ITS SENIOR NOTEHOLDER CLAIMS. IF ANY BENEFICIAL OWNER HAS
          ATTEMPTED TO SPLIT SUCH ELECTION, PLEASE CONTACT SUCH BENEFICIAL
          OWNER TO CORRECT ITS SUPPLEMENTAL ELECTION FORM OR CONTACT THE
          VOTING AGENT IMMEDIATELY.

                  iv.    Transcribe from Item 3(e) of each Supplemental Election Form the information
                         provided by the Beneficial Owners into Item 4 of the Supplemental Election
                         Tabulation Form;

                   v.    Review the certification in Item 3 of the Supplemental Election Tabulation Form;

                  vi.    Ensure that each Supplemental Election Form is signed and each certification is
                         complete;

                 vii.    Independently verify and confirm the accuracy of the information provided with
                         respect to each Beneficial Owner of Senior Notes;

                 viii.   If additional space is required to respond to any item on the Supplemental Election
                         Tabulation Form, please use additional sheets of paper clearly marked to indicate the
                         applicable Item of the Supplemental Election Tabulation Form to which you are
                         responding; and

                  ix.    Sign, date, and return the original Supplemental Election Tabulation Form.

         You must deliver the completed, executed Supplemental Election Tabulation Form so that it is
actually received by the Voting Agent on or before the Supplemental Voting Deadline. You must retain a
copy of each completed, executed Supplemental Election Form returned to you by a Beneficial Owner in
your files for at least five (5) years from the Supplemental Voting Deadline.
        Elections made by Beneficial Owners through a Voting Nominee will be compared to the
holdings of the Senior Notes of such Beneficial Owners as of the Supplemental Record Date, as
evidenced by the record and depository listings. Elections submitted by a Voting Nominee pursuant to a
Supplemental Election Tabulation Form will not be counted in excess of the record amount of the Senior
Notes held by such Voting Nominee.
        For the purpose of tabulating elections, each Beneficial Owner shall be deemed to have made
such elections for the principal amount of its Senior Notes. To the extent that conflicting elections are
submitted by a Voting Nominee, the Voting Agent, in good faith, will attempt to reconcile discrepancies
with such Voting Nominee.




                                                         2
CH1 6351635v.2
             Case 08-13141-BLS         Doc 10274-3         Filed 11/18/11       Page 56 of 147



          Effectuating the Elections Made Under the Supplemental Election Tabulation Form
        The election of a Holder of a Senior Noteholder Claim (i) to receive the Senior Noteholder
Alternative Treatment and/or (ii) not to transfer its Disclaimed State Law Avoidance Claims to the
Creditors’ Trust established under the Third Amended DCL Plan will be valid only if such Holder has
electronically delivered its Senior Notes, as of the Supplemental Voting Deadline, into the Automated
Tender Offer Program system (the “ATOP System”) at The Depository Trust Company.
         Holders of Senior Noteholder Claims that elect (i) to receive the Senior Noteholder Alternative
Treatment and/or (ii) not to transfer their Disclaimed State Law Avoidance Claims to the Creditors’ Trust
established under the Third Amended DCL Plan pursuant to the Supplemental Election Form and
electronically deliver their Senior Notes into the ATOP System can withdraw their Senior Notes from the
ATOP System up to and until the Supplemental Voting Deadline. However, following the Supplemental
Voting Deadline, such Senior Notes will not be freely tradable.
PLEASE NOTE:

         This Supplemental Election Tabulation Form is not a letter of transmittal and may not be used for
any purpose other than to tabulate the elections called for under the Third Amended DCL Plan. Holders
of Senior Noteholder Claims should not surrender their Senior Notes with their Supplemental Election
Forms. The Voting Agent will not accept delivery of any such instruments surrendered together with a
Supplemental Election Tabulation Form.
         The Supplemental Master Ballot and Supplemental Beneficial Ballots are not, and may not be
deemed to be, either (a) a proof of claim or equity interest or an assertion of a claim or equity interest, or
(b) an admission by the Debtors or the other Proponents of the Third Amended DCL Plan of the nature,
validity, or amount of any Claim or Interest.
         No fees or commissions or other remuneration will be payable to any Voting Nominee. Upon
written request with supporting documentation, however, the Debtors will reimburse you for reasonable,
actual, and necessary out-of-pocket expenses associated with the distribution of the Resolicitation
Packages to your Beneficial Owners, the tabulation of the Supplemental Election Forms and the
completion of this Supplemental Election Tabulation Form.
IF YOU BELIEVE THAT YOU ARE MISSING ANY MATERIALS OR THAT YOU HAVE
RECEIVED THE WRONG MATERIALS, OR IF YOU HAVE QUESTIONS REGARDING THIS
SUPPLEMENTAL ELECTION TABULATION FORM, OR THE ELECTION PROCEDURES,
OR IF YOU NEED ADDITIONAL COPIES OF THE SUPPLEMENTAL ELECTION
TABULATION FORM OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE
VOTING AGENT AT (888) 287-7568 OR AT TRIBUNEVOTE@EPIQSYSTEMS.COM.

PLEASE COMPLETE, SIGN, AND DATE THIS SUPPLEMENTAL ELECTION TABULATION
FORM AND RETURN IT TO THE VOTING AGENT AT THE FOLLOWING ADDRESS:
TRIBUNE COMPANY BALLOT PROCESSING CENTER, C/O EPIQ BANKRUPTCY
SOLUTIONS, LLC, 757 THIRD AVENUE, THIRD FLOOR, NEW YORK, NY 10017 AND
EFFECT THE ELECTION(S) BY TENDERING THE SENIOR NOTES INTO THE
CORRESPONDING EVENT ON DTC’S ATOP SYSTEM ON OR BEFORE THE
SUPPLEMENTAL VOTING DEADLINE OF JANUARY 20, 2012 AT 4:00 P.M. EASTERN
TIME.

SUPPLEMENTAL ELECTION TABULATION FORMS RECEIVED BY FACSIMILE OR
OTHER ELECTRONIC MEANS OR RECEIVED AFTER THE SUPPLEMENTAL VOTING
DEADLINE WILL NOT BE COUNTED.



                                                      3
CH1 6351635v.2
             Case 08-13141-BLS    Doc 10274-3     Filed 11/18/11   Page 57 of 147




                                         EXHIBIT B

           Forms of Supplemental Beneficial Ballots and Supplemental Master Ballots
                           for Holders of PHONES Notes Claims




CH1 6333435v.6
              Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 58 of 147



                                  PHONES Notes Claims – Third Amended DCL Plan
                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al., 1                                                      Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


             SUPPLEMENTAL BENEFICIAL BALLOT FOR BENEFICIAL OWNERS OF
             PHONES NOTES CLAIMS (CUSIP NO. 896047305) TO ACCEPT OR REJECT
                              THIRD AMENDED DCL PLAN

         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide for, among
other things, procedures for Holders of PHONES Notes Claims to vote to accept or reject the Third
Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries Proposed By the
Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo,
Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”) and to make
certain elections called for under such Plan.
        This Supplemental Beneficial Ballot is for voting to accept or reject the Third Amended DCL
Plan and for making elections under such Plan.


1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.



                                                                        1
           Case 08-13141-BLS             Doc 10274-3         Filed 11/18/11       Page 59 of 147



        You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors.
Please be aware that your votes on and elections under the earlier versions of the Third Amended DCL
Plan and other plans of reorganization with respect to your PHONES Notes Claims are not being counted
for purposes of the Third Amended DCL Plan. Accordingly, if you wish to have your vote on and
elections under the Third Amended DCL Plan counted, you must complete and return this Supplemental
Beneficial Ballot and return it to your Voting Nominee (defined below) in sufficient time for your Voting
Nominee to process your ballot and submit a Supplemental Master Ballot so that it is actually received
by the Voting Agent by no later than January 20, 2012 at 4:00 p.m. (Eastern Time) (the “Supplemental
Voting Deadline”), in accordance with the attached Instructions.
         You have received with this Supplemental Beneficial Ballot a copy of the Third Amended DCL
Plan, a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that describes the
modifications to the Third Amended DCL Plan that have been made since the prior solicitation of votes
on and elections under such Plan, a notice respecting the hearing before the Bankruptcy Court to consider
confirmation of the Third Amended DCL Plan, and a copy of the Resolicitation Order (without exhibits)
(together with Supplemental Election Forms that will be transmitted to you by separate mailing,
collectively, the “Resolicitation Package”). Capitalized terms used but not defined in this Supplemental
Beneficial Ballot have the meanings given to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your vote on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
        Claims Voted by this Supplemental Beneficial Ballot. You have been identified as a
Beneficial Owner of a PHONES Notes Claim against Tribune Company that is entitled to re-vote to
accept or reject the Third Amended DCL Plan. PHONES Notes Claims against Tribune Company are
Claims arising under or evidenced by that certain Indenture dated April 1, 1999 between Tribune
Company, as Issuer, and Bank of Montreal Trust Company, as Trustee (the “PHONES Notes Indenture”)
and related documents, and are identified as follows:
                             Series of Notes                          CUSIP #
                  PHONES Notes Indenture, dated             (CUSIP # 896047305)
                  April 1, 1999

        This Supplemental Beneficial Ballot is only to be used to vote your PHONES Notes Claims. If
you hold other Claims against Tribune Company or the Subsidiary Debtors in the Debtors’ Chapter 11
Cases and those Claims are in Classes entitled to re-vote for purposes of the Third Amended DCL Plan,
you will receive separate Supplemental Ballots to vote such Claims.
     PHONES NOTES CLAIMS VOTING ON THIS SUPPLEMENTAL BENEFICIAL BALLOT
DO NOT INCLUDE CLAIMS THAT ARE WITHIN THE DEFINITION OF PHONES NOTES
EXCHANGE CLAIMS. 2 PLEASE SEE THE ATTACHED VOTING INSTRUCTIONS FOR MORE
DETAILS CONCERNING THE PHONES NOTES EXCHANGE CLAIMS.



2
  Holders of the PHONES Notes Claims that are on account of PHONES Notes purportedly put to Tribune Company
for exchange but not paid in cash prior to the filing of the Debtors’ chapter 11 cases (the “PHONES Notes Exchange
Claims”) will receive separate Resolicitation Packages for voting on and making elections under the Third Amended
DCL Plan, and must return their Supplemental Ballots directly to the Voting Agent. Holders of PHONES Notes


                                                        2
           Case 08-13141-BLS               Doc 10274-3          Filed 11/18/11         Page 60 of 147



     PRIOR TO COMPLETING THIS SUPPLEMENTAL BENEFICIAL BALLOT, PLEASE
REFER TO THE INSTRUCTIONS ENCLOSED IN THIS SUPPLEMENTAL BENEFICIAL
BALLOT FOR FURTHER EXPLANATION ON HOW TO COMPLETE THE ITEMS SET
FORTH BELOW.
        To vote to accept or reject the Third Amended DCL Plan and, if desired, make the elections
called for under the Third Amended DCL Plan, please complete the following:
ITEM 1.      AGGREGATE PRINCIPAL AMOUNT OF PHONES NOTES CLAIM. The undersigned
             certifies that as of December 12, 2011 (the “Supplemental Record Date”), the undersigned
             was the Beneficial Owner of a PHONES Notes Claim in the following aggregate unpaid
             principal amount (for purposes of this Supplemental Beneficial Ballot, you should not adjust
             the principal amount for any accrued or unmatured interest).
                                              $
            Number of PHONES Notes
   The preprinted amount of your PHONES Notes Claim above will control for voting purposes.
ITEM 2.      VOTE TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN. The Beneficial
             Owner of the PHONES Notes Claim set forth above hereby votes with respect to such Claim
             on the Third Amended DCL Plan as follows (check one box only):

                   to ACCEPT the                                     to REJECT the
                    Third Amended DCL Plan                             Third Amended DCL Plan

ITEM 3.      RELEASE ELECTIONS (OPTIONAL). If you return a Supplemental Beneficial Ballot and
             vote to accept the Third Amended DCL Plan, you will be deemed to have granted the releases
             contained in Section 11.2.2 of the Plan unless you elect not to grant such releases by checking
             the applicable box below. 3 If you vote to reject the Third Amended DCL Plan, you may elect
             to grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan by checking
             the applicable box below. If you do not return your Supplemental Beneficial Ballot, you are
             deemed not to grant the releases in Section 11.2.2 of the Third Amended DCL Plan unless
             you advise the Voting Agent in writing that you elect to grant the releases contained in
             Section 11.2.2 of the Third Amended DCL Plan. The election to grant the releases is at your
             option. If you do not grant the releases contained in Section 11.2.2 of the Third
             Amended DCL Plan, you shall not receive the benefit of the releases set forth in Section
             11.2.2 of the Third Amended DCL Plan.

Claims other than PHONES Notes Exchange Claims must return their Supplemental Beneficial Ballots to their
Voting Nominee, as described herein.
3
  Section 11.2.2 of the Third Amended DCL Plan provides that each Person (a) that has voted to accept the Plan and
has not opted out from granting the releases, (b) that has voted to reject the Plan but has opted to grant the releases,
(c) that is deemed to accept the Plan and has been provided an opportunity but has not opted out of granting the
releases, or (d) who otherwise agrees to provide the releases, shall be deemed to have unconditionally released each
and all of the Released Parties of and from any and all claims, obligations, suits, judgments, damages, debts, rights,
remedies, causes of action and liabilities of any nature whatsoever (including, without limitation, the LBO-Related
Causes of Action and those arising under the Bankruptcy Code, including any avoidance claim), whether known or
unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured, existing or hereafter arising, in
law, equity, or otherwise, that are or may be based in whole or in part upon any act, omission, transaction, event or
other occurrence taking place or existing on or before the Effective Date that are in connection with the Debtors or
any of them, or their respective assets, property and Estates, the Chapter 11 Cases or the Plan, Disclosure
Documents or the Restructuring Transactions (as such terms are defined in the Third Amended DCL Plan), except as
otherwise provided in Section 11.2.2 of the Third Amended DCL Plan.


                                                           3
          Case 08-13141-BLS         Doc 10274-3        Filed 11/18/11      Page 61 of 147



                   The undersigned has voted to accept the Third Amended DCL Plan in Item 2
                    above but elects not to grant the releases contained in Section 11.2.2 of the Third
                    Amended DCL Plan.
                   The undersigned has voted to reject the Third Amended DCL Plan in Item 2
                    above but elects to grant the releases contained in Section 11.2.2 of the Third
                    Amended DCL Plan.
  Under separate cover, you have received, or will receive, a separate Supplemental Election Form
  by which you may elect not to transfer any Disclaimed State Law Avoidance Claims (as defined
  in the Third Amended DCL Plan) that you may hold to the Creditors’ Trust established under
  the Third Amended DCL Plan. PLEASE CAREFULLY REVIEW AND FOLLOW
  INSTRUCTIONS RECEIVED WITH THE SUPPLEMENTAL ELECTION FORM.

ITEM 4.    CERTIFICATION. By signing this Supplemental Beneficial Ballot, the Holder of the
           PHONES Notes Claim identified in Item 1 certifies and/or acknowledges that:
              a. it is the Beneficial Owner of the PHONES Notes Claim to which this Supplemental
                 Beneficial Ballot pertains or is an authorized signatory and has full power and
                 authority to vote to accept or reject the Third Amended DCL Plan and make the
                 election called for on this Supplemental Beneficial Ballot;
              b. it has been provided with a copy of the Third Amended DCL Plan, the Supplemental
                 Disclosure Document, and the Resolicitation Order and acknowledges that the vote
                 and election set forth on this Supplemental Beneficial Ballot are subject to all of the
                 terms and conditions set forth in the Third Amended DCL Plan, the Supplemental
                 Disclosure Document, and the Resolicitation Order; and
              c. it has not submitted any other Supplemental Beneficial Ballot(s) on account of the
                 PHONES Notes Claim voted herein that are inconsistent with the votes as set forth in
                 this Supplemental Beneficial Ballot or that, as limited by the terms of the
                 Resolicitation Order and the instructions attached hereto, if such other Supplemental
                 Beneficial Ballot(s) was/were previously submitted, they either have been or are
                 hereby revoked or changed to reflect the votes set forth herein;
              d. it is deemed to have consented to the submission of a Supplemental Master Ballot to
                 the Voting Agent (if applicable); and
              e. either (a) this Supplemental Beneficial Ballot is the only Supplemental Beneficial
                 Ballot submitted by the undersigned for PHONES Notes Claims or (b) in addition to
                 this Supplemental Beneficial Ballot, one or more Supplemental Beneficial Ballots for
                 PHONES Notes Claims have been submitted as follows (please use additional sheets
                 of paper if necessary):
             COMPLETE THIS SECTION ONLY IF YOU HAVE VOTED OTHER
                     SUPPLEMENTAL BENEFICIAL BALLOTS
Account Number of Other      Name of Registered Holder or      Principal Amount of Other PHONES
PHONES Notes Claims, if       Voting Nominee of Other            Notes Claims Voted in Additional
      applicable               PHONES Notes Claims                          Ballot(s)
1.                                                             $
2.                                                             $
3.                                                             $
4                                                              $



                                                  4
           Case 08-13141-BLS           Doc 10274-3         Filed 11/18/11       Page 62 of 147




                  Name:
                           (Print or Type)

                  Signature:

                  By:
                           (If Applicable)

                  Title:
                           (If Applicable)

                  Street Address:

                  ________________________________________________________

                  City, State, Zip Code:

                  Telephone Number:

                  Email: __________________________________________________

                  Date Completed:

         This Supplemental Beneficial Ballot is not, and may not be deemed to be (a) a proof of claim or
equity interest or an assertion of a claim or equity interest, or (b) an admission by the Debtors or the other
Proponents of the Third Amended DCL Plan of the nature, validity, or amount of any Claim, and does not
signify that your claim has been or will be Allowed

THE SUPPLEMENTAL VOTING DEADLINE IS 4:00 P.M. EASTERN TIME ON JANUARY
20, 2012, UNLESS SUCH TIME IS EXTENDED. PLEASE RETURN YOUR SUPPLEMENTAL
BENEFICIAL BALLOT TO YOUR VOTING NOMINEE IN SUFFICIENT TIME FOR YOUR
VOTING NOMINEE TO PROCESS YOUR SUPPLEMENTAL BENEFICIAL BALLOT AND
SUBMIT A SUPPLEMENTAL MASTER BALLOT TO THE VOTING AGENT SO THAT IT IS
ACTUALLY RECEIVED BY THE VOTING AGENT ON OR BEFORE THE SUPPLEMENTAL
VOTING DEADLINE OR YOUR VOTE WILL NOT BE COUNTED AS A VOTE TO ACCEPT
OR REJECT THE THIRD AMENDED DCL PLAN.

PRIOR VOTES AND ELECTIONS MADE ON THE THIRD AMENDED DCL PLAN, OR
OTHER PLANS OF REORGANIZATION FOR THE DEBTORS, BY HOLDERS OF PHONES
NOTES CLAIMS WILL NOT BE RE-COUNTED. THEREFORE, YOU MUST BE SURE THAT
THE SUPPLEMENTAL BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE THE
SUPPLEMENTAL VOTING DEADLINE.

IF YOU HAVE ANY QUESTIONS REGARDING THIS SUPPLEMENTAL BENEFICIAL
BALLOT OR THE PROCEDURES FOR VOTING ON THE THIRD AMENDED DCL PLAN, OR
IF YOU NEED AN ADDITIONAL SUPPLEMENTAL BENEFICIAL BALLOT OR
ADDITIONAL COPIES OF THE SUPPLEMENTAL DISCLOSURE DOCUMENT, THE THIRD
AMENDED DCL PLAN, OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE
VOTING AGENT AT (888) 287-7568 OR AT TRIBUNEVOTE@EPIQSYSTEMS.COM.



                                                      5
              Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 63 of 147



                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


          INSTRUCTIONS FOR COMPLETING SUPPLEMENTAL BENEFICIAL BALLOTS
         FOR BENEFICIAL OWNERS OF PHONES NOTES CLAIMS (CUSIP NO. 896047305)
                   TO ACCEPT OR REJECT THIRD AMENDED DCL PLAN

    THESE INSTRUCTIONS EXPLAIN HOW TO COMPLETE THE SUPPLEMENTAL
 BENEFICIAL BALLOT ENCLOSED IN THE RESOLICITATION PACKAGE FOR VOTING
   TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN. PLEASE READ AND
FOLLOW THESE INSTRUCTIONS CAREFULLY SO THAT YOUR VOTES AND ELECTIONS
       RESPECTING THE THIRD AMENDED DCL PLAN WILL BE COUNTED.

                              Why You Have Received a Supplemental Beneficial Ballot
         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide, among
other things, for procedures for certain Holders of Claims against Tribune Company and/or its
subsidiaries in the above-captioned Chapter 11 Cases (collectively, the “Debtors”) to vote to accept or

1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
           Case 08-13141-BLS             Doc 10274-3         Filed 11/18/11       Page 64 of 147



reject the Third Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries
Proposed By the Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management,
L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”)
and to make certain elections called for under such Plan. Capitalized terms used but not defined in these
Instructions have the meanings ascribed to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
       The Resolicitation Order provides, among other things, that Holders of PHONES Notes Claims
may re-vote on the Third Amended DCL Plan and may make elections thereunder.
         You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors with
respect to your PHONES Notes Claims. Please be aware that your votes on and elections under the
earlier versions of the Third Amended DCL Plan and other plans of reorganization with respect to your
PHONES Notes Claims are not being counted for purposes of the Third Amended DCL Plan.
Accordingly, if you wish to have your vote on and elections under the Third Amended DCL Plan counted,
you must complete and return the Supplemental Beneficial Ballot as provided in these Instructions.
                          Claims Voted by the Supplemental Beneficial Ballots
        You have been identified as a Beneficial Owner of a PHONES Notes Claim against Tribune
Company that is entitled to re-vote to accept or reject the Third Amended DCL Plan and to make certain
elections called for under that Plan. PHONES Notes Claims against Tribune Company are Claims arising
under or evidenced by that certain Indenture dated April 1, 1999 between Tribune Company, as Issuer,
and Bank of Montreal Trust Company, as Trustee (the “PHONES Notes Indenture”) and related
documents, and are identified as follows:
                             Series of Notes                          CUSIP #
                  PHONES Notes Indenture, dated             (CUSIP # 896047305)
                  April 1, 1999
      PHONES NOTES CLAIMS VOTING BY SUPPLEMENTAL BENEFICIAL BALLOT DO
NOT INCLUDE CLAIMS THAT ARE WITHIN THE DEFINITION OF PHONES NOTES
EXCHANGE CLAIMS.2 IF YOU HOLD BOTH PHONES NOTES CLAIMS AND PHONES NOTES
EXCHANGE CLAIMS, YOU WILL RECEIVE A SEPARATE SUPPLEMENTAL BALLOT ON
WHICH TO VOTE YOUR PHONES NOTES EXCHANGE CLAIMS. ADDITIONAL
INSTRUCTIONS REGARDING VOTING PHONES NOTES EXCHANGE CLAIMS WILL BE
PROVIDED IN THE SEPARATE RESOLICITATION PACKAGE FOR SUCH CLAIMS.
             Materials that You Have Been Sent with the Supplemental Beneficial Ballot
        You have been sent with the Supplemental Beneficial Ballot various materials to assist you in
deciding how to vote on the Third Amended DCL Plan (collectively, the “Resolicitation Package”). In
addition to the Supplemental Ballot, the Resolicitation Package contains the following:
                a copy of the Third Amended DCL Plan;
                a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that
                 describes the modifications to the Third Amended DCL Plan that have been made since

2
  Holders of the PHONES Notes Claims that are on account of PHONES Notes purportedly put to Tribune Company
for exchange but not paid in cash prior to the filing of the Debtors’ chapter 11 cases (the “PHONES Notes Exchange
Claims”) will receive separate Resolicitation Packages for voting on and making elections under the Third Amended
DCL Plan, and must return their Supplemental Ballots directly to the Voting Agent. Holders of PHONES Notes
Claims other than PHONES Notes Exchange Claims must return their Supplemental Beneficial Ballots to their
Voting Nominee, as described herein.



                                                        2
           Case 08-13141-BLS              Doc 10274-3         Filed 11/18/11         Page 65 of 147



                  the prior solicitation of votes and elections on such Plan. The Supplemental Disclosure
                  Document has been approved by the Bankruptcy Court as a supplement to the previously-
                  distributed Disclosure Documents3 to provide information to the Holders of Claims
                  against the Debtors for deciding how to vote on the Third Amended DCL Plan;
                 notices respecting the hearing before the Bankruptcy Court to consider confirmation of
                  the Third Amended DCL Plan; and
                 a copy of the Resolicitation Order (without exhibits). The Resolicitation Order contains
                  important information regarding the process of voting on the Third Amended DCL Plan
                  and how votes on the Third Amended DCL Plan will be tabulated.
         Additionally, Holders of PHONES Notes Claims will receive, by separate mailing, a
supplemental election form (the “Supplemental Election Form”) by which such Holders may elect not to
transfer their Disclaimed State Law Avoidance Claims to the Creditors’ Trust as provided for under the
Third Amended DCL Plan. Details concerning the transfer of your Disclaimed State Law Avoidance
Claims to a Creditors’ Trust, and the resulting effect that such transfer will have on your potential
recoveries under the Third Amended DCL Plan, are described in the Plan and Disclosure Documents.
Please see the Supplemental Election Form and its accompanying instructions for further information
regarding this election.
        It is very important that you read all of these materials carefully in deciding how you wish
to vote on the Third Amended DCL Plan and make the elections called for under such Plan. Your
vote on the Third Amended DCL Plan is very important and may affect your rights and the
treatment of your Claim.
        If you would like to receive additional copies of the Third Amended DCL Plan, the Supplemental
Disclosure Document, or any other materials relating to the Third Amended DCL Plan, you may obtain
copies without charge by visiting http://chapter11.epiqsystems.com/tribune or by contacting Epiq
Bankruptcy Solutions LLC (the “Voting Agent”) at (888) 287-7568 or tribunevote@epiqsystems.com.
                         Deadline for Returning Supplemental Beneficial Ballots
        You must complete, sign and date your Supplemental Beneficial Ballot and return it in the
enclosed envelope to your broker, bank, commercial bank, trust company, dealer, or other agent or
nominee (a “Voting Nominee”) in sufficient time for your Voting Nominee to process your Supplemental
Beneficial Ballot and submit a Supplemental Master Ballot to the Voting Agent so that it is actually
received by the Voting Agent no later than 4:00 p.m. (Eastern Time) on January 20, 2012 (the
“Supplemental Voting Deadline”), or your votes will not be counted, and your elections will not be

3
 See General Disclosure Statement dated December 15, 2010 [Docket No. 7232] (the “General Disclosure
Statement”), which contains a general description of (among other things) the Debtors, their respective businesses
and their reorganization proceedings; (ii) the Specific Disclosure Statement Relating to First Amended Joint Plan of
Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official Committee of
Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,
N.A. [Docket No. 7135] (the “Specific Disclosure Statement”), which contains a detailed description of (among
other things) the provisions of the First Amended DCL Plan, including those provisions that are retained in the Third
Amended DCL Plan; and (iii) the Explanatory Statement Relating to Modified Elections Under Second Amended
Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official
Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan
Chase Bank, N.A. (as modified April 26, 2011) [Docket No. 8754] (the “Explanatory Statement”), which contains a
description of (among other things) certain elections offered under the Second Amended DCL Plan (the General
Disclosure Statement, the Specific Disclosure Statement, the Explanatory Statement, and the Supplemental
Disclosure Document, collectively, the “Disclosure Documents”).




                                                         3
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11      Page 66 of 147



valid. Your Voting Nominee will provide specific instructions for returning the Supplemental Beneficial
Ballot to such Voting Nominee. Please do not mail Supplemental Beneficial Ballots directly to the
Voting Agent, the Debtors, or to any of the other Proponents of the Third Amended DCL Plan.
                        How to Complete Your Supplemental Beneficial Ballot

        The following are step-by-step instructions for how to complete your Supplemental Beneficial
Ballot for voting on the Third Amended DCL Plan and making the elections called for thereunder:

ITEM 1:         Amount of Claim.

         If you are Holder of a PHONES Notes Claim (other than a PHONES Notes Exchange Claim),
please certify the amount of your Claim as of December 12, 2011 (the “Supplemental Record Date”). By
certifying the amount in Item 1, you are certifying that the party submitting the Supplemental Beneficial
Ballot is the Beneficial Owner, as of the Supplemental Record Date, of a Claim in the aggregate unpaid
amount set forth in Item 1 of the Supplemental Beneficial Ballot. The preprinted amount of the Claim set
forth in Item 1 of the Supplemental Beneficial Ballot will control for voting purposes. If you do not agree
with the amount preprinted on Item 1 of the Supplemental Beneficial Ballot, please see “Questions
Concerning Your Claim Amount” below.

ITEM 2:         Vote to Accept or Reject the Third Amended DCL Plan.

         Please cast your vote to accept or reject the Third Amended DCL Plan by checking the applicable
box in Item 2. Please note that you must vote the entire amount of your Claim to accept or reject the
Third Amended DCL Plan; in other words, you may not vote part of your Claim to accept and part of
your Claim to reject the Third Amended DCL Plan.

         Please be aware that your vote to accept the Third Amended DCL Plan may also be deemed to be
a release of various claims provided for in the Plan. It is important that you review the Third Amended
DCL Plan carefully in considering how to vote.

         If the Third Amended DCL Plan is confirmed by the Bankruptcy Court and becomes effective, it
will be binding upon you whether or not you vote to accept or reject the Plan or abstain from voting on
the Plan.

         Please be aware that a vote to accept the Third Amended DCL Plan is a vote to grant the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan, unless you elect not to grant such releases by
checking the applicable box on the Supplemental Ballot. If you vote to reject the Third Amended DCL
Plan, you may elect to grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan by
checking the applicable box on your Supplemental Ballot. The Third Amended DCL Plan provides that
each Person (a) that has voted to accept the Plan and has not opted out from granting the releases, (b) that
has voted to reject the Plan but has opted to grant the releases, (c) that is deemed to accept the Plan and
has been provided an opportunity but has not opted out of granting the releases, or (d) who otherwise
agrees to provide the releases, shall be deemed to have unconditionally released each and all of the
Released Parties of and from any and all claims, obligations, suits, judgments, damages, debts, rights,
remedies, causes of action and liabilities of any nature whatsoever (including, without limitation, the
LBO-Related Causes of Action and those arising under the Bankruptcy Code, including any avoidance
claim), whether known or unknown, foreseen or unforeseen, liquidated or unliquidated, matured or
unmatured, existing or hereafter arising, in law, equity, or otherwise, that are or may be based in whole or
in part upon any act, omission, transaction, event or other occurrence taking place or existing on or before
the Effective Date that are in connection with the Debtors or any of them, or their respective assets,
property and Estates, the Chapter 11 Cases or the Plan, Disclosure Documents or the Restructuring


                                                     4
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 67 of 147



Transactions (as such terms are defined in the Third Amended DCL Plan), except as otherwise provided
in Section 11.2.2 of the Third Amended DCL Plan.

ITEM 3:         Release Elections (Optional).

        If you vote to accept the Third Amended DCL Plan, you are deemed to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt out of granting those
releases. If you vote to reject the Third Amended DCL Plan, you are deemed not to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt in to granting those releases.
If you do not return a Supplemental Ballot, you are deemed not to grant the releases in Section 11.2.2 of
the Third Amended DCL Plan unless you advise the Voting Agent in writing that you elect to grant the
releases contained in Section 11.2.2 of the Third Amended DCL Plan.
        If you voted to accept the Third Amended DCL Plan but wish to opt out of granting the releases
in Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3. Similarly, if you vote to reject the Third Amended DCL Plan but wish to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3.
         If you either (i) vote to accept the Third Amended DCL Plan and do not check the box in Item 3
opting not to grant the Section 11.2.2 releases, or (ii) vote to reject the Third Amended DCL Plan and
check the box in Item 3 opting to grant the Section 11.2.2 releases, you will have consented to the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan to the fullest extent permitted by applicable
law. If you do not grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan,
you will not receive the benefit of the releases set forth in the Third Amended DCL Plan.

ITEM 4:         Certifications.

        Please review and complete the certifications in Item 4. Your original signature is required on the
Supplemental Beneficial Ballot for your votes on the Third Amended DCL Plan and your elections under
the Third Amended DCL Plan to count. In addition, in Item 4, if you are completing the Supplemental
Beneficial Ballot on behalf of an entity, indicate your relationship with such entity and the capacity in
which you are signing. You may be requested at a later time to provide proof of your authorization to so
sign. In addition, please provide your name and mailing address if different from that set forth on the
mailing label, or if no mailing label is attached to the Supplemental Beneficial Ballot.

         The certifications in Item 4 also require you to certify that the Supplemental Beneficial Ballot
being submitted is either the only Supplemental Beneficial Ballot you have submitted for PHONES Notes
Claims or, if not, that all other Supplemental Beneficial Ballots submitted by you for such Claims are as
identified in Item 4(e). You may attach additional sheets of paper if necessary to complete Item 4(e).

                            Returning Your Supplemental Beneficial Ballot

         Once you have completed your Supplemental Beneficial Ballot in accordance with the foregoing
instructions, please return the completed Supplemental Beneficial Ballot to the Voting Nominee for
inclusion on a Supplemental Master Ballot to be prepared and submitted by such Voting Nominee to the
Voting Agent. Please allow sufficient time for mailing your Supplemental Beneficial Ballot to your
Voting Nominee so that the Voting Nominee may include your votes and elections on a Supplemental
Master Ballot and provide it to the Voting Agent before the Supplemental Voting Deadline.

        No Electronic Transmissions. Supplemental Ballots submitted by facsimile or other electronic
transmission will not be counted. In addition, please note that if your Supplemental Ballot is illegible or



                                                     5
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 68 of 147



contains insufficient information to permit the identification of the Holder of the Claim, your
Supplemental Ballot will not be counted. Do not mail your Supplemental Ballots directly to the Debtors
or to any of the Proponents of the Third Amended DCL Plan.
         No Withdrawal. After the Supplemental Voting Deadline, unless you obtain the prior consent of
the Proponents of the Third Amended DCL Plan or Bankruptcy Court approval, you may not (i)
withdraw or modify your Supplemental Beneficial Ballot in any way, (ii) change your vote to accept or
reject the Third Amended DCL Plan, (iii) change your release elections, (iv) change your treatment
elections (if applicable), or (v) change your election to transfer your Disclaimed State Law Avoidance
Claims to the Creditors’ Trust, which can be made on the separate Supplemental Creditors’ Trust Election
Form.

                              Questions Concerning Your Claim Amount

        If you disagree with the amount of your Claim set forth in Item 1 of the Supplemental Ballot, you
may ask the Bankruptcy Court to allow your Claim solely for voting purposes in a different amount. To
have your claim allowed solely for voting purposes under the Third Amended DCL Plan in a different
amount, you must serve on the Proponents of the Third Amended DCL Plan (at the addresses listed on
[page 1] of the Third Amended DCL Plan) and file with the Bankruptcy Court, on or before January [•],
2012, a motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for
purposes of voting (a “3018 Motion”).
         A 3018 Motion must set forth with particularity the amount and classification in which you
believe your Claim should be allowed for voting purposes only, and the evidence in support of your
belief. If you file a 3018 Motion by the deadline above, your Supplemental Ballot will be counted (a) in
the amount established by the Bankruptcy Court in an order entered on or before the Supplemental Voting
Deadline, or (b) if such an order has not been entered by the Supplemental Voting Deadline and unless
the Proponents of the Third Amended DCL Plan have come to an agreement with you as to the relief
requested in the 3018 Motion, in an amount equal to the preprinted amount on the ballot or otherwise in
accordance with the tabulation rules set forth in the Resolicitation Order. January [•], 2012, at [•]:00
[•]a.m. (Eastern Time) has been established as the date and time for a hearing to consider any and all
3018 Motions.
         Additional Questions. If you have questions concerning the Supplemental Beneficial Ballot or
the procedures for voting to accept or reject the Third Amended DCL Plan, or if you need an additional
Supplemental Beneficial Ballot or additional copies of other materials in the Resolicitation Package,
please contact the Voting Agent at (888) 287-7568 or at tribunevote@epiqsystems.com. The materials in
the Resolicitation Package may also be obtained free of charge by visiting
http://chapter11.epiqsystems.com/tribune.
        The Supplemental Beneficial Ballot is Not a Proof of Claim or Interest. The Supplemental
Beneficial Ballot is not, and may not be deemed to be (a) a proof of claim or equity interest or an
assertion of a claim or equity interest, or (b) an admission by the Debtors or the other Proponents of the
Third Amended DCL Plan of the nature, validity, or amount of any Claim, and does not signify that your
claim has been or will be Allowed.
        Additional Information. No fees, commissions, or other remuneration will be payable to any
broker, dealer, or other person for soliciting votes on the Third Amended DCL Plan. The Supplemental
Beneficial Ballot is not a letter of transmittal and may not be used for any purpose other than to cast votes
to accept or reject the Third Amended DCL Plan and make the elections called for on the Supplemental
Beneficial Ballot. Holders should not surrender any debt instruments together with their Supplemental
Beneficial Ballot. The Voting Agent will not accept delivery of any such instruments surrendered
together with a Supplemental Master Ballot or Supplemental Beneficial Ballot.



                                                      6
              Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 69 of 147



                                  PHONES Notes Claims – Third Amended DCL Plan
                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


                   SUPPLEMENTAL MASTER BALLOT FOR VOTING NOMINEES OF
                    HOLDERS OF PHONES NOTES CLAIMS (CUSIP NO. 896047305)
                       TO ACCEPT OR REJECT THIRD AMENDED DCL PLAN

                   PLEASE READ AND FOLLOW THE INSTRUCTIONS CAREFULLY.

       PLEASE COMPLETE, SIGN AND DATE THIS SUPPLEMENTAL MASTER BALLOT
AND RETURN IT TO EPIQ BANKRUPTCY SOLUTIONS, LLC (THE “VOTING AGENT”) AT
THE FOLLOWING ADDRESS: TRIBUNE COMPANY BALLOT PROCESSING CENTER, C/O
EPIQ BANKRUPTCY SOLUTIONS, LLC, 757 THIRD AVENUE, THIRD FLOOR, NEW YORK,
NY 10017, SO THAT IT IS ACTUALLY RECEIVED BY THE VOTING AGENT BY JANUARY
20, 2012 AT 4:00 P.M. EASTERN TIME (THE “SUPPLEMENTAL VOTING DEADLINE”).



1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.

                                                                        1
          Case 08-13141-BLS          Doc 10274-3        Filed 11/18/11      Page 70 of 147



      IF THIS SUPPLEMENTAL MASTER BALLOT IS NOT ACTUALLY RECEIVED BY
THE VOTING AGENT BY THE SUPPLEMENTAL VOTING DEADLINE, THE VOTES AND
ELECTIONS OF YOUR CUSTOMERS WILL NOT BE COUNTED. PRIOR VOTES AND
ELECTIONS MADE ON THE THIRD AMENDED DCL PLAN BY HOLDERS OF PHONES
NOTES CLAIMS WILL NOT BE RE-COUNTED. THEREFORE, YOU MUST ALLOW
SUFFICIENT TIME TO BE SURE THAT THE SUPPLEMENTAL MASTER BALLOT IS
RECEIVED BY THE VOTING AGENT BEFORE THE SUPPLEMENTAL VOTING
DEADLINE.

         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide for, among
other things, procedures for Holders of PHONES Notes Claims to vote to accept or reject the Third
Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries Proposed By the
Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo,
Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”) and to make
certain elections called for under such Plan.
        You have previously received master ballots on behalf of beneficial owners of PHONES Notes
issued by Tribune Company (“Beneficial Owners”) for tabulating votes on and elections under earlier
versions of the Third Amended DCL Plan and other plans of reorganization that were proposed for the
Debtors. Please be aware that votes on and elections under the earlier versions of the Third Amended
DCL Plan and other plans of reorganization with respect to the PHONES Notes Claims are not being
counted for purposes of the Third Amended DCL Plan. Accordingly, for the votes on and elections under
the Third Amended DCL Plan of your Beneficial Owners to be counted, you must complete and return
this Supplemental Master Ballot so that it is actually received by the Voting Agent by the Supplemental
Voting Deadline, in accordance with the attached Instructions.
        This Supplemental Master Ballot is to be used by you, as a broker, bank, commercial bank, trust
company, dealer, or other agent or nominee (each of the foregoing, a “Voting Nominee”) to tabulate and
transmit the votes and elections of Beneficial Owners in respect of their PHONES Notes Claims.
         The proponents of the Third Amended DCL Plan have provided to you, by separate mailing,
voting materials for each of the Beneficial Owners for whom you act as Voting Nominee, consisting of
Supplemental Beneficial Ballots and Supplemental Election Forms, copies of the Third Amended DCL
Plan, a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that describes the
modifications to the Third Amended DCL Plan that have been made since the prior solicitation of votes
on and elections under on such Plan, notices respecting the hearing before the Bankruptcy Court to
consider confirmation of the Third Amended DCL Plan, and copies of the Resolicitation Order (without
exhibits) (collectively, the “Resolicitation Packages”). Capitalized terms used but not defined in this
Supplemental Master Ballot have the meanings given to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
         PHONES Notes Claims against Tribune Company are Claims arising under or evidenced by that
certain Indenture dated April 1, 1999 between Tribune Company, as Issuer, and Bank of Montreal Trust
Company, as Trustee (the “PHONES Notes Indenture”) and related documents, and are identified as
follows:

                           Series of Notes                       CUSIP #
                PHONES Notes Indenture, dated          (CUSIP # 896047305)
                April 1, 1999

       Votes to accept or reject the Third Amended DCL Plan from the Beneficial Owners of PHONES
Notes Claims, and accompanying elections, will be returned to you on Supplemental Beneficial Ballots.


                                                   2
           Case 08-13141-BLS             Doc 10274-3         Filed 11/18/11       Page 71 of 147



For each completed, executed Supplemental Beneficial Ballot returned to you by a Beneficial Owner, you
must retain a copy of such Supplemental Beneficial Ballot in your files for at least five (5) years from the
Supplemental Voting Deadline.
     PHONES NOTES CLAIMS VOTING ON THIS SUPPLEMENTAL BENEFICIAL BALLOT
DO NOT INCLUDE CLAIMS THAT ARE WITHIN THE DEFINITION OF PHONES NOTES
EXCHANGE CLAIMS.2 PLEASE SEE THE ATTACHED VOTING INSTRUCTIONS FOR MORE
DETAILS CONCERNING THE PHONES NOTES EXCHANGE CLAIMS.
     PRIOR TO COMPLETING THIS SUPPLEMENTAL MASTER BALLOT, PLEASE
REFER TO THE INSTRUCTIONS ATTACHED TO THIS SUPPLEMENTAL MASTER
BALLOT FOR FURTHER EXPLANATION ON HOW TO COMPLETE THE ITEMS SET
FORTH BELOW.
ITEM 1.      CERTIFICATION OF AUTHORITY TO VOTE. The undersigned certifies that as of
             December 12, 2011, (the “Supplemental Record Date”), it (please check applicable box):

              is the broker, bank, or other agent or nominee that is the registered holder for the
               Beneficial Owners of the aggregate principal amount of PHONES Notes listed in Items 2
               and 3 below; or

              is acting under a power of attorney and/or agency (a copy of which will be provided upon
               request) granted by the broker, bank, or other agent or nominee that is the registered
               holder of the aggregate principal amount of PHONES Notes listed in Items 2 and 3
               below; or

              has been granted a proxy (an original of which is attached hereto) from a broker, bank, or
               other nominee, or a Beneficial Owner, that is the registered holder of the aggregate
               principal amount of PHONES Notes listed in Items 2 and 3 and, accordingly, has full
               power and authority to (1) vote to accept or reject the Third Amended DCL Plan and (2)
               make the elections called for under the Third Amended DCL Plan, each on behalf of the
               Beneficial Owners of the PHONES Notes described in Items 2 and 3 below.




2
  Holders of the PHONES Notes Claims that are on account of PHONES Notes purportedly put to Tribune Company
for exchange but not paid in cash prior to the filing of the Debtors’ chapter 11 cases (the “PHONES Notes Exchange
Claims”) will receive separate Resolicitation Packages for voting on and making elections under the Third Amended
DCL Plan, and must return their Supplemental Ballots directly to the Voting Agent. Holders of PHONES Notes
Claims other than PHONES Notes Exchange Claims must return their Supplemental Beneficial Ballots to their
Voting Nominee, as described herein.



                                                        3
           Case 08-13141-BLS            Doc 10274-3             Filed 11/18/11       Page 72 of 147




ITEM 2.      TABULATION OF BENEFICIAL OWNER VOTING. The undersigned certifies that:

         ITEM 2A. Acceptances/Rejections. The Beneficial Owners of PHONES Notes in the following
                  aggregate unpaid principal amounts have delivered duly completed Supplemental
                  Beneficial Ballots to the undersigned (or such information was derived from
                  Supplemental Beneficial Ballots that have been summarized in intermediary
                  Supplemental Master Ballots delivered to the undersigned) voting to Accept or Reject
                  the Third Amended DCL Plan:

Total Number of Holders      Total Aggregate Unpaid           Total Number of Holders      Total Aggregate Unpaid
   of PHONES Notes            Principal Amount of                of PHONES Notes            Principal Amount of
Claims Voting to Accept      Holders Voting to Accept         Claims Voting to Reject      Holders Voting to Reject

                                     $_______                                                      $_______


         ITEM 2B. Release Elections. The undersigned certifies that the Beneficial Owners of PHONES
                  Notes Claims in the following aggregate unpaid principal amounts have made the
                  release elections below under the Third Amended DCL Plan:

Total Number of Holders       Total Aggregate Unpaid          Total Number of Holders       Total Aggregate Unpaid
   Voting to Reject the         Principal Amount of              Voting to Accept the         Principal Amount of
  Third Amended DCL          Holders Voting to Reject           Third Amended DCL          Holders Voting to Accept
   Plan who Elected to       the Third Amended DCL             Plan who Elected Not to     the Third Amended DCL
Grant Releases contained        Plan who Elected to           Grant Releases contained      Plan who Elected Not to
in Section 11.2.2 of Third   Grant Releases contained         in Section 11.2.2 of Third   Grant Releases contained
   Amended DCL Plan          in Section 11.2.2 of Third          Amended DCL Plan          in Section 11.2.2 of Third
                                Amended DCL Plan                                              Amended DCL Plan

                                     $_______                                                      $_______




                                                          4
                                     Case 08-13141-BLS         Doc 10274-3        Filed 11/18/11      Page 73 of 147


   ITEM 3.     TRANSMITTAL OF VOTES FROM SUPPLEMENTAL BENEFICIAL BALLOTS. The undersigned transmits the following votes of
               Beneficial Owners of PHONES Notes and certifies that the following are Beneficial Owners, as of the Supplemental Record Date, and have
               delivered to the undersigned, as Voting Nominee, Supplemental Beneficial Ballots casting such votes (indicate in each column the aggregate
               principal amount voted for each account).

           Your Customer         Principal Amount of    Voted to ACCEPT      Voted to REJECT        Check if Beneficial       Check if Beneficial
          Name or Account          PHONES Notes             the Third            the Third        Owner voted to Reject    Owner voted to Accept
          Number for Each               Voting           Amended DCL          Amended DCL          the Third Amended         the Third Amended
          Beneficial Owner                                     Plan                Plan           DCL Plan and Elected      DCL Plan and Elected
         Voting on the Third                                                                         to grant releases     not to grant the releases
         Amended DCL Plan                                                                          contained in Section      contained in Section
                                                                                                      11.2.2 of Third           11.2.2 of Third
                                                                                                   Amended DCL Plan          Amended DCL Plan


         1.                      $                                                                                                

         2.                      $                                                                                                

         3.                      $                                                                                                

         4.                      $                                                                                                

         5.                      $                                                                                                

         6.                      $                                                                                                

         7.                      $                                                                                                

         8.                      $                                                                                                

         9.                      $                                                                                                

         10.                     $                                                                                                

USE ADDITIONAL SHEETS IF NECESSARY.




                                                                             5
          Case 08-13141-BLS          Doc 10274-3        Filed 11/18/11       Page 74 of 147



ITEM 4.    ADDITIONAL INFORMATION SUBMITTED BY BENEFICIAL OWNERS. The
           undersigned certifies that the following information is a true and accurate schedule on which
           the undersigned has transcribed the information, if any, provided in Item 4(e) of each
           Supplemental Beneficial Ballot received from a Beneficial Owner of the PHONES Notes.
   Information transcribed from Item 4 of the Supplemental Beneficial Ballots regarding other
           Supplemental Beneficial Ballots cast in respect of PHONES Notes Claims
   Your Customer      Account Number           Name of          Principal Amount      Number of Other
  Name or Account        of Other             Registered             of Other           PHONES
  Number for Each     PHONES Notes          Holder or Voting     PHONES Notes         NOTES Voted in
  Beneficial Owner                            Nominee of         Claims Voted in        Additional
   who completed                            Other PHONES            Additional         Supplemental
   Item 4(e) of the                          Notes Claims         Supplemental          Beneficial
     Supplemental                               Voted               Beneficial           Ballot(s)
  Beneficial Ballot                                                  Ballot(s)
  1.                                                            $
  2.                                                            $
  3.                                                            $
  4.                                                            $
  5.                                                            $

USE ADDITIONAL SHEETS IF NECESSARY.

ITEM 5.    CERTIFICATION. By signing this Supplemental Master Ballot, the undersigned certifies
           that: (a) each Beneficial Owner of PHONES Notes whose votes and elections are being
           transmitted by this Supplemental Master Ballot has been provided with a copy of the Third
           Amended DCL Plan, the Supplemental Disclosure Document, the Resolicitation Order, and a
           Supplemental Beneficial Ballot for voting its Claim on the Third Amended DCL Plan; (b) it
           is the registered holder of the PHONES Notes to which this Supplemental Master Ballot
           pertains and/or has full power and authority to vote to accept or reject the Third Amended
           DCL Plan and make the elections called for thereunder; (c) it received a properly completed
           and signed Supplemental Beneficial Ballot from each Beneficial Owner listed in Item 3
           above; and (d) it accurately transcribed all applicable information from the Supplemental
           Beneficial Ballots received from each Beneficial Owner.

           The undersigned also acknowledges that the resolicitation of this vote to accept or reject the
           Third Amended DCL Plan is subject to all the terms and conditions set forth in the
           Resolicitation Order, dated December [•], 2011.

                                                    _______________________________________
                                                              Name of Voting Nominee

                                                    ________________________________________
                                                                Participant Number

                                                    ________________________________________
                                                                    Signature



                                                    6
Case 08-13141-BLS   Doc 10274-3   Filed 11/18/11   Page 75 of 147



                              ________________________________________
                                  If by Authorized Agent, Name and Title

                              ________________________________________
                                            Street Address

                              ________________________________________
                                        City, State and Zip Code

                              ________________________________________
                                          Telephone Number

                              ________________________________________
                                                Email
                              ________________________________________
                                           Date Completed




                             7
          Case 08-13141-BLS             Doc 10274-3        Filed 11/18/11      Page 76 of 147



      INSTRUCTIONS FOR COMPLETING THE SUPPLEMENTAL MASTER BALLOT
             TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN

THESE INSTRUCTIONS EXPLAIN HOW TO COMPLETE THE SUPPLEMENTAL MASTER
BALLOT FOR VOTING NOMINEES OF HOLDERS OF PHONES NOTES CLAIMS (CUSIP
NO. 896047305) TO VOTE TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN.
PLEASE READ AND FOLLOW THESE INSTRUCTIONS CAREFULLY SO THAT YOUR
CUSTOMERS’ VOTES AND ELECTIONS RESPECTING THE THIRD AMENDED DCL PLAN
WILL BE COUNTED.
                                       Supplemental Voting Deadline

        The Supplemental Voting Deadline is January 20, 2012 at 4:00 p.m. (Eastern Time). To have
the votes and elections of your customers count, you must complete, sign, and return the Supplemental
Master Ballot so that it is received by the Voting Agent at the address set forth in the Supplemental
Master Ballot on or before the Supplemental Voting Deadline. Capitalized terms used in the
Supplemental Master Ballot or these Instructions but not otherwise defined therein or herein have the
meanings ascribed to such terms in (i) the Third Amended DCL Plan, (ii) the Supplemental Disclosure
Document, or (iii) the Resolicitation Order, as applicable.

                    Transmittal of Supplemental Beneficial Ballots to Beneficial Owners

          If you are acting as a broker, bank, commercial bank, trust company, dealer, or other agent or
nominee (each of the foregoing, a “Voting Nominee”) for Beneficial Owners of PHONES Notes Claims
issued by Tribune Company, you must (i) deliver a Supplemental Beneficial Ballot to such Beneficial
Owner(s), along with the Supplemental Disclosure Document, the Third Amended DCL Plan, the
Resolicitation Order, the Confirmation Hearing Notice, and other materials required to be forwarded; and
(ii) take the necessary actions to enable such Beneficial Owners to (a) complete and execute such
Supplemental Beneficial Ballot and (b) return the completed, executed Supplemental Beneficial Ballot to
you in sufficient time to enable you to complete the Supplemental Master Ballot and deliver it to the
Voting Agent before the Supplemental Voting Deadline.
        You or the Beneficial Owners for whom you are the Voting Nominee may wish to seek legal
advice concerning the Third Amended DCL Plan and the classification and treatment of the PHONES
Notes Claims under such Plan.

                             How to Complete the Supplemental Master Ballot

       With respect to all of the Supplemental Beneficial Ballots returned to you, you must properly
complete the Supplemental Master Ballot, as follows:

               i.      Check the applicable box in Item 1 on the Supplemental Master Ballot;

              ii.      Indicate the total votes to accept or reject the Third Amended DCL Plan in Item 2;

             iii.      Transcribe the votes from the Supplemental Beneficial Ballots in Item 2 and indicate
                       the following in Item 3:
                       a. whether each Beneficial Owner voted to accept or reject the Third Amended
                          DCL Plan;




                                                      1
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 77 of 147



                    b. in the case of any Beneficial Owners that voted to reject the Third Amended
                       DCL Plan, whether each such Beneficial Owner elected to grant the releases
                       contained in Section 11.2.2 of the Third Amended DCL Plan; and
                    c. in the case of any Beneficial Owners that voted to accept the Third Amended
                       DCL Plan, whether each such Beneficial Owner elected not to grant the releases
                       contained in Section 11.2.2 of the Third Amended DCL Plan.

        IMPORTANT: BENEFICIAL OWNERS MAY NOT SPLIT THEIR VOTES. PROPERLY
        EXECUTED SUPPLEMENTAL BENEFICIAL BALLOTS THAT ATTEMPT PARTIALLY
        TO ACCEPT AND PARTIALLY TO REJECT THE THIRD AMENDED DCL PLAN WILL
        NOT BE COUNTED AS A VOTE TO ACCEPT OR REJECT THE PLAN. EACH
        BENEFICIAL OWNER MUST VOTE ALL OF HIS, HER, OR ITS PHONES NOTES CLAIMS
        EITHER TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN (OR ABSTAIN
        FROM VOTING THEREON). IF ANY BENEFICIAL OWNER HAS ATTEMPTED TO SPLIT
        SUCH VOTE, PLEASE CONTACT EACH BENEFICIAL OWNER TO CORRECT ITS
        BALLOT OR THE VOTING AGENT IMMEDIATELY.

             iv.    Transcribe from Item 4(e) of each Supplemental Beneficial Ballot the information
                    provided by the Beneficial Owners into Item 4 of the Supplemental Master Ballot;

              v.    Review the certification in Item 5 of the Supplemental Master Ballot;

             vi.    Ensure that each Supplemental Beneficial Ballot is signed and each certification is
                    complete;

             vii.   Independently verify and confirm the accuracy of the information provided with
                    respect to each Beneficial Owner of PHONES Notes;

            viii.   If additional space is required to respond to any item on the Supplemental Master
                    Ballot, please use additional sheets of paper clearly marked to indicate the applicable
                    Item of the Supplemental Master Ballot to which you are responding; and

             ix.    Sign, date, and return the original Supplemental Master Ballot.

          You must deliver the completed, executed Supplemental Master Ballot so that it is actually
received by the Voting Agent on or before the Supplemental Voting Deadline. You must retain a copy of
each completed, executed Supplemental Beneficial Ballot returned to you by a Beneficial Owner in your
files for at least five (5) years from the Supplemental Voting Deadline.
        Votes cast by Beneficial Owners through a Voting Nominee will be compared to the holdings of
the PHONES Notes of such Beneficial Owners as of the Supplemental Record Date, as evidenced by the
record and depository listings. Votes submitted by a Voting Nominee pursuant to a Supplemental Master
Ballot will not be counted in excess of the record amount of the PHONES Notes held by such Voting
Nominee.
         For the purpose of tabulating votes, each Beneficial Owner shall be deemed to have voted the
principal amount of its PHONES Notes. To the extent that conflicting votes or “overvotes” are submitted
by a Voting Nominee, the Voting Agent, in good faith, will attempt to reconcile discrepancies with the
Voting Nominees. To the extent that overvotes on a Supplemental Master Ballot are not reconcilable
prior to the preparation of the vote certification, the Voting Agent will apply the votes to accept and to
reject the Third Amended DCL Plan in the same proportion as the votes to accept and reject the Third
Amended DCL Plan submitted on the Supplemental Master Ballot that contained the overvote, but only to


                                                    2
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 78 of 147



the extent of the Voting Nominee’s position in the PHONES Notes. After the Supplemental Voting
Deadline, no vote on the Third Amended DCL Plan may be withdrawn without the prior consent of the
proponents of the Third Amended DCL Plan.

PLEASE NOTE:

        This Supplemental Master Ballot is not a letter of transmittal and may not be used for any
purpose other than to cast votes to accept or reject the Third Amended DCL Plan and to make certain
elections called for under such Plan. Holders of PHONES Notes Claims should not surrender their
PHONES Notes with the Supplemental Beneficial Ballots. The Voting Agent will not accept delivery of
any such instruments surrendered together with a Supplemental Master Ballot.
        The Supplemental Master Ballot and Supplemental Beneficial Ballots are not, and may not be
deemed to be (a) a proof of claim or equity interest or an assertion of a claim or equity interest, or (b) an
admission by the Debtors or the other Proponents of the Third Amended DCL Plan of the nature, validity,
or amount of any Claim, and does not signify that any claim has been or will be Allowed.
         No fees or commissions or other remuneration will be payable to any Voting Nominee. Upon
written request with supporting documentation, however, the Debtors will reimburse you for reasonable,
actual, and necessary out-of-pocket expenses associated with the distribution of the Resolicitation
Packages to your Beneficial Owners, the tabulation of the Supplemental Beneficial Ballots, and the
completion of this Supplemental Master Ballot.
IF YOU BELIEVE THAT YOU ARE MISSING ANY MATERIALS FROM THE
RESOLICITATION PACKAGE OR THAT YOU HAVE RECEIVED THE WRONG BALLOT,
OR IF YOU HAVE QUESTIONS REGARDING THIS SUPPLEMENTAL MASTER BALLOT,
OR THE VOTING PROCEDURES, OR IF YOU NEED ADDITIONAL COPIES OF THE
SUPPLEMENTAL MASTER BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE
CONTACT THE VOTING AGENT AT (888) 287-7568 OR AT
TRIBUNEVOTE@EPIQSYSTEMS.COM.

PLEASE COMPLETE, SIGN, AND DATE THIS SUPPLEMENTAL MASTER BALLOT AND
RETURN IT TO THE VOTING AGENT AT THE FOLLOWING ADDRESS: TRIBUNE
COMPANY BALLOT PROCESSING CENTER, C/O EPIQ BANKRUPTCY SOLUTIONS, LLC,
757 THIRD AVENUE, THIRD FLOOR, NEW YORK, NY 10017.

BALLOTS RECEIVED BY FACSIMILE OR OTHER ELECTRONIC MEANS OR RECEIVED
AFTER THE SUPPLEMENTAL VOTING DEADLINE WILL NOT BE COUNTED.




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              Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 79 of 147



                                  PHONES Notes Claims – Third Amended DCL Plan

                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


       SUPPLEMENTAL ELECTION FORM FOR HOLDERS OF PHONES NOTES CLAIMS
     AGAINST TRIBUNE COMPANY (CUSIP NO. 896047305) TO ELECT NOT TO TRANSFER
    DISCLAIMED STATE LAW AVOIDANCE CLAIMS TO CREDITORS’ TRUST UNDER THE
                          THIRD AMENDED DCL PLAN

         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide for, among
other things, procedures for Holders of PHONES Notes Claims to vote to accept or reject the Third
Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries Proposed By the
Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo,
Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”) and to make
certain elections called for under such Plan.



1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.



                                                                        1
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 80 of 147



        This election form (a “Supplemental Election Form”) has been sent to you, as a Holder of a
PHONES Notes Claim against Tribune Company, to allow you to elect not to transfer your Disclaimed
State Law Avoidance Claims to the Creditors’ Trust to be established pursuant to Section 14.3.1 of the
Third Amended DCL Plan.
        You have previously received election forms for making elections under earlier versions of the
Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors. Please
be aware that your elections under the earlier versions of the Third Amended DCL Plan and other plans of
reorganization with respect to your PHONES Notes Claims are not being counted for purposes of the
Third Amended DCL Plan. Accordingly, if you wish to have your elections under the Third Amended
DCL Plan counted, you must complete and return this Supplemental Election Form and return it to your
Voting Nominee (defined below) in sufficient time for your Voting Nominee to process your
Supplemental Election Form and electronically tender your PHONES Notes into the ATOP System
(defined below) so that your election is actually received by the Voting Agent by no later than January
20, 2012 at 4:00 p.m. (Eastern Time) (the “Supplemental Voting Deadline”).
         You have received with this Supplemental Election Form a copy of the Third Amended DCL
Plan, a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that describes the
modifications to the Third Amended DCL Plan that have been made since the prior solicitation of votes
and elections under such Plan, a notice respecting the hearing before the Bankruptcy Court to consider
confirmation of the Third Amended DCL Plan, and a copy of the Resolicitation Order (without exhibits)
(collectively, and together with the Supplemental Beneficial Ballots transmitted to you by separate
mailing, the “Resolicitation Package”). Capitalized terms used but not defined in this Supplemental
Election Form have the meanings given to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering whether you wish to make the elections called for under the Third Amended DCL
Plan. Your elections under the Third Amended DCL Plan are very important and may affect your
rights and the treatment of your Claim.
         This Supplemental Election Form is the exclusive means by which you may elect not to transfer
your Disclaimed State Law Avoidance Claims to the Creditors’ Trust to be established under the Third
Amended DCL Plan. If you wish to make the elections provided in this Supplemental Election Form, you
must complete this Supplemental Election Form and return it to your broker, bank, commercial bank,
trust company, dealer or other agent or nominee (a “Voting Nominee”) in sufficient time for your Voting
Nominee to summarize your election on a Supplemental Election Tabulation Form and return that
Supplemental Election Tabulation Form so that it is received by the Voting Agent by the Supplemental
Voting Deadline. Supplemental Election Tabulation Forms received by the Voting Agent after that date
will be disregarded.
       If you do not submit this Supplemental Election Form, you will be deemed to transfer any
Disclaimed State Law Avoidance Claims you may hold to the Creditors’ Trust established under
the Third Amended DCL Plan when the Creditors’ Trust is established.
         If you elect not to transfer your Disclaimed State Law Avoidance Claims using this Supplemental
Election Form, you will be “opting out” of contributing all Disclaimed State Law Avoidance Claims you
now hold or may hold in the future, and you will not be entitled to (i) receive Creditors’ Trust Interests or
(ii) share in the proceeds of any recoveries ultimately obtained by the Creditors’ Trust. If you do not opt
out of the transfer of your Disclaimed State Law Avoidance Claims to the Creditors’ Trust, you will be
deemed to consent to the transfer of your Disclaimed State Law Avoidance Claims to the Creditors’ Trust
under the Third Amended DCL Plan in exchange for Creditors’ Trust Interests. The Creditors’ Trust
Interests may entitle you to share in the proceeds of any recoveries ultimately obtained by the Creditors’
Trust. The Creditors’ Trust will be established under the Third Amended DCL Plan on the Effective Date


                                                      2
          Case 08-13141-BLS          Doc 10274-3       Filed 11/18/11      Page 81 of 147



of such Plan. For additional information regarding the Creditors’ Trust under the Third Amended DCL
Plan, please see Section 14.3.1 of the Third Amended DCL Plan.
         An election by a Holder of a PHONES Notes Claim not to transfer its Disclaimed State Law
Avoidance Claims to the Creditors’ Trust established under the Third Amended DCL Plan will be valid
only if such Holder has electronically delivered its PHONES Notes, as of the Supplemental Voting
Deadline, into the Automated Tender Offer Program at The Depository Trust Company (the “ATOP
System”). Only the Voting Nominee of a Holder of a PHONES Notes Claim can submit this election on
such Holder’s behalf.
         Holders of PHONES Notes Claims that elect not to transfer their Disclaimed State Law
Avoidance Claims to the Creditors’ Trust established under the Third Amended DCL Plan pursuant to
this Supplemental Election Form and electronically deliver their PHONES Notes into the ATOP System
can withdraw their PHONES Notes from the ATOP System up to and until the Supplemental Voting
Deadline. However, following the Supplemental Voting Deadline, such PHONES Notes will not be
freely tradable.
         If a Holder of a PHONES Notes Claim elects not to transfer its Disclaimed State Law Avoidance
Claims to the Creditors’ Trust under the Third Amended DCL Plan but fails to comply with the
procedures for making such election set forth above, such Holder will be deemed to consent to the
transfer of its Disclaimed State Law Avoidance Claims pursuant to the Third Amended DCL Plan.

         PRIOR TO COMPLETING THIS SUPPLEMENTAL ELECTION FORM, PLEASE
     REFER TO THE ENCLOSED INSTRUCTIONS FOR FURTHER EXPLANATION ON
                  HOW TO COMPLETE THE ITEMS SET FORTH BELOW

ITEM 1.    ELECTION NOT TO TRANSFER DISCLAIMED STATE LAW AVOIDANCE CLAIMS
           TO CREDITORS’ TRUST UNDER THE THIRD AMENDED DCL PLAN.

                  I wish to opt out of the transfer of my Disclaimed State Law Avoidance Claims to the
                   Creditors’ Trust under the Third Amended DCL Plan.

ITEM 2.    CERTIFICATION. By signing this Supplemental Election Form, the undersigned
           acknowledges and/or certifies that it has full power and authority to complete this
           Supplemental Election Form with respect to its PHONES Notes Claims against Tribune
           Company. The undersigned acknowledges and/or certifies that it:
           a.      is the Beneficial Owner of the PHONES Notes Claim to which this Supplemental
                   Election Form pertains or is an authorized signatory and has full power and authority
                   to make the election called for on this Supplemental Election Form;
           b.      has not submitted any other Supplemental Election Form(s) on account of the
                   PHONES Note Claim represented herein that are inconsistent with the election set
                   forth in this Supplemental Election Form or that, if such other Supplemental Election
                   Form(s) were previously submitted, they either have been or are hereby revoked or
                   changed to reflect the election set forth herein;
           c.      instructs its Voting Nominee to effect this Supplemental Election Form through the
                   ATOP System; and
           d.      either (a) this Supplemental Election Form is the only Supplemental Election Form
                   submitted by the undersigned for PHONES Notes Claims or (b) in addition to this
                   Supplemental Election Form, one or more Supplemental Election Forms for
                   PHONES Notes Claims have been submitted as follows:



                                                   3
            Case 08-13141-BLS          Doc 10274-3        Filed 11/18/11       Page 82 of 147




       Account Number of         Name of Registered Holder or             Principal Amount of PHONES
      Other PHONES Notes        Nominee of Other PHONES Notes                Notes Claims At Issue in
             Claims                         Claims                       Additional Supplemental Election
                                                                                     Form(s)
 1.                                                                      $
 2.                                                                      $
 3.                                                                      $
 4.                                                                      $

                  Name:
                           (Print or Type)

                  Signature:

                  By:
                           (If Applicable)

                  Title:
                           (If Applicable)

                  Street Address:

                  ________________________________________________________

                  City, State, Zip Code:

                  Telephone Number:

                  Email: __________________________________________________

                  Date Completed:

         This Supplemental Election Form shall not constitute or be deemed to be (a) a proof of claim or
equity interest or an assertion of a claim or equity interest or (b) an admission by the Debtors or the other
Proponents of the Third Amended DCL Plan of the nature, validity or amount of any Claim, and does not
signify that your claim has been or will be Allowed.

       THE SUPPLEMENTAL VOTING DEADLINE IS 4:00 P.M. EASTERN TIME ON
       JANUARY 20, 2012. PLEASE RETURN THIS SUPPLEMENTAL ELECTION FORM
       TO YOUR NOMINEE IN THE ENVELOPE PROVIDED IN SUFFICIENT TIME FOR
       YOUR NOMINEE TO PROCESS YOUR SUPPLEMENTAL ELECTION FORM,
       SUBMIT YOUR ELECTIONS THROUGH THE ATOP SYSTEM AND SUBMIT A
       SUPPLEMENTAL ELECTION TABULATION FORM TO THE VOTING AGENT SO
       THAT IT IS ACTUALLY RECEIVED BY THE VOTING AGENT ON OR BEFORE
       THE SUPPLEMENTAL VOTING DEADLINE OR YOUR ELECTIONS WILL NOT
       BE COUNTED.




                                                      4
       Case 08-13141-BLS   Doc 10274-3   Filed 11/18/11   Page 83 of 147



IF YOU HAVE ANY QUESTIONS REGARDING THIS SUPPLEMENTAL ELECTION FORM
OR THE PROCEDURES FOR MAKING THIS ELECTION, OR IF YOU NEED AN
ADDITIONAL COPY OF THE SUPPLEMENTAL ELECTION FORM OR COPIES OF OTHER
RELATED MATERIALS, PLEASE CONTACT THE VOTING AGENT AT (888) 287-7568 OR
TRIBUNEVOTE@EPIQSYSTEMS.COM.




                                    5
              Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 84 of 147



                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


INSTRUCTIONS FOR COMPLETING SUPPLEMENTAL ELECTION FORM FOR HOLDERS
  OF PHONES NOTES CLAIMS (CUSIP NO. 896047305) TO ELECT NOT TO TRANSFER
  DISCLAIMED STATE LAW AVOIDANCE CLAIMS TO CREDITORS’ TRUSTS UNDER
                     THE THIRD AMENDED DCL PLAN

THESE INSTRUCTIONS EXPLAIN HOW TO COMPLETE THE ENCLOSED
SUPPLEMENTAL ELECTION FORM. PLEASE READ AND FOLLOW THESE
INSTRUCTIONS CAREFULLY SO THAT YOUR ELECTIONS RESPECTING THE THIRD
AMENDED DCL PLAN WILL BE COUNTED.

                                Why You Have Received a Supplemental Election Form
         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide, among
other things, for procedures for certain Holders of Claims against Tribune Company and/or its
subsidiaries in the above-captioned Chapter 11 Cases (collectively, the “Debtors”) to vote to accept or

1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
           Case 08-13141-BLS              Doc 10274-3         Filed 11/18/11         Page 85 of 147



reject the Third Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries
Proposed By the Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management,
L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”)
and to make certain elections called for under such Plan.
       The Resolicitation Order provides, among other things, that Holders of PHONES Notes Claims
may re-vote on the Third Amended DCL Plan and may make elections thereunder.
       The enclosed Supplemental Election Form has been sent to you, as a Holder of a PHONES Notes
Claim against Tribune Company, to allow you to elect not to transfer your Disclaimed State Law
Avoidance Claims to the Creditors’ Trust pursuant to Section 14.3.1 the Third Amended DCL Plan.
         You have previously received election forms for making elections under earlier versions of the
Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors. Please
be aware that your elections under the earlier versions of the Third Amended DCL Plan and other plans of
reorganization with respect to your PHONES Notes Claims are not being counted for purposes of the
Third Amended DCL Plan. Accordingly, if you wish to have your vote on elections under the Third
Amended DCL Plan counted, you must complete and return the Supplemental Election Form as provided
in these Instructions.
                 Materials that You Have Been Sent with the Supplemental Election Form
        You have been sent with the Supplemental Election Form various materials to assist you in
deciding how to vote on the Third Amended DCL Plan (collectively, the “Resolicitation Package”). In
addition to the Supplemental Election Form Ballot, the Resolicitation Package contains the following:
                  a copy of the Third Amended DCL Plan;
                  a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that
                   describes the modifications to the Third Amended DCL Plan that have been made since
                   the prior solicitation of votes and elections on such Plan. The Supplemental Disclosure
                   Document has been approved by the Bankruptcy Court as a supplement to the previously-
                   distributed Disclosure Documents2 to provide information to the Holders of Claims
                   against the Debtors for deciding how to vote on the Third Amended DCL Plan;
                  notices respecting the hearing before the Bankruptcy Court to consider confirmation of
                   the Third Amended DCL Plan; and




2
 See General Disclosure Statement dated December 15, 2010 [Docket No. 7232] (the “General Disclosure
Statement”), which contains a general description of (among other things) the Debtors, their respective businesses
and their reorganization proceedings; (ii) the Specific Disclosure Statement Relating to First Amended Joint Plan of
Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official Committee of
Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,
N.A. [Docket No. 7135] (the “Specific Disclosure Statement”), which contains a detailed description of (among
other things) the provisions of the First Amended DCL Plan, including those provisions that are retained in the Third
Amended DCL Plan; and (iii) the Explanatory Statement Relating to Modified Elections Under Second Amended
Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official
Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan
Chase Bank, N.A. (as modified April 26, 2011) [Docket No. 8754] (the “Explanatory Statement”), which contains a
description of (among other things) certain elections offered under the Second Amended DCL Plan (the General
Disclosure Statement, the Specific Disclosure Statement, the Explanatory Statement, and the Supplemental
Disclosure Document, collectively, the “Disclosure Documents”).



                                                         2
          Case 08-13141-BLS           Doc 10274-3       Filed 11/18/11      Page 86 of 147




               a copy of the Resolicitation Order (without exhibits). The Resolicitation Order contains
                important information regarding the process of voting on the Third Amended DCL Plan
                and how votes on the Third Amended DCL Plan will be tabulated.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your votes on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
        If you would like to receive additional copies of the Third Amended DCL Plan, the Supplemental
Disclosure Document, or any other materials relating to the Third Amended DCL Plan, you may obtain
copies without charge by visiting http://chapter11.epiqsystems.com/tribune or by contacting Epiq
Bankruptcy Solutions LLC (the “Voting Agent”) at (888) 287-7568 or tribunevote@epiqsystems.com.
                      Deadline for Returning the Supplemental Election Form
        You must complete, sign and date your Supplemental Election Form and return it in the enclosed
envelope to your broker, bank, commercial bank, trust company, dealer, or other agent or nominee (a
“Voting Nominee”) in sufficient time for your Voting Nominee to process your Supplemental Election
Form and electronically tender your PHONES Notes into the ATOP System (defined below) by no later
than 4:00 p.m. (Eastern Time) on January 20, 2012 (the “Supplemental Voting Deadline”), or your
elections will not be valid.
                        How to Complete Your Supplemental Election Form

        The following are step-by-step instructions for how to complete your Supplemental Election
Form:

ITEM 1:     Election Not to Transfer Disclaimed State Law Avoidance Claims to Creditors’ Trust
            Under Third Amended DCL Plan.

        Check the box in Item 1 if you elect not to transfer your Disclaimed State Law Avoidance Claims
to the Creditors’ Trust established under the Third Amended DCL Plan.
        The election of a Holder of a PHONES Notes Claim not to transfer its Disclaimed State Law
Avoidance Claims to the Creditors’ Trust to be established under the Third Amended DCL Plan will be
valid only if such Holder has electronically delivered its PHONES Notes, as of the Supplemental Voting
Deadline, into the Automated Tender Offer Program system (the “ATOP System”) at The Depository
Trust Company. Only your Voting Nominee can submit this election on your behalf.
         Holders of PHONES Notes Claims that elect not to transfer their Disclaimed State Law
Avoidance Claims to the Creditors’ Trust to be established under the Third Amended DCL Plan pursuant
to the Supplemental Election Form and electronically deliver their PHONES Notes into the ATOP
System can withdraw their PHONES Notes from the ATOP System up to and until the Supplemental
Voting Deadline. However, following the Supplemental Voting Deadline, such PHONES Notes will not
be freely tradable.
         If a Holder of a PHONES Notes Claim elects not to transfer its Disclaimed State Law Avoidance
Claims to the Creditors’ Trust under the Third Amended DCL Plan but fails to comply with the
procedures for making such election set forth above, such Holder will be deemed to consent to the
transfer of its Disclaimed State Law Avoidance Claims pursuant to the Third Amended DCL Plan.
        If you elect not to transfer your Disclaimed State Law Avoidance Claims to the Creditors’ Trust,
you will not be entitled to (i) receive Creditors’ Trust Interests or (ii) share in the proceeds of any
recoveries ultimately obtained by the Creditors’ Trust. If you do not opt out of the transfer of your


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           Case 08-13141-BLS            Doc 10274-3         Filed 11/18/11       Page 87 of 147



Disclaimed State Law Avoidance Claims, you will be deemed to consent to the transfer of your
Disclaimed State Law Avoidance Claims to the Creditors’ Trust under the Third Amended DCL Plan in
exchange for Creditors’ Trust Interests and will not be able to pursue your Disclaimed State Law
Avoidance Claims directly. For additional information regarding the Creditors’ Trust, please see Section
14.3.1 of the Third Amended DCL Plan.
       If you do not submit the Supplemental Election Form electing not to transfer any
Disclaimed State Law Avoidance Claims you may hold to the Creditors’ Trust established under
the Third Amended DCL Plan, you will be deemed to transfer any Disclaimed State Law Avoidance
Claims you may hold to the Creditors’ Trust to be established under the Third Amended DCL
Plan.
ITEM 2:     Certifications.

         Please review and complete the certifications in Item 2. Your original signature is required on the
Supplemental Election Form for your elections under the Third Amended DCL Plan to count. In
addition, in Item 2, if you are completing the Supplemental Election Form on behalf of an entity, indicate
your relationship with such entity and the capacity in which you are signing. You may be requested at a
later time to provide proof of your authorization to so sign. In addition, please provide your name and
mailing address if different from that set forth on the mailing label, or if no mailing label is attached to the
Supplemental Election Form.

         The certifications in Item 2 also require you to certify that the Supplemental Election Form being
submitted is either the only Supplemental Election Form you have submitted for PHONES Notes Claims
or, if not, that all other Supplemental Election Form(s) submitted by you for such Claims are as identified
in Item 2(d). You may attach additional sheets of paper if necessary to complete Item 2(d).

                              Returning Your Supplemental Election Form

         Once you have completed your Supplemental Election Form in accordance with the foregoing
instructions, please return the completed Supplemental Election Form to your Voting Nominee. Your
Voting Nominee will provide specific instructions for returning the Supplemental Election Form to such
Voting Nominee. Please do not mail Supplemental Election Form or your PHONES Notes directly to
Voting Agent, the Debtors, or to any of the other Proponents of the Third Amended DCL Plan. Please
allow sufficient time for mailing your Supplemental Election Form to your Voting Nominee so that the
Voting Nominee may electronically tender your PHONES Notes into the ATOP System before the
Supplemental Voting Deadline.

        No Electronic Transmissions. Supplemental Election Forms submitted by facsimile or other
electronic transmission will not be counted. In addition, please note that if your Supplemental Election
Form is illegible or contains insufficient information to permit the identification of the Beneficial Owner
of the Claim, your Supplemental Election Form will not be counted.

        No Withdrawal. After the Supplemental Voting Deadline, you may not (i) withdraw or modify
your Supplemental Election Form in any way, or (ii) change your election to transfer your Disclaimed
State Law Avoidance Claims to the Creditors’ Trust.

        Additional Questions. If you have questions concerning the Supplemental Election Form or if
you need an additional Supplemental Election Form or additional copies of other materials in the
Resolicitation Package, please contact the Voting Agent at (888) 287-7568 or at
tribunevote@epiqsystems.com.




                                                       4
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11      Page 88 of 147



         Many materials in the Resolicitation Package may also be obtained free of charge by visiting
http://chapter11.epiqsystems.com/tribune.

          Additional Information. No fees, commissions, or other remuneration will be payable to any
broker, dealer, or other person for soliciting votes on the Plans. The Supplemental Election Form is not a
letter of transmittal and may not be used for any purpose other than to make the elections called for on the
Supplemental Election Form.




                                                     5
             Case 08-13141-BLS   Doc 10274-3   Filed 11/18/11   Page 89 of 147




                                      EXHIBIT C

                          Forms of Supplemental Beneficial Ballots
                      for Holders of PHONES Notes Exchange Claims




CH1 6333435v.6
              Case 08-13141-BLS                     Doc 10274-3              Filed 11/18/11              Page 90 of 147


                          PHONES Notes Exchange Claims – Third Amended DCL Plan

                                       UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

In re:                                                                         Chapter 11

TRIBUNE COMPANY, et al.,1                                                      Case No. 08-13141 (KJC)

                                            Debtors.                           Jointly Administered


           SUPPLEMENTAL BALLOT FOR HOLDERS OF PHONES NOTES EXCHANGE
               CLAIMS AGAINST TRIBUNE COMPANY TO ACCEPT OR REJECT
                           THE THIRD AMENDED DCL PLAN

         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide for, among
other things, procedures for Holders of PHONES Notes Claims, including PHONES Notes Exchange
Claims (defined below), to vote to accept or reject the Third Amended Joint Plan of Reorganization For
Tribune Company and Its Subsidiaries Proposed By the Debtors, the Official Committee of Unsecured
Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,
N.A. (the “Third Amended DCL Plan”) and to make certain elections called for under such Plan.
        You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors.
Please be aware that your votes on and elections under the earlier versions of the Third Amended DCL
Plan and other plans of reorganization with respect to your PHONES Notes Exchange Claims are not
being counted for purposes of the Third Amended DCL Plan. Accordingly, if you wish to have your vote

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
          Case 08-13141-BLS           Doc 10274-3       Filed 11/18/11      Page 91 of 147


on and elections under the Third Amended DCL Plan counted, you must complete and return this
Supplemental Ballot so that it is actually received by the Voting Agent by no later than January 20,
2012 at 4:00 p.m. (Eastern Time) (the “Supplemental Voting Deadline”), in accordance with the
attached Instructions.
          This Supplemental Ballot has been sent to you, as a Holder of a PHONES Notes Claim that is on
account of PHONES Notes purportedly put to Tribune Company for exchange but not paid in cash prior
to the filing of the Debtors’ Chapter 11 Cases (the “PHONES Notes Exchange Claims”), to allow you to
vote to accept or reject the Third Amended DCL Plan and to make elections under such Plan.
         You have received with this Supplemental Ballot a copy of the Third Amended DCL Plan, a
Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that describes the
modifications to the Third Amended DCL Plan that have been made since the prior solicitation of votes
on and elections under such Plan, a notice respecting the hearing before the Bankruptcy Court to consider
confirmation of the Third Amended DCL Plan, and a copy of the Resolicitation Order (without exhibits)
(collectively, the “Resolicitation Package”). Capitalized terms used but not defined in this Supplemental
Ballot have the meanings given to them in (i) the Third Amended DCL Plan, (ii) the Supplemental
Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your vote on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
        This Supplemental Ballot is only to be used for voting your PHONES Notes Exchange Claims.
If you hold other Claims against Tribune Company or the Subsidiary Debtors in the Debtors’ Chapter 11
Cases and those Claims are in Classes entitled to re-vote for purposes of the Third Amended DCL Plan,
you will receive separate Supplemental Ballots to vote such Claims.
     IF YOU HOLD BOTH PHONES NOTES CLAIMS AND PHONES NOTES EXCHANGE
CLAIMS, YOU WILL RECEIVE A SEPARATE SUPPLEMENTAL BENEFICIAL BALLOT ON
WHICH TO VOTE YOUR PHONES NOTES CLAIMS. ADDITIONAL INSTRUCTIONS
REGARDING VOTING PHONES NOTES CLAIMS WILL BE PROVIDED IN THE SEPARATE
RESOLICITATION PACKAGE FOR SUCH CLAIMS. YOU MAY NOT USE THIS
SUPPLEMENTAL BALLOT TO VOTE ON OR MAKE ELECTIONS UNDER THE THIRD
AMENDED DCL PLAN WITH RESPECT TO YOUR PHONES NOTES CLAIMS.
     PRIOR TO COMPLETING THIS SUPPLEMENTAL BALLOT, PLEASE REFER TO
THE ENCLOSED INSTRUCTIONS WITH THIS SUPPLEMENTAL BALLOT FOR FURTHER
EXPLANATION ON HOW TO COMPLETE THE ITEMS SET FORTH BELOW.
        To vote to accept or reject the Third Amended DCL Plan and, if desired, make the elections
called for under the Third Amended DCL Plan, please complete the following:
ITEM 1.     AMOUNT OF PHONES NOTES EXCHANGE CLAIM. The undersigned certifies that as of
            December 12, 2011 (the “Supplemental Record Date”), the undersigned was the Holder of a
            PHONES Notes Exchange Claim in the aggregate unpaid amount set forth below.
                                    $ ______________________________

            The preprinted amount of your Claim as set forth above controls for voting purposes.
ITEM 1A. [Intentionally Omitted].




                                                    2
           Case 08-13141-BLS               Doc 10274-3          Filed 11/18/11         Page 92 of 147


ITEM 2.      VOTE TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN. The Holder of the
             PHONES Notes Exchange Claim set forth above hereby votes with respect to such Claim on
             the Third Amended DCL Plan as follows (check one box only):

               to ACCEPT the                                     to REJECT the
                Third Amended DCL Plan                             Third Amended DCL Plan

ITEM 3.      RELEASE ELECTIONS (OPTIONAL). If you return a Supplemental Ballot and vote to
             accept the Third Amended DCL Plan, you will be deemed to have granted the releases
             contained in Section 11.2.2 of the Plan unless you elect not to grant such releases by checking
             the applicable box below. 2 If you vote to reject the Third Amended DCL Plan, you may elect
             to grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan by
             checking the applicable box below. If you do not return your Supplemental Ballot, you will
             be deemed not to have granted such releases unless you advise the Voting Agent in writing
             that you elect to grant the releases contained in Section 11.2.2 of the Third Amended DCL
             Plan. Election to grant such releases is at your option. If you do not grant the releases
             contained in Section 11.2.2 of the Third Amended DCL Plan, you shall not receive the
             benefit of the releases set forth in Section 11.2.2 of the Third Amended DCL Plan.
                      The undersigned has voted to accept the Third Amended DCL Plan in Item 2 above
                       but elects not to grant the releases contained in Section 11.2.2 of the Third Amended
                       DCL Plan.
                      The undersigned has voted to reject the Third Amended DCL Plan in Item 2 above
                       but elects to grant the releases contained in Section 11.2.2 of the Third Amended
                       DCL Plan.
ITEM 4.      [Intentionally Omitted].
ITEM 5.      ELECTION NOT TO TRANSFER DISCLAIMED STATE LAW AVOIDANCE CLAIMS
             (OPTIONAL). The Third Amended DCL Plan, at Section 14.3.1 thereof, permits you to opt
             out of the transfer of Disclaimed State Law Avoidance Claims that you may have to the
             Creditors’ Trust under the Third Amended DCL Plan. If you wish to opt out of the transfer of
             any Disclaimed State Law Avoidance Claims you may have, please check the box below.
                      The undersigned elects not to transfer its Disclaimed State Law Avoidance Claims to
                       the Creditors’ Trust under Section 14.3.1 of the Third Amended DCL Plan.

ITEM 6.      CERTIFICATION. By signing this Supplemental Ballot, the Holder of PHONES Notes
             Exchange Claim identified in Item 1 certifies that it:
             a.        is the Holder of the PHONES Notes Exchange Claim to which this Supplemental
                       Ballot pertains or is an authorized signatory and has full power and authority to vote

2
  Section 11.2.2 of the Third Amended DCL Plan provides that each Person (a) that has voted to accept the Plan and
has not opted out from granting the releases, (b) that has voted to reject the Plan but has opted to grant the releases,
(c) that is deemed to accept the Plan and has been provided an opportunity but has not opted out of granting the
releases, or (d) who otherwise agrees to provide the releases, shall be deemed to have unconditionally released each
and all of the Released Parties of and from any and all claims, obligations, suits, judgments, damages, debts, rights,
remedies, causes of action and liabilities of any nature whatsoever (including, without limitation, the LBO-Related
Causes of Action and those arising under the Bankruptcy Code, including any avoidance claim), whether known or
unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured, existing or hereafter arising, in
law, equity, or otherwise, that are or may be based in whole or in part upon any act, omission, transaction, event or
other occurrence taking place or existing on or before the Effective Date that are in connection with the Debtors or
any of them, or their respective assets, property and Estates, the Chapter 11 Cases or the Plan, Disclosure
Documents or the Restructuring Transactions (as such terms are defined in the Third Amended DCL Plan), except as
otherwise provided in Section 11.2.2 of the Third Amended DCL Plan.

                                                           3
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 93 of 147


                    to accept or reject the Third Amended DCL Plan and make the elections called for on
                    this Supplemental Ballot;
           b.       has been provided with a copy of the Third Amended DCL Plan, the Supplemental
                    Disclosure Document, and the Resolicitation Order and acknowledges that the votes
                    and elections set forth on this Supplemental Ballot are subject to all of the terms and
                    conditions set forth in the Third Amended DCL Plan, the Supplemental Disclosure
                    Document, and the Resolicitation Order; and
           c.       has not submitted any other Supplemental Ballot(s) on account of the PHONES
                    Notes Exchange Claim voted herein that are inconsistent with the votes and elections
                    set forth in this Supplemental Ballot or that, as limited by the terms of the
                    Resolicitation Order and the instructions attached hereto, if such other Supplemental
                    Ballot(s) was/were previously submitted, they either have been or are hereby revoked
                    or changed to reflect the votes set forth herein.
                 Name:
                          (Print or Type)
                 Signature:

                 By:
                          (if Applicable)

                 Title:
                          (if Applicable)

                 Street Address:

                 ________________________________________________________

                 City, State, Zip Code:

                 Telephone Number:

                 Email: __________________________________________________

                 Date Completed:

         This Supplemental Ballot is not, and may not be deemed to be (a) a proof of claim or equity
interest or an assertion of a claim or equity interest, or (b) an admission by the Debtors or the other
Proponents of the Third Amended DCL Plan of the nature, validity, or amount of any Claim, and does not
signify that your claim has been or will be allowed.




                                                     4
         Case 08-13141-BLS         Doc 10274-3     Filed 11/18/11    Page 94 of 147


 YOUR SUPPLEMENTAL BALLOT MUST BE ACTUALLY RECEIVED BY THE VOTING
 AGENT ON OR BEFORE 4:00 P.M. EASTERN TIME ON THE SUPPLEMENTAL VOTING
 DEADLINE (JANUARY 20, 2012), OR YOUR VOTE WILL NOT BE COUNTED AS A VOTE
 TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN, AND YOUR ELECTIONS
 WILL NOT BE VALID. SUPPLEMENTAL BALLOTS SUBMITTED BY FACSIMILE OR
 OTHER ELECTRONIC SUBMISSION WILL NOT BE COUNTED, AND YOUR ELECTIONS
 WILL NOT BE VALID.

 PRIOR VOTES AND ELECTIONS MADE ON THE THIRD AMENDED DCL PLAN, OR
 OTHER PLANS OF REORGANIZATION FOR THE DEBTORS, BY HOLDERS OF PHONES
 NOTES EXCHANGE CLAIMS WILL NOT BE RE-COUNTED. THEREFORE, YOU MUST
 BE SURE THAT THE SUPPLEMENTAL BALLOT IS RECEIVED BY THE VOTING AGENT
 BEFORE THE SUPPLEMENTAL VOTING DEADLINE.

IF YOU HAVE ANY QUESTIONS REGARDING THIS SUPPLEMENTAL BALLOT OR THE
PROCEDURES FOR VOTING ON THE THIRD AMENDED DCL PLAN, OR IF YOU NEED AN
ADDITIONAL SUPPLEMENTAL BALLOT OR ADDITIONAL COPIES OF THE
SUPPLEMENTAL DISCLOSURE DOCUMENT, THE THIRD AMENDED DCL PLAN, OR
OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE VOTING AGENT AT (888) 287-
7568 OR AT TRIBUNEVOTE@EPIQSYSTEMS.COM.

YOU MAY USE THE PRE-PAID RETURN ENVELOPE PROVIDED WITH THIS
SUPPLEMENTAL BALLOT, OR YOU MAY RETURN YOUR SUPPLEMENTAL BALLOT BY
PERSONAL DELIVERY, OVERNIGHT COURIER, OR FIRST-CLASS MAIL TO THE
VOTING AGENT AT THE FOLLOWING ADDRESS:

If By Mail:                                      If By Personal Delivery or Overnight Courier:

Tribune Company Ballot Processing Center         Tribune Company Ballot Processing Center
c/o Epiq Bankruptcy Solutions, LLC               c/o Epiq Bankruptcy Solutions
FDR Station, P.O. Box 5014                       757 Third Avenue, Third Floor
New York, NY 10150-5014                          New York, NY 10017




                                            5
              Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 95 of 147



                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


           JOINT INSTRUCTIONS FOR COMPLETING THE SUPPLEMENTAL BALLOT
                  TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN

THESE INSTRUCTIONS EXPLAIN HOW TO COMPLETE THE SUPPLEMENTAL BALLOT
ENCLOSED IN THE RESOLICITATION PACKAGE FOR VOTING TO ACCEPT OR REJECT
      THE THIRD AMENDED DCL PLAN. PLEASE READ AND FOLLOW THESE
 INSTRUCTIONS CAREFULLY SO THAT YOUR VOTES AND ELECTIONS RESPECTING
             THE THIRD AMENDED DCL PLAN WILL BE COUNTED.
                                      Why You Have Received a Supplemental Ballot
         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide, among
other things, for procedures for certain Holders of Claims against Tribune Company and/or its
subsidiaries in the above-captioned Chapter 11 Cases (collectively, the “Debtors”) to vote to accept or
reject the Third Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries


1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
           Case 08-13141-BLS              Doc 10274-3         Filed 11/18/11         Page 96 of 147



Proposed By the Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management,
L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”)
and to make certain elections called for under such Plan. Capitalized terms used but not defined in these
Instructions have the meanings ascribed to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        The Resolicitation Order provides, among other things, that Holders of General Unsecured
Claims in the Subsidiary Revoting Classes2 may re-vote on the Third Amended DCL Plan and may make
elections thereunder.
          These Joint Instructions apply only to the Supplemental Ballots transmitted to Holders of Other
Parent Claims, Holders of EGI-TRB LLC Notes Claims, Holders of PHONES Notes Claims that are on
account of PHONES Notes purportedly put to Tribune Company for exchange but not paid in cash prior
to the filing of the Debtors’ chapter 11 cases (the “PHONES Notes Exchange Claims”), and Holders of
General Unsecured Claims in the Subsidiary Revoting Classes. If you hold other Claims against Tribune
Company and those Claims are in Classes entitled to re-vote for purposes of the Third Amended DCL
Plan, you will receive separate Supplemental Ballots to vote such Claims.
         You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors with
respect to your Claims. Please be aware that your votes on and elections under the earlier versions of the
Third Amended DCL Plan and other plans of reorganization are not being counted for purposes of the
Third Amended DCL Plan. Accordingly, if you wish to have your vote on and elections under the Third
Amended DCL Plan counted, you must complete and return this Supplemental Ballot as provided in these
Instructions.
     PURSUANT TO THE THIRD AMENDED DCL PLAN, IMPAIRED CLASSES OF
CLAIMS FOR WHICH NO VALID BALLOTS ARE RECEIVED WILL BE DEEMED TO
ACCEPT THE THIRD AMENDED DCL PLAN.
                    Materials that You Have Been Sent with the Supplemental Ballot
        You have been sent various materials to assist you in deciding how to vote on the Third Amended
DCL Plan (collectively, the “Resolicitation Package”). In addition to the Supplemental Ballot, the
Resolicitation Package contains the following:
                 a copy of the Third Amended DCL Plan;
                 a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that
                  describes the modifications to the Third Amended DCL Plan that have been made since
                  the prior solicitation of votes and elections on such Plan. The Supplemental Disclosure
                  Document has been approved by the Bankruptcy Court as a supplement to the previously-
                  distributed Disclosure Documents3 to provide information to the Holders of Claims
                  against the Debtors for deciding how to vote on the Third Amended DCL Plan;

2
 The Subsidiary Revoting Classes are the Classes of General Unsecured Claims against certain Non-Guarantor
Subsidiary Debtors (Classes 2E, 4E through 7E, 10E, 12E through 15E, 18E through 20E, 22E through 38E, 40E,
42E, 43E, and 46E through 49E).
3
 See General Disclosure Statement dated December 15, 2010 [Docket No. 7232] (the “General Disclosure
Statement”), which contains a general description of (among other things) the Debtors, their respective businesses
and their reorganization proceedings; (ii) the Specific Disclosure Statement Relating to First Amended Joint Plan of
Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official Committee of
Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,
N.A. [Docket No. 7135] (the “Specific Disclosure Statement”), which contains a detailed description of (among
other things) the provisions of the First Amended DCL Plan, including those provisions that are retained in the Third

                                                         2
           Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 97 of 147




                notices respecting the hearing before the Bankruptcy Court to consider confirmation of
                 the Third Amended DCL Plan; and
                a copy of the Resolicitation Order (without exhibits). The Resolicitation Order contains
                 important information regarding the process of voting on the Third Amended DCL Plan
                 and how votes on the Third Amended DCL Plan will be tabulated.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your votes on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
        If you would like to receive additional copies of the Third Amended DCL Plan, the Supplemental
Disclosure Document, or any other materials relating to the Third Amended DCL Plan, you may obtain
copies without charge by visiting http://chapter11.epiqsystems.com/tribune or by contacting Epiq
Bankruptcy Solutions LLC (the “Voting Agent”) at (888) 287-7568 or tribunevote@epiqsystems.com.
                   Deadline for Returning Supplemental Ballots to the Voting Agent
        You must complete, sign, and date your Supplemental Ballot and return it to the Voting Agent in
the enclosed envelope so that it is actually received by the Voting Agent by no later than January 20,
2012 at 4:00 p.m. (Eastern Time) the (“Supplemental Voting Deadline”). If you do not return your
Supplemental Ballot so that it is actually received by the Voting Agent by the Supplemental Voting
Deadline, the votes reflected on your Supplemental Ballot will not be counted, and the elections reflected
on your Supplemental Ballot will not be valid.
                               How to Complete Your Supplemental Ballot
        The following are step-by-step instructions for how to complete your Supplemental Ballot for
voting on the Third Amended DCL Plan and making the elections called for thereunder:
ITEM 1:          Amount of Claim.
         Please certify the amount of your Claim as of December 12, 2011 (the “Supplemental Record
Date”). By certifying the amount in Item 1, you are certifying that the party submitting the Supplemental
Ballot is the Holder, as of the Supplemental Record Date, of a Claim in the aggregate unpaid amount set
forth in Item 1 of the Supplemental Ballot. The preprinted amount of the Claim set forth in Item 1 of the
Supplemental Ballot will control for voting purposes. If you do not agree with the amount preprinted on
Item 1 of the Supplemental Ballot, please see “Questions Concerning Your Claim Amount” below.
ITEM 1A:         Convenience Class Election (Optional).
         Item 1A applies only to the Holders of Class 1F Other Parent Claims against Tribune Company.
If your Supplemental Ballot relates to a Claim in any other Class, your Supplemental Ballot will not
contain the Convenience Class Election described here. If your Supplemental Ballot does not relate to a
Class 1F Other Parent Claim, your Supplemental Ballot will indicate that Item 1A has been

Amended DCL Plan; and (iii) the Explanatory Statement Relating to Modified Elections Under Second Amended
Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official
Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan
Chase Bank, N.A. (as modified April 26, 2011) [Docket No. 8754] (the “Explanatory Statement”), which contains a
description of (among other things) certain elections offered under the Second Amended DCL Plan (the General
Disclosure Statement, the Specific Disclosure Statement, the Explanatory Statement, and the Supplemental
Disclosure Document, collectively, the “Disclosure Documents”).



                                                       3
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11      Page 98 of 147



“[Intentionally Omitted].” If your Supplemental Ballot states“[Intentionally Omitted]” at Item 1A,
please skip Item 1A and move on to Item 2 below.
         You should check this box if you are the Holder of a Class 1F Other Parent Claim and you wish
to have that Claim treated as a Class 1G Convenience Claim. If you make this election, your Class 1F
Other Parent Claim will be reduced in amount to One Thousand Dollars ($1,000) under the Third
Amended DCL Plan. In addition, if you check the box in Item 1A, (a) such election is an irrevocable and
legally binding obligation; (b) your Claim will receive treatment set forth in the Third Amended DCL
Plan for Class 1G Convenience Claims instead of the treatment afforded to Class 1F Other Parent Claims;
(c) your vote to accept or reject the Third Amended DCL Plan will not be counted; and (d) you will be
deemed to grant the releases set forth in Section 11.2.2 of the Third Amended DCL Plan unless you elect
not to grant such releases by checking the appropriate box on the Supplemental Ballot.
ITEM 2:         Vote to Accept or Reject the Third Amended DCL Plan.
         Please cast your vote to accept or reject the Third Amended DCL Plan by checking the applicable
box in Item 2. Please note that you must vote the entire amount of your Claim to accept or reject the
Third Amended DCL Plan; in other words, you may not vote part of your Claim to accept and part of
your Claim to reject the Third Amended DCL Plan.
         If the Third Amended DCL Plan is confirmed by the Bankruptcy Court and becomes effective, it
will be binding upon you whether or not you vote to accept or reject the Plan or abstain from voting on
the Plan.
         Please be aware that a vote to accept the Third Amended DCL Plan is a vote to grant the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan, unless you elect not to grant such releases by
checking the applicable box on the Supplemental Ballot. If you vote to reject the Third Amended DCL
Plan, you may elect to grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan by
checking the applicable box on your Supplemental Ballot. The Third Amended DCL Plan provides that
each Person (a) that has voted to accept the Plan and has not opted out from granting the releases, (b) that
has voted to reject the Plan but has opted to grant the releases, (c) that is deemed to accept the Plan and
has been provided an opportunity but has not opted out of granting the releases, or (d) who otherwise
agrees to provide the releases, shall be deemed to have unconditionally released each and all of the
Released Parties of and from any and all claims, obligations, suits, judgments, damages, debts, rights,
remedies, causes of action and liabilities of any nature whatsoever (including, without limitation, the
LBO-Related Causes of Action and those arising under the Bankruptcy Code, including any avoidance
claim), whether known or unknown, foreseen or unforeseen, liquidated or unliquidated, matured or
unmatured, existing or hereafter arising, in law, equity, or otherwise, that are or may be based in whole or
in part upon any act, omission, transaction, event or other occurrence taking place or existing on or before
the Effective Date that are in connection with the Debtors or any of them, or their respective assets,
property and Estates, the Chapter 11 Cases or the Plan, Disclosure Documents or the Restructuring
Transactions (as such terms are defined in the Third Amended DCL Plan), except as otherwise provided
in Section 11.2.2 of the Third Amended DCL Plan.
ITEM 3:         Release Elections (Optional).
        If you vote to accept the Third Amended DCL Plan, you are deemed to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt out of granting those
releases. If you vote to reject the Third Amended DCL Plan, you are deemed not to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt in to granting those releases.
If you do not return a Supplemental Ballot, you are deemed not to grant the releases in Section 11.2.2 of
the Third Amended DCL Plan unless you advise the Voting Agent in writing that you elect to grant the
releases contained in Section 11.2.2 of the Third Amended DCL Plan.



                                                     4
           Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 99 of 147



        If you voted to accept the Third Amended DCL Plan but wish to opt out of granting the releases
in Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3. Similarly, if you vote to reject the Third Amended DCL Plan but wish to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3.
         If you either (i) vote to accept the Third Amended DCL Plan and do not check the box in Item 3
opting not to grant the Section 11.2.2 releases, or (ii) vote to reject the Third Amended DCL Plan and
check the box in Item 3 opting to grant the Section 11.2.2 releases, you will have consented to the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan to the fullest extent permitted by applicable
law. If you do not grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan,
you will not receive the benefit of the releases set forth in the Third Amended DCL Plan.
ITEM 4:          Other Parent Claim Alternative Treatment Election.
         Item 4 applies only to the Holders of Class 1F Other Parent Claims against Tribune Company. If
your Supplemental Ballot does not relate to a Class 1F Other Parent Claim, your Supplemental Ballot
will indicate that Item 4 has been “[Intentionally Omitted].” If your Supplemental Ballot
states“[Intentionally Omitted]” at Item 4, please skip Item 4 and move on to Item 5 below.
         The Third Amended DCL Plan gives the Holders of Class 1F Other Parent Claims the right to
elect between four alternative treatments for purposes of distribution on account of Allowed Other Parent
Claims, which are described in Section 3.2.6(c) of the Third Amended DCL Plan. The alternative
treatments provided for under Section 3.2.6(c) of the Third Amended DCL Plan are identical to those
provided for under the prior version of such Plan, provided, however, that the adjudication and/or
resolution of certain Allocation Disputes (as defined in the Third Amended DCL Plan) could potentially
affect the distributions to which the Holders of Other Parent Claims are entitled under the Third Amended
DCL Plan. Additional information regarding the Allocation Disputes can be found in Section 5.18 and
Exhibit 5.18 the Third Amended DCL Plan, and the Supplemental Disclosure Document.
         If you wish to receive the treatment set forth in Section 3.2.6(c)(i) of the Third Amended DCL
Plan, please check the box in Item 4A. If you wish to receive the treatment set forth in Section 3.2.6(c)(ii)
of the Third Amended DCL Plan, please check the box in Item 4B. If you wish to receive the treatment
set forth in Section 3.2.6(c)(iii) of the Third Amended DCL Plan, please check the box in Item 4C. You
may only select one treatment option. If you do not submit a Supplemental Ballot, or submit a
Supplemental Ballot but do not check the box in Item 4, you will have consented to the treatment set forth
in Section 3.2.6(c)(iv) of the Third Amended DCL Plan for your Class 1F Other Parent Claim.
        If you elect to receive the Alternative Treatment in Section 3.2.6(c)(ii), (iii), or (iv) of the Third
Amended DCL Plan and you elect not to assign your Disclaimed State Law Avoidance Claims to the
Creditors’ Trust, you will not receive the Pro Rata share of Class 1F Creditors’ Trust Interests on account
of your Other Parent Claims.
ITEM 5:          Election Not to Transfer Disclaimed State Law Avoidance Claims (Optional).
         Item 5 applies only to the Other Parent Claims and EGI-TRB LLC Notes Claims. If your
Supplemental Ballot relates to a General Unsecured Claim in the Subsidiary Revoting Classes, your
Supplemental Ballot will indicate that Item 5 has been “[Intentionally Omitted].” If your Supplemental
Ballot states“[Intentionally Omitted]” at Item 5, please skip Item 5 and move on to Item 6.
         Section 14.3.1 of the Third Amended DCL Plan provides as a default that Holders of certain
Claims against Tribune Company, including Other Parent Claims and EGI-TRB LLC Notes Claims, will
transfer Disclaimed State Law Avoidance Claims to the Creditors’ Trust, which is to be established under
the Third Amended DCL Plan. You have the right to opt out of this transfer under Section 14.3.1 of the
Third Amended DCL Plan. If a Holder of any such Claim wishes to opt out of this transfer, it must check


                                                      5
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 100 of 147



the box in Item 5. If a Holder of a Claim against Tribune Company checks the box not to transfer its
Disclaimed State Law Avoidance Claim, it will be “opting out” of contributing all Disclaimed State Law
Avoidance Claims it now holds or may hold in the future, which Disclaimed State Law Avoidance Claims
would otherwise be prosecuted on such Holder’s behalf by the Creditors’ Trust pursuant to Section 14.3.1
of the Third Amended DCL Plan. If a Holder of a Claim against Tribune Company elects not to transfer
its Disclaimed State Law Avoidance Claims, such Holder will not be entitled to receive Creditors’ Trust
Interests and, accordingly, will not be entitled to share in the proceeds of any recoveries ultimately
obtained by the Creditors’ Trust.
         If a Holder of a Claim against Tribune Company does not check the box in Item 5 and consents to
the transfer of its Disclaimed State Law Avoidance Claim to the Creditors’ Trust, such Holder will be
deemed, pursuant to Section 14.3.1 of the Third Amended DCL Plan, to have, as of the Effective Date of
the Third Amended DCL Plan, contributed all of such Holder’s Disclaimed State Law Avoidance Claims
that it now holds or may hold in the future to the Creditors’ Trust in exchange for Creditors’ Trust
Interests. The Creditors’ Trust Interests may entitle such Holder to share in the proceeds of any recovery
ultimately obtained by the Creditors’ Trust. If a Holder of a Claim against Tribune Company does
not submit a Supplemental Ballot, such Holder will be deemed to have transferred all of its
Disclaimed State Law Avoidance Claims to the Creditors’ Trust and, accordingly, will receive
Creditors’ Trust Interests and may be entitled to share in the proceeds of recoveries obtained by
the Creditors’ Trust, if any. For additional information regarding the Creditors’ Trust, please see
Section 14.3.1 of the Third Amended DCL Plan.
ITEM 6:         Certifications.
        Please review and complete the certifications in Item 6. Your original signature is required on the
Supplemental Ballot for your votes on the Third Amended DCL Plan and your elections under the Third
Amended DCL Plan to count. In addition, in Item 6, if you are completing the Supplemental Ballot on
behalf of an entity, indicate your relationship with such entity and the capacity in which you are signing.
You may be requested at a later time to provide proof of your authorization to so sign. In addition, please
provide your name and mailing address if different from that set forth on the mailing label, or if no
mailing label is attached to the Supplemental Ballot.
                       Returning Your Supplemental Ballot to the Voting Agent
         Once you have completed your Supplemental Ballot in accordance with the foregoing
instructions, please return the completed Supplemental Ballot to the Voting Agent at the appropriate
address specified in your Supplemental Ballot so that the Supplemental Ballot is actually received by the
Voting Agent before the Supplemental Voting Deadline.
        No Electronic Transmissions. Supplemental Ballots submitted by facsimile or other electronic
transmission will not be counted. In addition, please note that if your Supplemental Ballot is illegible or
contains insufficient information to permit the identification of the Holder of the Claim, your
Supplemental Ballot will not be counted. Do not mail your Supplemental Ballots directly to the Debtors
or to any of the Proponents of the Third Amended DCL Plan.
         No Withdrawal. After the Supplemental Voting Deadline, unless you obtain the prior consent of
the Proponents of the Third Amended DCL Plan or Bankruptcy Court approval, you may not (i) withdraw
or modify your Supplemental Ballot in any way, (ii) change your vote to accept or reject Third Amended
DCL Plan, (iii) change your release or treatment elections (if applicable), or (iv) change your election not
to transfer your Disclaimed State Law Avoidance Claims to the Creditors’ Trust (if applicable).
                              Questions Concerning Your Claim Amount
       If you disagree with the amount of your Claim set forth in Item 1 of the Supplemental Ballot, you
may ask the Bankruptcy Court to allow your Claim solely for voting purposes in a different amount. To


                                                     6
         Case 08-13141-BLS           Doc 10274-3         Filed 11/18/11      Page 101 of 147



have your claim allowed solely for voting purposes under the Third Amended DCL Plan in a different
amount, you must serve on the Proponents of the Third Amended DCL Plan (at the addresses listed on
page 1 of the Third Amended DCL Plan) and file with the Bankruptcy Court, on or before January [•],
2012, a motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for
purposes of voting (a “3018 Motion”).
         A 3018 Motion must set forth with particularity the amount and classification in which you
believe your Claim should be allowed for voting purposes only, and the evidence in support of your
belief. If you file a 3018 Motion by the deadline above, your Supplemental Ballot will be counted (a) in
the amount established by the Bankruptcy Court in an order entered on or before the Supplemental Voting
Deadline, or (b) if such an order has not been entered by the Supplemental Voting Deadline and unless
the Proponents of the Third Amended DCL Plan have come to an agreement with you as to the relief
requested in the 3018 Motion, in an amount equal to the preprinted amount on the ballot or otherwise in
accordance with the tabulation rules set forth in the Resolicitation Order. January [•], 2012, at [•]:00
[•]a.m. (Eastern Time) has been established as the date and time for a hearing to consider any and all
3018 Motions.
        Additional Questions. If you have questions concerning the ballots or the procedures for voting
to accept or reject the Third Amended DCL Plan, or if you need an additional Supplemental Ballot or
additional copies of other materials in the Resolicitation Package, please contact the Voting Agent at 888-
287-7568 or tribunevote@epiqsystems.com. The Materials in the Resolicitation Package may also be
obtained free of charge by visiting http://chapter11.epiqsystems.com/tribune.
         The Supplemental Ballot is Not a Proof of Claim or Interest. The Supplemental Ballot is not,
and may not be deemed to be (a) a proof of claim or equity interest or an assertion of a claim or equity
interest, or (b) an admission by the Debtors or the other Proponents of the Third Amended DCL Plan of
the nature, validity, or amount of any Claim, and does not signify that your claim has been or will be
Allowed.




                                                     7
            Case 08-13141-BLS   Doc 10274-3   Filed 11/18/11    Page 102 of 147




                                      EXHIBIT D

                             Forms of Supplemental Ballots
                           for Holders of Other Parent Claims




CH1 6333435v.6
             Case 08-13141-BLS                     Doc 10274-3              Filed 11/18/11              Page 103 of 147



                                    Other Parent Claims – Third Amended DCL Plan

                                       UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

In re:                                                                         Chapter 11

TRIBUNE COMPANY, et al.,1                                                      Case No. 08-13141 (KJC)

                                            Debtors.                           Jointly Administered


     SUPPLEMENTAL BALLOT FOR HOLDERS OF OTHER PARENT CLAIMS AGAINST
     TRIBUNE COMPANY TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN

         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide for, among
other things, procedures for Holders of Other Parent Claims to vote to accept or reject the Third Amended
Joint Plan of Reorganization For Tribune Company and Its Subsidiaries Proposed By the Debtors, the
Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co.,
L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”) and to make certain elections
called for under such Plan.
        You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors.
Please be aware that your votes on and elections under the earlier versions of the Third Amended DCL

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
          Case 08-13141-BLS          Doc 10274-3        Filed 11/18/11      Page 104 of 147



Plan and other plans of reorganization with respect to your Other Parent Claims are not being counted for
purposes of the Third Amended DCL Plan. Accordingly, if you wish to have your vote on and elections
under the Third Amended DCL Plan counted, you must complete and return this Supplemental Ballot so
that it is actually received by the Voting Agent by no later than January 20, 2012 at 4:00 p.m. (Eastern
Time) (the “Supplemental Voting Deadline”), in accordance with the attached Instructions.
         You have received with this Supplemental Ballot a copy of the Third Amended DCL Plan, a
Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that describes the
modifications to the Third Amended DCL Plan that have been made since the prior solicitation of votes
on and elections under such Plan, a notice respecting the hearing before the Bankruptcy Court to consider
confirmation of the Third Amended DCL Plan, and a copy of the Resolicitation Order (without exhibits)
(collectively, the “Resolicitation Package”). Capitalized terms used but not defined in this Supplemental
Ballot have the meanings given to them in (i) the Third Amended DCL Plan, (ii) the Supplemental
Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your vote on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
        This Supplemental Ballot is only to be used for voting your Other Parent Claims (Class 1F
Claims against Tribune Company). If you hold other Claims against Tribune Company or the Subsidiary
Debtors in the Debtors’ Chapter 11 Cases and those Claims are in Classes entitled to re-vote for purposes
of the Third Amended DCL Plan, you will receive separate Supplemental Ballots to vote such Claims.
     PRIOR TO COMPLETING THIS SUPPLEMENTAL BALLOT, PLEASE REFER TO
THE ENCLOSED INSTRUCTIONS WITH THIS SUPPLEMENTAL BALLOT FOR FURTHER
EXPLANATION ON HOW TO COMPLETE THE ITEMS SET FORTH BELOW.
        To vote to accept or reject the Third Amended DCL Plan and, if desired, make the elections
called for under the Third Amended DCL Plan, please complete the following:
ITEM 1.     AMOUNT OF OTHER PARENT CLAIM. The undersigned certifies that as of December
            12, 2011 (the “Supplemental Record Date”), the undersigned was the Holder of an Other
            Parent Claim in the aggregate unpaid amount set forth below.
                                          $ _______________

            The preprinted amount of your Claim as set forth above controls for voting purposes.
ITEM 1A. CONVENIENCE CLASS ELECTION (OPTIONAL). Check this box if you elect to have
         your Other Parent Claim reduced in amount to One Thousand Dollars ($1,000) and treated as
         a Convenience Claim under the Third Amended DCL Plan. If you make this Convenience
         Class Election, you will be deemed to ACCEPT the Third Amended DCL Plan and you will
         be deemed to have granted the releases set forth in Section 11.2.2 of the Third Amended DCL
         Plan unless you elect not to grant such releases by checking the box opting not to grant such
         releases in Item 3 below.
                   The undersigned elects to have the Other Parent Claim described above reduced in
                    amount to $1,000 and treated as a Convenience Claim under the Third Amended
                    DCL Plan.
            If you have checked the box electing the have your Other Parent Claim reduced in amount to
            $1,000 and treated as a Convenience Claim, please skip Item 2 and move on to Item 3 below.



                                                    2
           Case 08-13141-BLS              Doc 10274-3          Filed 11/18/11         Page 105 of 147



ITEM 2.      VOTE TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN. The Holder of the
             Other Parent Claim set forth above hereby votes with respect to such Claim on the Third
             Amended DCL Plan as follows (check one box only):

                   to ACCEPT the                                     to REJECT the
                    Third Amended DCL Plan                             Third Amended DCL Plan

ITEM 3.      RELEASE ELECTIONS (OPTIONAL). If you return a Supplemental Ballot and vote to
             accept the Third Amended DCL Plan, you will be deemed to have granted the releases
             contained in Section 11.2.2 of the Plan unless you elect not to grant such releases by checking
             the applicable box below. 2 If you vote to reject the Third Amended DCL Plan, you may elect
             to grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan by
             checking the applicable box below. If you do not return your Supplemental Ballot, you will
             be deemed not to have granted such releases unless you advise the Voting Agent in writing
             that you elect to grant the releases contained in Section 11.2.2 of the Third Amended DCL
             Plan. Election to grant such releases is at your option. If you do not grant the releases
             contained in Section 11.2.2 of the Third Amended DCL Plan, you shall not receive the
             benefit of the releases set forth in Section 11.2.2 of the Third Amended DCL Plan.
                      The undersigned has voted to accept the Third Amended DCL Plan in Item 2 above
                       but elects not to grant the releases contained in Section 11.2.2 of the Third Amended
                       DCL Plan.
                      The undersigned has voted to reject the Third Amended DCL Plan in Item 2 above
                       but elects to grant the releases contained in Section 11.2.2 of the Third Amended
                       DCL Plan.
ITEM 4.      OTHER PARENT CLAIM ALTERNATIVE TREATMENT ELECTION. Please check the
             applicable box below if you wish to receive one of the alternative treatment elections. You
             may only select one treatment option. If you do not make an alternate treatment election,
             you will be deemed to elect to receive the treatment set forth in Section 3.2.6(c)(iv) of the
             Third Amended DCL Plan:
         ITEM 4A.          ELECTION TO RECEIVE TREATMENT SET FORTH IN SECTION
                           3.2.6(c)(i) OF THE THIRD AMENDED DCL PLAN.
                                   The undersigned elects to receive the treatment set forth in Section
                                    3.2.6(c)(i) of the Third Amended DCL Plan for its Other Parent Claims.



2
  Section 11.2.2 of the Third Amended DCL Plan provides that each Person (a) that has voted to accept the Plan and
has not opted out from granting the releases, (b) that has voted to reject the Plan but has opted to grant the releases,
(c) that is deemed to accept the Plan and has been provided an opportunity but has not opted out of granting the
releases, or (d) who otherwise agrees to provide the releases, shall be deemed to have unconditionally released each
and all of the Released Parties of and from any and all claims, obligations, suits, judgments, damages, debts, rights,
remedies, causes of action and liabilities of any nature whatsoever (including, without limitation, the LBO-Related
Causes of Action and those arising under the Bankruptcy Code, including any avoidance claim), whether known or
unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured, existing or hereafter arising, in
law, equity, or otherwise, that are or may be based in whole or in part upon any act, omission, transaction, event or
other occurrence taking place or existing on or before the Effective Date that are in connection with the Debtors or
any of them, or their respective assets, property and Estates, the Chapter 11 Cases or the Plan, Disclosure
Documents or the Restructuring Transactions (as such terms are defined in the Third Amended DCL Plan), except as
otherwise provided in Section 11.2.2 of the Third Amended DCL Plan.


                                                           3
          Case 08-13141-BLS         Doc 10274-3         Filed 11/18/11       Page 106 of 147



      ITEM 4B.           ELECTION TO RECEIVE TREATMENT SET FORTH IN SECTION
                         3.2.6(c)(ii) OF THE THIRD AMENDED DCL PLAN.
                              The undersigned elects to receive the treatment set forth in Section
                               3.2.6(c)(ii) of the Third Amended DCL Plan for its Other Parent Claims.
      ITEM 4C.           ELECTION TO RECEIVE TREATMENT SET FORTH IN SECTION
                         3.2.6(c)(iii) OF THE THIRD AMENDED DCL PLAN.
                              The undersigned elects to receive the treatment set forth in Section
                               3.2.6(c)(iii) of the Third Amended DCL Plan for its Other Parent Claims.
ITEM 5.    ELECTION NOT TO TRANSFER DISCLAIMED STATE LAW AVOIDANCE CLAIMS
           (OPTIONAL). The Third Amended DCL Plan, at Section 14.3.1 thereof, permits you to opt
           out of the transfer of Disclaimed State Law Avoidance Claims that you may have to the
           Creditors’ Trust under the Third Amended DCL Plan. If you wish to opt out of the transfer of
           any Disclaimed State Law Avoidance Claims you may have, please check the box below.

                  The undersigned elects not to transfer its Disclaimed State Law Avoidance Claims to
                   the Creditors’ Trust under Section 14.3.1 of the Third Amended DCL Plan.
ITEM 6.    CERTIFICATION. By signing this Supplemental Ballot, the Holder of the Other Parent
           Claim identified in Item 1 certifies that it:
           a.      is the Holder of the Other Parent Claim to which this Supplemental Ballot pertains or
                   is an authorized signatory and has full power and authority to vote to accept or reject
                   the Third Amended DCL Plan and make the elections called for on this Supplemental
                   Ballot;
           b.      has been provided with a copy of the Third Amended DCL Plan, the Supplemental
                   Disclosure Document, and the Resolicitation Order and acknowledges that the votes
                   and elections set forth on this Supplemental Ballot are subject to all of the terms and
                   conditions set forth in the Third Amended DCL Plan, the Supplemental Disclosure
                   Document, and the Resolicitation Order; and
           c.      has not submitted any other Supplemental Ballot(s) on account of the Other Parent
                   Claim voted herein that are inconsistent with the votes and elections set forth in this
                   Supplemental Ballot or that, as limited by the terms of the Resolicitation Order and
                   the instructions attached hereto, if such other Supplemental Ballot(s) was/were
                   previously submitted, they either have been or are hereby revoked or changed to
                   reflect the votes set forth herein.
                Name:
                         (Print or Type)
                Signature:

                By:
                         (If Applicable)

                Title:
                         (If Applicable)

                Street Address:

                ________________________________________________________


                                                    4
         Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11     Page 107 of 147




                 City, State, Zip Code:

                 Telephone Number:

                 Email: __________________________________________________

                 Date Completed:
         This Supplemental Ballot is not, and may not be deemed to be, (a) a proof of claim or equity
interest or an assertion of a claim or equity interest, or (b) an admission by the Debtors or the other
Proponents of the Third Amended DCL Plan of the nature, validity, or amount of any Claim, and does not
signify that your Claim has been or will be Allowed.

 YOUR SUPPLEMENTAL BALLOT MUST BE ACTUALLY RECEIVED BY THE VOTING
 AGENT ON OR BEFORE 4:00 P.M. EASTERN TIME ON THE SUPPLEMENTAL VOTING
 DEADLINE (JANUARY 20, 2012), OR YOUR VOTE WILL NOT BE COUNTED AS A VOTE
 TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN, AND YOUR ELECTIONS
 WILL NOT BE VALID. SUPPLEMENTAL BALLOTS SUBMITTED BY FACSIMILE OR
 OTHER ELECTRONIC SUBMISSION WILL NOT BE COUNTED, AND YOUR ELECTIONS
 WILL NOT BE VALID.

 PRIOR VOTES AND ELECTIONS MADE ON THE THIRD AMENDED DCL PLAN, OR
 OTHER PLANS OF REORGANIZATION FOR THE DEBTORS, BY HOLDERS OF OTHER
 PARENT CLAIMS WILL NOT BE RE-COUNTED. THEREFORE, YOU MUST BE SURE
 THAT THE SUPPLEMENTAL BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE
 THE SUPPLEMENTAL VOTING DEADLINE.

IF YOU HAVE ANY QUESTIONS REGARDING THIS SUPPLEMENTAL BALLOT OR THE
PROCEDURES FOR VOTING ON THE THIRD AMENDED DCL PLAN, OR IF YOU NEED AN
ADDITIONAL SUPPLEMENTAL BALLOT OR ADDITIONAL COPIES OF THE
SUPPLEMENTAL DISCLOSURE DOCUMENT, THE THIRD AMENDED DCL PLAN, OR
OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE VOTING AGENT AT (888) 287-
7568 OR AT TRIBUNEVOTE@EPIQSYSTEMS.COM.
YOU MAY USE THE PRE-PAID RETURN ENVELOPE PROVIDED WITH THIS
SUPPLEMENTAL BALLOT, OR YOU MAY RETURN YOUR SUPPLEMENTAL BALLOT BY
PERSONAL DELIVERY, OVERNIGHT COURIER, OR FIRST-CLASS MAIL TO THE
VOTING AGENT AT THE FOLLOWING ADDRESS:
If By Mail:                                            If By Personal Delivery or Overnight Courier:

Tribune Company Ballot Processing Center               Tribune Company Ballot Processing Center
c/o Epiq Bankruptcy Solutions, LLC                     c/o Epiq Bankruptcy Solutions
FDR Station, P.O. Box 5014                             757 Third Avenue, Third Floor
New York, NY 10150-5014                                New York, NY 10017




                                                   5
             Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 108 of 147



                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


           JOINT INSTRUCTIONS FOR COMPLETING THE SUPPLEMENTAL BALLOT
                  TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN

THESE INSTRUCTIONS EXPLAIN HOW TO COMPLETE THE SUPPLEMENTAL BALLOT
ENCLOSED IN THE RESOLICITATION PACKAGE FOR VOTING TO ACCEPT OR REJECT
      THE THIRD AMENDED DCL PLAN. PLEASE READ AND FOLLOW THESE
 INSTRUCTIONS CAREFULLY SO THAT YOUR VOTES AND ELECTIONS RESPECTING
             THE THIRD AMENDED DCL PLAN WILL BE COUNTED.
                                      Why You Have Received a Supplemental Ballot
         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide, among
other things, for procedures for certain Holders of Claims against Tribune Company and/or its
subsidiaries in the above-captioned Chapter 11 Cases (collectively, the “Debtors”) to vote to accept or
reject the Third Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries


1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
          Case 08-13141-BLS              Doc 10274-3         Filed 11/18/11         Page 109 of 147



Proposed By the Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management,
L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”)
and to make certain elections called for under such Plan. Capitalized terms used but not defined in these
Instructions have the meanings ascribed to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        The Resolicitation Order provides, among other things, that Holders of General Unsecured
Claims in the Subsidiary Revoting Classes2 may re-vote on the Third Amended DCL Plan and may make
elections thereunder.
          These Joint Instructions apply only to the Supplemental Ballots transmitted to Holders of Other
Parent Claims, Holders of EGI-TRB LLC Notes Claims, Holders of PHONES Notes Claims that are on
account of PHONES Notes purportedly put to Tribune Company for exchange but not paid in cash prior
to the filing of the Debtors’ chapter 11 cases (the “PHONES Notes Exchange Claims”), and Holders of
General Unsecured Claims in the Subsidiary Revoting Classes. If you hold other Claims against Tribune
Company and those Claims are in Classes entitled to re-vote for purposes of the Third Amended DCL
Plan, you will receive separate Supplemental Ballots to vote such Claims.
         You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors with
respect to your Claims. Please be aware that your votes on and elections under the earlier versions of the
Third Amended DCL Plan and other plans of reorganization are not being counted for purposes of the
Third Amended DCL Plan. Accordingly, if you wish to have your vote on and elections under the Third
Amended DCL Plan counted, you must complete and return this Supplemental Ballot as provided in these
Instructions.
     PURSUANT TO THE THIRD AMENDED DCL PLAN, IMPAIRED CLASSES OF
CLAIMS FOR WHICH NO VALID BALLOTS ARE RECEIVED WILL BE DEEMED TO
ACCEPT THE THIRD AMENDED DCL PLAN.
                    Materials that You Have Been Sent with the Supplemental Ballot
        You have been sent various materials to assist you in deciding how to vote on the Third Amended
DCL Plan (collectively, the “Resolicitation Package”). In addition to the Supplemental Ballot, the
Resolicitation Package contains the following:
                 a copy of the Third Amended DCL Plan;
                 a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that
                  describes the modifications to the Third Amended DCL Plan that have been made since
                  the prior solicitation of votes and elections on such Plan. The Supplemental Disclosure
                  Document has been approved by the Bankruptcy Court as a supplement to the previously-
                  distributed Disclosure Documents3 to provide information to the Holders of Claims
                  against the Debtors for deciding how to vote on the Third Amended DCL Plan;

2
 The Subsidiary Revoting Classes are the Classes of General Unsecured Claims against certain Non-Guarantor
Subsidiary Debtors (Classes 2E, 4E through 7E, 10E, 12E through 15E, 18E through 20E, 22E through 38E, 40E,
42E, 43E, and 46E through 49E).
3
 See General Disclosure Statement dated December 15, 2010 [Docket No. 7232] (the “General Disclosure
Statement”), which contains a general description of (among other things) the Debtors, their respective businesses
and their reorganization proceedings; (ii) the Specific Disclosure Statement Relating to First Amended Joint Plan of
Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official Committee of
Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,
N.A. [Docket No. 7135] (the “Specific Disclosure Statement”), which contains a detailed description of (among
other things) the provisions of the First Amended DCL Plan, including those provisions that are retained in the Third

                                                         2
          Case 08-13141-BLS            Doc 10274-3         Filed 11/18/11       Page 110 of 147




                notices respecting the hearing before the Bankruptcy Court to consider confirmation of
                 the Third Amended DCL Plan; and
                a copy of the Resolicitation Order (without exhibits). The Resolicitation Order contains
                 important information regarding the process of voting on the Third Amended DCL Plan
                 and how votes on the Third Amended DCL Plan will be tabulated.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your votes on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
        If you would like to receive additional copies of the Third Amended DCL Plan, the Supplemental
Disclosure Document, or any other materials relating to the Third Amended DCL Plan, you may obtain
copies without charge by visiting http://chapter11.epiqsystems.com/tribune or by contacting Epiq
Bankruptcy Solutions LLC (the “Voting Agent”) at (888) 287-7568 or tribunevote@epiqsystems.com.
                   Deadline for Returning Supplemental Ballots to the Voting Agent
        You must complete, sign, and date your Supplemental Ballot and return it to the Voting Agent in
the enclosed envelope so that it is actually received by the Voting Agent by no later than January 20,
2012 at 4:00 p.m. (Eastern Time) the (“Supplemental Voting Deadline”). If you do not return your
Supplemental Ballot so that it is actually received by the Voting Agent by the Supplemental Voting
Deadline, the votes reflected on your Supplemental Ballot will not be counted, and the elections reflected
on your Supplemental Ballot will not be valid.
                               How to Complete Your Supplemental Ballot
        The following are step-by-step instructions for how to complete your Supplemental Ballot for
voting on the Third Amended DCL Plan and making the elections called for thereunder:
ITEM 1:          Amount of Claim.
         Please certify the amount of your Claim as of December 12, 2011 (the “Supplemental Record
Date”). By certifying the amount in Item 1, you are certifying that the party submitting the Supplemental
Ballot is the Holder, as of the Supplemental Record Date, of a Claim in the aggregate unpaid amount set
forth in Item 1 of the Supplemental Ballot. The preprinted amount of the Claim set forth in Item 1 of the
Supplemental Ballot will control for voting purposes. If you do not agree with the amount preprinted on
Item 1 of the Supplemental Ballot, please see “Questions Concerning Your Claim Amount” below.
ITEM 1A:         Convenience Class Election (Optional).
         Item 1A applies only to the Holders of Class 1F Other Parent Claims against Tribune Company.
If your Supplemental Ballot relates to a Claim in any other Class, your Supplemental Ballot will not
contain the Convenience Class Election described here. If your Supplemental Ballot does not relate to a
Class 1F Other Parent Claim, your Supplemental Ballot will indicate that Item 1A has been

Amended DCL Plan; and (iii) the Explanatory Statement Relating to Modified Elections Under Second Amended
Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official
Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan
Chase Bank, N.A. (as modified April 26, 2011) [Docket No. 8754] (the “Explanatory Statement”), which contains a
description of (among other things) certain elections offered under the Second Amended DCL Plan (the General
Disclosure Statement, the Specific Disclosure Statement, the Explanatory Statement, and the Supplemental
Disclosure Document, collectively, the “Disclosure Documents”).



                                                       3
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 111 of 147



“[Intentionally Omitted].” If your Supplemental Ballot states“[Intentionally Omitted]” at Item 1A,
please skip Item 1A and move on to Item 2 below.
         You should check this box if you are the Holder of a Class 1F Other Parent Claim and you wish
to have that Claim treated as a Class 1G Convenience Claim. If you make this election, your Class 1F
Other Parent Claim will be reduced in amount to One Thousand Dollars ($1,000) under the Third
Amended DCL Plan. In addition, if you check the box in Item 1A, (a) such election is an irrevocable and
legally binding obligation; (b) your Claim will receive treatment set forth in the Third Amended DCL
Plan for Class 1G Convenience Claims instead of the treatment afforded to Class 1F Other Parent Claims;
(c) your vote to accept or reject the Third Amended DCL Plan will not be counted; and (d) you will be
deemed to grant the releases set forth in Section 11.2.2 of the Third Amended DCL Plan unless you elect
not to grant such releases by checking the appropriate box on the Supplemental Ballot.
ITEM 2:         Vote to Accept or Reject the Third Amended DCL Plan.
         Please cast your vote to accept or reject the Third Amended DCL Plan by checking the applicable
box in Item 2. Please note that you must vote the entire amount of your Claim to accept or reject the
Third Amended DCL Plan; in other words, you may not vote part of your Claim to accept and part of
your Claim to reject the Third Amended DCL Plan.
         If the Third Amended DCL Plan is confirmed by the Bankruptcy Court and becomes effective, it
will be binding upon you whether or not you vote to accept or reject the Plan or abstain from voting on
the Plan.
         Please be aware that a vote to accept the Third Amended DCL Plan is a vote to grant the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan, unless you elect not to grant such releases by
checking the applicable box on the Supplemental Ballot. If you vote to reject the Third Amended DCL
Plan, you may elect to grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan by
checking the applicable box on your Supplemental Ballot. The Third Amended DCL Plan provides that
each Person (a) that has voted to accept the Plan and has not opted out from granting the releases, (b) that
has voted to reject the Plan but has opted to grant the releases, (c) that is deemed to accept the Plan and
has been provided an opportunity but has not opted out of granting the releases, or (d) who otherwise
agrees to provide the releases, shall be deemed to have unconditionally released each and all of the
Released Parties of and from any and all claims, obligations, suits, judgments, damages, debts, rights,
remedies, causes of action and liabilities of any nature whatsoever (including, without limitation, the
LBO-Related Causes of Action and those arising under the Bankruptcy Code, including any avoidance
claim), whether known or unknown, foreseen or unforeseen, liquidated or unliquidated, matured or
unmatured, existing or hereafter arising, in law, equity, or otherwise, that are or may be based in whole or
in part upon any act, omission, transaction, event or other occurrence taking place or existing on or before
the Effective Date that are in connection with the Debtors or any of them, or their respective assets,
property and Estates, the Chapter 11 Cases or the Plan, Disclosure Documents or the Restructuring
Transactions (as such terms are defined in the Third Amended DCL Plan), except as otherwise provided
in Section 11.2.2 of the Third Amended DCL Plan.
ITEM 3:         Release Elections (Optional).
        If you vote to accept the Third Amended DCL Plan, you are deemed to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt out of granting those
releases. If you vote to reject the Third Amended DCL Plan, you are deemed not to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt in to granting those releases.
If you do not return a Supplemental Ballot, you are deemed not to grant the releases in Section 11.2.2 of
the Third Amended DCL Plan unless you advise the Voting Agent in writing that you elect to grant the
releases contained in Section 11.2.2 of the Third Amended DCL Plan.



                                                     4
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 112 of 147



        If you voted to accept the Third Amended DCL Plan but wish to opt out of granting the releases
in Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3. Similarly, if you vote to reject the Third Amended DCL Plan but wish to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3.
         If you either (i) vote to accept the Third Amended DCL Plan and do not check the box in Item 3
opting not to grant the Section 11.2.2 releases, or (ii) vote to reject the Third Amended DCL Plan and
check the box in Item 3 opting to grant the Section 11.2.2 releases, you will have consented to the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan to the fullest extent permitted by applicable
law. If you do not grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan,
you will not receive the benefit of the releases set forth in the Third Amended DCL Plan.
ITEM 4:          Other Parent Claim Alternative Treatment Election.
         Item 4 applies only to the Holders of Class 1F Other Parent Claims against Tribune Company. If
your Supplemental Ballot does not relate to a Class 1F Other Parent Claim, your Supplemental Ballot
will indicate that Item 4 has been “[Intentionally Omitted].” If your Supplemental Ballot
states“[Intentionally Omitted]” at Item 4, please skip Item 4 and move on to Item 5 below.
         The Third Amended DCL Plan gives the Holders of Class 1F Other Parent Claims the right to
elect between four alternative treatments for purposes of distribution on account of Allowed Other Parent
Claims, which are described in Section 3.2.6(c) of the Third Amended DCL Plan. The alternative
treatments provided for under Section 3.2.6(c) of the Third Amended DCL Plan are identical to those
provided for under the prior version of such Plan, provided, however, that the adjudication and/or
resolution of certain Allocation Disputes (as defined in the Third Amended DCL Plan) could potentially
affect the distributions to which the Holders of Other Parent Claims are entitled under the Third Amended
DCL Plan. Additional information regarding the Allocation Disputes can be found in Section 5.18 and
Exhibit 5.18 the Third Amended DCL Plan, and the Supplemental Disclosure Document.
         If you wish to receive the treatment set forth in Section 3.2.6(c)(i) of the Third Amended DCL
Plan, please check the box in Item 4A. If you wish to receive the treatment set forth in Section 3.2.6(c)(ii)
of the Third Amended DCL Plan, please check the box in Item 4B. If you wish to receive the treatment
set forth in Section 3.2.6(c)(iii) of the Third Amended DCL Plan, please check the box in Item 4C. You
may only select one treatment option. If you do not submit a Supplemental Ballot, or submit a
Supplemental Ballot but do not check the box in Item 4, you will have consented to the treatment set forth
in Section 3.2.6(c)(iv) of the Third Amended DCL Plan for your Class 1F Other Parent Claim.
        If you elect to receive the Alternative Treatment in Section 3.2.6(c)(ii), (iii), or (iv) of the Third
Amended DCL Plan and you elect not to assign your Disclaimed State Law Avoidance Claims to the
Creditors’ Trust, you will not receive the Pro Rata share of Class 1F Creditors’ Trust Interests on account
of your Other Parent Claims.
ITEM 5:          Election Not to Transfer Disclaimed State Law Avoidance Claims (Optional).
         Item 5 applies only to the Other Parent Claims and EGI-TRB LLC Notes Claims. If your
Supplemental Ballot relates to a General Unsecured Claim in the Subsidiary Revoting Classes, your
Supplemental Ballot will indicate that Item 5 has been “[Intentionally Omitted].” If your Supplemental
Ballot states“[Intentionally Omitted]” at Item 5, please skip Item 5 and move on to Item 6.
         Section 14.3.1 of the Third Amended DCL Plan provides as a default that Holders of certain
Claims against Tribune Company, including Other Parent Claims and EGI-TRB LLC Notes Claims, will
transfer Disclaimed State Law Avoidance Claims to the Creditors’ Trust, which is to be established under
the Third Amended DCL Plan. You have the right to opt out of this transfer under Section 14.3.1 of the
Third Amended DCL Plan. If a Holder of any such Claim wishes to opt out of this transfer, it must check


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          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 113 of 147



the box in Item 5. If a Holder of a Claim against Tribune Company checks the box not to transfer its
Disclaimed State Law Avoidance Claim, it will be “opting out” of contributing all Disclaimed State Law
Avoidance Claims it now holds or may hold in the future, which Disclaimed State Law Avoidance Claims
would otherwise be prosecuted on such Holder’s behalf by the Creditors’ Trust pursuant to Section 14.3.1
of the Third Amended DCL Plan. If a Holder of a Claim against Tribune Company elects not to transfer
its Disclaimed State Law Avoidance Claims, such Holder will not be entitled to receive Creditors’ Trust
Interests and, accordingly, will not be entitled to share in the proceeds of any recoveries ultimately
obtained by the Creditors’ Trust.
         If a Holder of a Claim against Tribune Company does not check the box in Item 5 and consents to
the transfer of its Disclaimed State Law Avoidance Claim to the Creditors’ Trust, such Holder will be
deemed, pursuant to Section 14.3.1 of the Third Amended DCL Plan, to have, as of the Effective Date of
the Third Amended DCL Plan, contributed all of such Holder’s Disclaimed State Law Avoidance Claims
that it now holds or may hold in the future to the Creditors’ Trust in exchange for Creditors’ Trust
Interests. The Creditors’ Trust Interests may entitle such Holder to share in the proceeds of any recovery
ultimately obtained by the Creditors’ Trust. If a Holder of a Claim against Tribune Company does
not submit a Supplemental Ballot, such Holder will be deemed to have transferred all of its
Disclaimed State Law Avoidance Claims to the Creditors’ Trust and, accordingly, will receive
Creditors’ Trust Interests and may be entitled to share in the proceeds of recoveries obtained by
the Creditors’ Trust, if any. For additional information regarding the Creditors’ Trust, please see
Section 14.3.1 of the Third Amended DCL Plan.
ITEM 6:         Certifications.
        Please review and complete the certifications in Item 6. Your original signature is required on the
Supplemental Ballot for your votes on the Third Amended DCL Plan and your elections under the Third
Amended DCL Plan to count. In addition, in Item 6, if you are completing the Supplemental Ballot on
behalf of an entity, indicate your relationship with such entity and the capacity in which you are signing.
You may be requested at a later time to provide proof of your authorization to so sign. In addition, please
provide your name and mailing address if different from that set forth on the mailing label, or if no
mailing label is attached to the Supplemental Ballot.
                       Returning Your Supplemental Ballot to the Voting Agent
         Once you have completed your Supplemental Ballot in accordance with the foregoing
instructions, please return the completed Supplemental Ballot to the Voting Agent at the appropriate
address specified in your Supplemental Ballot so that the Supplemental Ballot is actually received by the
Voting Agent before the Supplemental Voting Deadline.
        No Electronic Transmissions. Supplemental Ballots submitted by facsimile or other electronic
transmission will not be counted. In addition, please note that if your Supplemental Ballot is illegible or
contains insufficient information to permit the identification of the Holder of the Claim, your
Supplemental Ballot will not be counted. Do not mail your Supplemental Ballots directly to the Debtors
or to any of the Proponents of the Third Amended DCL Plan.
         No Withdrawal. After the Supplemental Voting Deadline, unless you obtain the prior consent of
the Proponents of the Third Amended DCL Plan or Bankruptcy Court approval, you may not (i) withdraw
or modify your Supplemental Ballot in any way, (ii) change your vote to accept or reject Third Amended
DCL Plan, (iii) change your release or treatment elections (if applicable), or (iv) change your election not
to transfer your Disclaimed State Law Avoidance Claims to the Creditors’ Trust (if applicable).
                              Questions Concerning Your Claim Amount
       If you disagree with the amount of your Claim set forth in Item 1 of the Supplemental Ballot, you
may ask the Bankruptcy Court to allow your Claim solely for voting purposes in a different amount. To


                                                     6
         Case 08-13141-BLS           Doc 10274-3         Filed 11/18/11      Page 114 of 147



have your claim allowed solely for voting purposes under the Third Amended DCL Plan in a different
amount, you must serve on the Proponents of the Third Amended DCL Plan (at the addresses listed on
page 1 of the Third Amended DCL Plan) and file with the Bankruptcy Court, on or before January [•],
2012, a motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for
purposes of voting (a “3018 Motion”).
         A 3018 Motion must set forth with particularity the amount and classification in which you
believe your Claim should be allowed for voting purposes only, and the evidence in support of your
belief. If you file a 3018 Motion by the deadline above, your Supplemental Ballot will be counted (a) in
the amount established by the Bankruptcy Court in an order entered on or before the Supplemental Voting
Deadline, or (b) if such an order has not been entered by the Supplemental Voting Deadline and unless
the Proponents of the Third Amended DCL Plan have come to an agreement with you as to the relief
requested in the 3018 Motion, in an amount equal to the preprinted amount on the ballot or otherwise in
accordance with the tabulation rules set forth in the Resolicitation Order. January [•], 2012, at [•]:00
[•]a.m. (Eastern Time) has been established as the date and time for a hearing to consider any and all
3018 Motions.
        Additional Questions. If you have questions concerning the ballots or the procedures for voting
to accept or reject the Third Amended DCL Plan, or if you need an additional Supplemental Ballot or
additional copies of other materials in the Resolicitation Package, please contact the Voting Agent at 888-
287-7568 or tribunevote@epiqsystems.com. The Materials in the Resolicitation Package may also be
obtained free of charge by visiting http://chapter11.epiqsystems.com/tribune.
         The Supplemental Ballot is Not a Proof of Claim or Interest. The Supplemental Ballot is not,
and may not be deemed to be (a) a proof of claim or equity interest or an assertion of a claim or equity
interest, or (b) an admission by the Debtors or the other Proponents of the Third Amended DCL Plan of
the nature, validity, or amount of any Claim, and does not signify that your claim has been or will be
Allowed.




                                                     7
            Case 08-13141-BLS   Doc 10274-3   Filed 11/18/11   Page 115 of 147




                                      EXHIBIT E

                              Forms of Supplemental Ballots
                        for Holders of EGI-TRB LLC Notes Claims




CH1 6333435v.6
             Case 08-13141-BLS                     Doc 10274-3              Filed 11/18/11              Page 116 of 147



                              EGI-TRB LLC Notes Claims – Third Amended DCL Plan

                                       UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

In re:                                                                         Chapter 11

TRIBUNE COMPANY, et al.,1                                                      Case No. 08-13141 (KJC)

                                            Debtors.                           Jointly Administered


          SUPPLEMENTAL BALLOT FOR HOLDERS OF EGI-TRB LLC NOTES CLAIMS
                 AGAINST TRIBUNE COMPANY TO ACCEPT OR REJECT
                          THE THIRD AMENDED DCL PLAN

         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide for, among
other things, procedures for Holders of EGI-TRB LLC Notes Claims to vote to accept or reject the Third
Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries Proposed By the
Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo,
Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”) and to make
certain elections called for under such Plan.
        You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors.

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
          Case 08-13141-BLS          Doc 10274-3        Filed 11/18/11      Page 117 of 147



Please be aware that your votes on and elections under the earlier versions of the Third Amended DCL
Plan and other plans of reorganization with respect to your EGI-TRB LLC Notes Claim are not being
counted for purposes of the Third Amended DCL Plan. Accordingly, if you wish to have your vote on
and elections under the Third Amended DCL Plan counted, you must complete and return this
Supplemental Ballot so that it is actually received by the Voting Agent by no later than January 20,
2012 at 4:00 p.m. (Eastern Time) (the “Supplemental Voting Deadline”), in accordance with the
attached Instructions.
         You have received with this Supplemental Ballot a copy of the Third Amended DCL Plan, a
Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that describes the
modifications to the Third Amended DCL Plan that have been made since the prior solicitation of votes
on and elections under such Plan, a notice respecting the hearing before the Bankruptcy Court to consider
confirmation of the Third Amended DCL Plan, and a copy of the Resolicitation Order (without exhibits)
(collectively, the “Resolicitation Package”). Capitalized terms used but not defined in this Supplemental
Ballot have the meanings given to them in (i) the Third Amended DCL Plan, (ii) the Supplemental
Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your vote on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
        This Supplemental Ballot is only to be used for voting your EGI-TRB LLC Notes Claims (Class
1I Claims against Tribune Company). If you hold other Claims against Tribune Company or the
Subsidiary Debtors in the Debtors’ Chapter 11 Cases and those Claims are in Classes entitled to re-vote
for purposes of the Third Amended DCL Plan, you will receive separate Supplemental Ballots to vote
such Claims.
     PRIOR TO COMPLETING THIS SUPPLEMENTAL BALLOT, PLEASE REFER TO
THE ENCLOSED INSTRUCTIONS WITH THIS SUPPLEMENTAL BALLOT FOR FURTHER
EXPLANATION ON HOW TO COMPLETE THE ITEMS SET FORTH BELOW.
        To vote to accept or reject the Third Amended DCL Plan and, if desired, make the elections
called for under the Third Amended DCL Plan, please complete the following:
ITEM 1.     AMOUNT OF EGI-TRB LLC NOTES CLAIM. The undersigned certifies that as of
            December 12, 2011 (the “Supplemental Record Date”), the undersigned was the Holder of an
            EGI-TRB LLC Notes Claim in the aggregate unpaid amount set forth below.
                                          $ _______________

            The preprinted amount of your Claim as set forth above controls for voting purposes.
ITEM 1A. [Intentionally Omitted].
ITEM 2.     VOTE TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN. The Holder of the
            EGI-TRB LLC Notes Claim set forth above hereby votes with respect to such Claim on the
            Third Amended DCL Plan as follows (check one box only):

              to ACCEPT the                              to REJECT the
               Third Amended DCL Plan                      Third Amended DCL Plan

ITEM 3.     RELEASE ELECTIONS (OPTIONAL). If you return a Supplemental Ballot and vote to
            accept the Third Amended DCL Plan, you will be deemed to have granted the releases


                                                    2
           Case 08-13141-BLS              Doc 10274-3          Filed 11/18/11         Page 118 of 147



             contained in Section 11.2.2 of the Plan unless you elect not to grant such releases by checking
             the applicable box below. 2 If you vote to reject the Third Amended DCL Plan, you may elect
             to grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan by
             checking the applicable box below. If you do not return your Supplemental Ballot, you will
             be deemed not to have granted such releases unless you advise the Voting Agent in writing
             that you elect to grant the releases contained in Section 11.2.2 of the Third Amended DCL
             Plan. Election to grant such releases is at your option. If you do not grant the releases
             contained in Section 11.2.2 of the Third Amended DCL Plan, you shall not receive the
             benefit of the releases set forth in Section 11.2.2 of the Third Amended DCL Plan.
                      The undersigned has voted to accept the Third Amended DCL Plan in Item 2 above
                       but elects not to grant the releases contained in Section 11.2.2 of the Third Amended
                       DCL Plan.
                      The undersigned has voted to reject the Third Amended DCL Plan in Item 2 above
                       but elects to grant the releases contained in Section 11.2.2 of the Third Amended
                       DCL Plan.
ITEM 4.      [Intentionally Omitted].
ITEM 5.      ELECTION NOT TO TRANSFER DISCLAIMED STATE LAW AVOIDANCE CLAIMS
             (OPTIONAL). The Third Amended DCL Plan, at Section 14.3.1 thereof, permits you to opt
             out of the transfer of Disclaimed State Law Avoidance Claims that you may have to the
             Creditors’ Trust under the Third Amended DCL Plan. If you wish to opt out of the transfer of
             any Disclaimed State Law Avoidance Claims you may have, please check the box below.

                      The undersigned elects not to transfer its Disclaimed State Law Avoidance Claims to
                       the Creditors’ Trust under Section 14.3.1 of the Third Amended DCL Plan.
ITEM 6.      CERTIFICATION. By signing this Supplemental Ballot, the Holder of the EGI-TRB LLC
             Notes Claim identified in Item 1 certifies that it:
             a.        is the Holder of the EGI-TRB LLC Notes Claim to which this Supplemental Ballot
                       pertains or is an authorized signatory and has full power and authority to vote to
                       accept or reject the Third Amended DCL Plan and make the elections called for on
                       this Supplemental Ballot;
             b.        has been provided with a copy of the Third Amended DCL Plan, the Supplemental
                       Disclosure Document, and the Resolicitation Order and acknowledges that the vote
                       and election set forth on this Supplemental Ballot are subject to all of the terms and
                       conditions set forth in the Third Amended DCL Plan, the Supplemental Disclosure
                       Document, and the Resolicitation Order; and
2
  Section 11.2.2 of the Third Amended DCL Plan provides that each Person (a) that has voted to accept the Plan and
has not opted out from granting the releases, (b) that has voted to reject the Plan but has opted to grant the releases,
(c) that is deemed to accept the Plan and has been provided an opportunity but has not opted out of granting the
releases, or (d) who otherwise agrees to provide the releases, shall be deemed to have unconditionally released each
and all of the Released Parties of and from any and all claims, obligations, suits, judgments, damages, debts, rights,
remedies, causes of action and liabilities of any nature whatsoever (including, without limitation, the LBO-Related
Causes of Action and those arising under the Bankruptcy Code, including any avoidance claim), whether known or
unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured, existing or hereafter arising, in
law, equity, or otherwise, that are or may be based in whole or in part upon any act, omission, transaction, event or
other occurrence taking place or existing on or before the Effective Date that are in connection with the Debtors or
any of them, or their respective assets, property and Estates, the Chapter 11 Cases or the Plan, Disclosure Statement
or the Restructuring Transactions (as such terms are defined in the Third Amended DCL Plan), except as otherwise
provided in Section 11.2.2 of the Third Amended DCL Plan.


                                                           3
         Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 119 of 147



           c.       has not submitted any other Supplemental Ballot(s) on account of the EGI-TRB LLC
                    Notes Claim voted herein that are inconsistent with the votes and elections set forth
                    in this Supplemental Ballot or that, as limited by the terms of the Resolicitation Order
                    and the instructions attached hereto, if such other Supplemental Ballot(s) was/were
                    previously submitted, they either have been or are hereby revoked or changed to
                    reflect the votes set forth herein.
                 Name:
                          (Print or Type)
                 Signature:

                 By:
                          (If Applicable)

                 Title:
                          (If Applicable)

                 Street Address:

                 ________________________________________________________

                 City, State, Zip Code:

                 Telephone Number:

                 Email: __________________________________________________

                 Date Completed:
         The Supplemental Ballot is not, and may not be deemed to be, (a) a proof of claim or equity
interest or an assertion of a claim or equity interest, or (b) an admission by the Debtors or the other
Proponents of the Third Amended DCL Plan of the nature, validity, or amount of any Claim and does not
signify that yor claim has been or will be Allowed.

 YOUR SUPPLEMENTAL BALLOT MUST BE ACTUALLY RECEIVED BY THE VOTING
 AGENT ON OR BEFORE 4:00 P.M. EASTERN TIME ON THE SUPPLEMENTAL VOTING
 DEADLINE (JANUARY 20, 2012), OR YOUR VOTE WILL NOT BE COUNTED AS A VOTE
 TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN, AND YOUR ELECTIONS
 WILL NOT BE VALID. SUPPLEMENTAL BALLOTS SUBMITTED BY FACSIMILE OR
 OTHER ELECTRONIC SUBMISSION WILL NOT BE COUNTED, AND YOUR ELECTIONS
 WILL NOT BE VALID.

 PRIOR VOTES AND ELECTIONS MADE ON THE THIRD AMENDED DCL PLAN, OR
 OTHER PLANS OF REORGANIZATION FOR THE DEBTORS, BY HOLDERS OF EGI-TRB
 LLC NOTES CLAIMS WILL NOT BE RE-COUNTED. THEREFORE, YOU MUST BE SURE
 THAT THE SUPPLEMENTAL BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE
 THE SUPPLEMENTAL VOTING DEADLINE.

IF YOU HAVE ANY QUESTIONS REGARDING THIS SUPPLEMENTAL BALLOT OR THE
PROCEDURES FOR VOTING ON THE THIRD AMENDED DCL PLAN, OR IF YOU NEED AN
ADDITIONAL SUPPLEMENTAL BALLOT OR ADDITIONAL COPIES OF THE


                                                    4
         Case 08-13141-BLS        Doc 10274-3    Filed 11/18/11     Page 120 of 147



SUPPLEMENTAL DISCLOSURE DOCUMENT, THE THIRD AMENDED DCL PLAN, OR
OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE VOTING AGENT AT (888) 287-
7568 OR AT TRIBUNEVOTE@EPIQSYSTEMS.COM.

YOU MAY USE THE PRE-PAID RETURN ENVELOPE PROVIDED WITH THIS
SUPPLEMENTAL BALLOT, OR YOU MAY RETURN YOUR SUPPLEMENTAL BALLOT BY
PERSONAL DELIVERY, OVERNIGHT COURIER, OR FIRST-CLASS MAIL TO THE
VOTING AGENT AT THE FOLLOWING ADDRESS:

If By Mail:                                     If By Personal Delivery or Overnight Courier:

Tribune Company Ballot Processing Center        Tribune Company Ballot Processing Center
c/o Epiq Bankruptcy Solutions, LLC              c/o Epiq Bankruptcy Solutions
FDR Station, P.O. Box 5014                      757 Third Avenue, Third Floor
New York, NY 10150-5014                         New York, NY 10017




                                            5
             Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 121 of 147



                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


           JOINT INSTRUCTIONS FOR COMPLETING THE SUPPLEMENTAL BALLOT
                  TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN

THESE INSTRUCTIONS EXPLAIN HOW TO COMPLETE THE SUPPLEMENTAL BALLOT
ENCLOSED IN THE RESOLICITATION PACKAGE FOR VOTING TO ACCEPT OR REJECT
      THE THIRD AMENDED DCL PLAN. PLEASE READ AND FOLLOW THESE
 INSTRUCTIONS CAREFULLY SO THAT YOUR VOTES AND ELECTIONS RESPECTING
             THE THIRD AMENDED DCL PLAN WILL BE COUNTED.
                                      Why You Have Received a Supplemental Ballot
         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide, among
other things, for procedures for certain Holders of Claims against Tribune Company and/or its
subsidiaries in the above-captioned Chapter 11 Cases (collectively, the “Debtors”) to vote to accept or
reject the Third Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries


1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
          Case 08-13141-BLS              Doc 10274-3         Filed 11/18/11         Page 122 of 147



Proposed By the Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management,
L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”)
and to make certain elections called for under such Plan. Capitalized terms used but not defined in these
Instructions have the meanings ascribed to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        The Resolicitation Order provides, among other things, that Holders of General Unsecured
Claims in the Subsidiary Revoting Classes2 may re-vote on the Third Amended DCL Plan and may make
elections thereunder.
          These Joint Instructions apply only to the Supplemental Ballots transmitted to Holders of Other
Parent Claims, Holders of EGI-TRB LLC Notes Claims, Holders of PHONES Notes Claims that are on
account of PHONES Notes purportedly put to Tribune Company for exchange but not paid in cash prior
to the filing of the Debtors’ chapter 11 cases (the “PHONES Notes Exchange Claims”), and Holders of
General Unsecured Claims in the Subsidiary Revoting Classes. If you hold other Claims against Tribune
Company and those Claims are in Classes entitled to re-vote for purposes of the Third Amended DCL
Plan, you will receive separate Supplemental Ballots to vote such Claims.
         You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors with
respect to your Claims. Please be aware that your votes on and elections under the earlier versions of the
Third Amended DCL Plan and other plans of reorganization are not being counted for purposes of the
Third Amended DCL Plan. Accordingly, if you wish to have your vote on and elections under the Third
Amended DCL Plan counted, you must complete and return this Supplemental Ballot as provided in these
Instructions.
     PURSUANT TO THE THIRD AMENDED DCL PLAN, IMPAIRED CLASSES OF
CLAIMS FOR WHICH NO VALID BALLOTS ARE RECEIVED WILL BE DEEMED TO
ACCEPT THE THIRD AMENDED DCL PLAN.
                    Materials that You Have Been Sent with the Supplemental Ballot
        You have been sent various materials to assist you in deciding how to vote on the Third Amended
DCL Plan (collectively, the “Resolicitation Package”). In addition to the Supplemental Ballot, the
Resolicitation Package contains the following:
                 a copy of the Third Amended DCL Plan;
                 a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that
                  describes the modifications to the Third Amended DCL Plan that have been made since
                  the prior solicitation of votes and elections on such Plan. The Supplemental Disclosure
                  Document has been approved by the Bankruptcy Court as a supplement to the previously-
                  distributed Disclosure Documents3 to provide information to the Holders of Claims
                  against the Debtors for deciding how to vote on the Third Amended DCL Plan;

2
 The Subsidiary Revoting Classes are the Classes of General Unsecured Claims against certain Non-Guarantor
Subsidiary Debtors (Classes 2E, 4E through 7E, 10E, 12E through 15E, 18E through 20E, 22E through 38E, 40E,
42E, 43E, and 46E through 49E).
3
 See General Disclosure Statement dated December 15, 2010 [Docket No. 7232] (the “General Disclosure
Statement”), which contains a general description of (among other things) the Debtors, their respective businesses
and their reorganization proceedings; (ii) the Specific Disclosure Statement Relating to First Amended Joint Plan of
Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official Committee of
Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,
N.A. [Docket No. 7135] (the “Specific Disclosure Statement”), which contains a detailed description of (among
other things) the provisions of the First Amended DCL Plan, including those provisions that are retained in the Third

                                                         2
          Case 08-13141-BLS            Doc 10274-3         Filed 11/18/11       Page 123 of 147




                notices respecting the hearing before the Bankruptcy Court to consider confirmation of
                 the Third Amended DCL Plan; and
                a copy of the Resolicitation Order (without exhibits). The Resolicitation Order contains
                 important information regarding the process of voting on the Third Amended DCL Plan
                 and how votes on the Third Amended DCL Plan will be tabulated.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your votes on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
        If you would like to receive additional copies of the Third Amended DCL Plan, the Supplemental
Disclosure Document, or any other materials relating to the Third Amended DCL Plan, you may obtain
copies without charge by visiting http://chapter11.epiqsystems.com/tribune or by contacting Epiq
Bankruptcy Solutions LLC (the “Voting Agent”) at (888) 287-7568 or tribunevote@epiqsystems.com.
                   Deadline for Returning Supplemental Ballots to the Voting Agent
        You must complete, sign, and date your Supplemental Ballot and return it to the Voting Agent in
the enclosed envelope so that it is actually received by the Voting Agent by no later than January 20,
2012 at 4:00 p.m. (Eastern Time) the (“Supplemental Voting Deadline”). If you do not return your
Supplemental Ballot so that it is actually received by the Voting Agent by the Supplemental Voting
Deadline, the votes reflected on your Supplemental Ballot will not be counted, and the elections reflected
on your Supplemental Ballot will not be valid.
                               How to Complete Your Supplemental Ballot
        The following are step-by-step instructions for how to complete your Supplemental Ballot for
voting on the Third Amended DCL Plan and making the elections called for thereunder:
ITEM 1:          Amount of Claim.
         Please certify the amount of your Claim as of December 12, 2011 (the “Supplemental Record
Date”). By certifying the amount in Item 1, you are certifying that the party submitting the Supplemental
Ballot is the Holder, as of the Supplemental Record Date, of a Claim in the aggregate unpaid amount set
forth in Item 1 of the Supplemental Ballot. The preprinted amount of the Claim set forth in Item 1 of the
Supplemental Ballot will control for voting purposes. If you do not agree with the amount preprinted on
Item 1 of the Supplemental Ballot, please see “Questions Concerning Your Claim Amount” below.
ITEM 1A:         Convenience Class Election (Optional).
         Item 1A applies only to the Holders of Class 1F Other Parent Claims against Tribune Company.
If your Supplemental Ballot relates to a Claim in any other Class, your Supplemental Ballot will not
contain the Convenience Class Election described here. If your Supplemental Ballot does not relate to a
Class 1F Other Parent Claim, your Supplemental Ballot will indicate that Item 1A has been

Amended DCL Plan; and (iii) the Explanatory Statement Relating to Modified Elections Under Second Amended
Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official
Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan
Chase Bank, N.A. (as modified April 26, 2011) [Docket No. 8754] (the “Explanatory Statement”), which contains a
description of (among other things) certain elections offered under the Second Amended DCL Plan (the General
Disclosure Statement, the Specific Disclosure Statement, the Explanatory Statement, and the Supplemental
Disclosure Document, collectively, the “Disclosure Documents”).



                                                       3
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 124 of 147



“[Intentionally Omitted].” If your Supplemental Ballot states“[Intentionally Omitted]” at Item 1A,
please skip Item 1A and move on to Item 2 below.
         You should check this box if you are the Holder of a Class 1F Other Parent Claim and you wish
to have that Claim treated as a Class 1G Convenience Claim. If you make this election, your Class 1F
Other Parent Claim will be reduced in amount to One Thousand Dollars ($1,000) under the Third
Amended DCL Plan. In addition, if you check the box in Item 1A, (a) such election is an irrevocable and
legally binding obligation; (b) your Claim will receive treatment set forth in the Third Amended DCL
Plan for Class 1G Convenience Claims instead of the treatment afforded to Class 1F Other Parent Claims;
(c) your vote to accept or reject the Third Amended DCL Plan will not be counted; and (d) you will be
deemed to grant the releases set forth in Section 11.2.2 of the Third Amended DCL Plan unless you elect
not to grant such releases by checking the appropriate box on the Supplemental Ballot.
ITEM 2:         Vote to Accept or Reject the Third Amended DCL Plan.
         Please cast your vote to accept or reject the Third Amended DCL Plan by checking the applicable
box in Item 2. Please note that you must vote the entire amount of your Claim to accept or reject the
Third Amended DCL Plan; in other words, you may not vote part of your Claim to accept and part of
your Claim to reject the Third Amended DCL Plan.
         If the Third Amended DCL Plan is confirmed by the Bankruptcy Court and becomes effective, it
will be binding upon you whether or not you vote to accept or reject the Plan or abstain from voting on
the Plan.
         Please be aware that a vote to accept the Third Amended DCL Plan is a vote to grant the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan, unless you elect not to grant such releases by
checking the applicable box on the Supplemental Ballot. If you vote to reject the Third Amended DCL
Plan, you may elect to grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan by
checking the applicable box on your Supplemental Ballot. The Third Amended DCL Plan provides that
each Person (a) that has voted to accept the Plan and has not opted out from granting the releases, (b) that
has voted to reject the Plan but has opted to grant the releases, (c) that is deemed to accept the Plan and
has been provided an opportunity but has not opted out of granting the releases, or (d) who otherwise
agrees to provide the releases, shall be deemed to have unconditionally released each and all of the
Released Parties of and from any and all claims, obligations, suits, judgments, damages, debts, rights,
remedies, causes of action and liabilities of any nature whatsoever (including, without limitation, the
LBO-Related Causes of Action and those arising under the Bankruptcy Code, including any avoidance
claim), whether known or unknown, foreseen or unforeseen, liquidated or unliquidated, matured or
unmatured, existing or hereafter arising, in law, equity, or otherwise, that are or may be based in whole or
in part upon any act, omission, transaction, event or other occurrence taking place or existing on or before
the Effective Date that are in connection with the Debtors or any of them, or their respective assets,
property and Estates, the Chapter 11 Cases or the Plan, Disclosure Documents or the Restructuring
Transactions (as such terms are defined in the Third Amended DCL Plan), except as otherwise provided
in Section 11.2.2 of the Third Amended DCL Plan.
ITEM 3:         Release Elections (Optional).
        If you vote to accept the Third Amended DCL Plan, you are deemed to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt out of granting those
releases. If you vote to reject the Third Amended DCL Plan, you are deemed not to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt in to granting those releases.
If you do not return a Supplemental Ballot, you are deemed not to grant the releases in Section 11.2.2 of
the Third Amended DCL Plan unless you advise the Voting Agent in writing that you elect to grant the
releases contained in Section 11.2.2 of the Third Amended DCL Plan.



                                                     4
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 125 of 147



        If you voted to accept the Third Amended DCL Plan but wish to opt out of granting the releases
in Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3. Similarly, if you vote to reject the Third Amended DCL Plan but wish to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3.
         If you either (i) vote to accept the Third Amended DCL Plan and do not check the box in Item 3
opting not to grant the Section 11.2.2 releases, or (ii) vote to reject the Third Amended DCL Plan and
check the box in Item 3 opting to grant the Section 11.2.2 releases, you will have consented to the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan to the fullest extent permitted by applicable
law. If you do not grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan,
you will not receive the benefit of the releases set forth in the Third Amended DCL Plan.
ITEM 4:          Other Parent Claim Alternative Treatment Election.
         Item 4 applies only to the Holders of Class 1F Other Parent Claims against Tribune Company. If
your Supplemental Ballot does not relate to a Class 1F Other Parent Claim, your Supplemental Ballot
will indicate that Item 4 has been “[Intentionally Omitted].” If your Supplemental Ballot
states“[Intentionally Omitted]” at Item 4, please skip Item 4 and move on to Item 5 below.
         The Third Amended DCL Plan gives the Holders of Class 1F Other Parent Claims the right to
elect between four alternative treatments for purposes of distribution on account of Allowed Other Parent
Claims, which are described in Section 3.2.6(c) of the Third Amended DCL Plan. The alternative
treatments provided for under Section 3.2.6(c) of the Third Amended DCL Plan are identical to those
provided for under the prior version of such Plan, provided, however, that the adjudication and/or
resolution of certain Allocation Disputes (as defined in the Third Amended DCL Plan) could potentially
affect the distributions to which the Holders of Other Parent Claims are entitled under the Third Amended
DCL Plan. Additional information regarding the Allocation Disputes can be found in Section 5.18 and
Exhibit 5.18 the Third Amended DCL Plan, and the Supplemental Disclosure Document.
         If you wish to receive the treatment set forth in Section 3.2.6(c)(i) of the Third Amended DCL
Plan, please check the box in Item 4A. If you wish to receive the treatment set forth in Section 3.2.6(c)(ii)
of the Third Amended DCL Plan, please check the box in Item 4B. If you wish to receive the treatment
set forth in Section 3.2.6(c)(iii) of the Third Amended DCL Plan, please check the box in Item 4C. You
may only select one treatment option. If you do not submit a Supplemental Ballot, or submit a
Supplemental Ballot but do not check the box in Item 4, you will have consented to the treatment set forth
in Section 3.2.6(c)(iv) of the Third Amended DCL Plan for your Class 1F Other Parent Claim.
        If you elect to receive the Alternative Treatment in Section 3.2.6(c)(ii), (iii), or (iv) of the Third
Amended DCL Plan and you elect not to assign your Disclaimed State Law Avoidance Claims to the
Creditors’ Trust, you will not receive the Pro Rata share of Class 1F Creditors’ Trust Interests on account
of your Other Parent Claims.
ITEM 5:          Election Not to Transfer Disclaimed State Law Avoidance Claims (Optional).
         Item 5 applies only to the Other Parent Claims and EGI-TRB LLC Notes Claims. If your
Supplemental Ballot relates to a General Unsecured Claim in the Subsidiary Revoting Classes, your
Supplemental Ballot will indicate that Item 5 has been “[Intentionally Omitted].” If your Supplemental
Ballot states“[Intentionally Omitted]” at Item 5, please skip Item 5 and move on to Item 6.
         Section 14.3.1 of the Third Amended DCL Plan provides as a default that Holders of certain
Claims against Tribune Company, including Other Parent Claims and EGI-TRB LLC Notes Claims, will
transfer Disclaimed State Law Avoidance Claims to the Creditors’ Trust, which is to be established under
the Third Amended DCL Plan. You have the right to opt out of this transfer under Section 14.3.1 of the
Third Amended DCL Plan. If a Holder of any such Claim wishes to opt out of this transfer, it must check


                                                      5
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 126 of 147



the box in Item 5. If a Holder of a Claim against Tribune Company checks the box not to transfer its
Disclaimed State Law Avoidance Claim, it will be “opting out” of contributing all Disclaimed State Law
Avoidance Claims it now holds or may hold in the future, which Disclaimed State Law Avoidance Claims
would otherwise be prosecuted on such Holder’s behalf by the Creditors’ Trust pursuant to Section 14.3.1
of the Third Amended DCL Plan. If a Holder of a Claim against Tribune Company elects not to transfer
its Disclaimed State Law Avoidance Claims, such Holder will not be entitled to receive Creditors’ Trust
Interests and, accordingly, will not be entitled to share in the proceeds of any recoveries ultimately
obtained by the Creditors’ Trust.
         If a Holder of a Claim against Tribune Company does not check the box in Item 5 and consents to
the transfer of its Disclaimed State Law Avoidance Claim to the Creditors’ Trust, such Holder will be
deemed, pursuant to Section 14.3.1 of the Third Amended DCL Plan, to have, as of the Effective Date of
the Third Amended DCL Plan, contributed all of such Holder’s Disclaimed State Law Avoidance Claims
that it now holds or may hold in the future to the Creditors’ Trust in exchange for Creditors’ Trust
Interests. The Creditors’ Trust Interests may entitle such Holder to share in the proceeds of any recovery
ultimately obtained by the Creditors’ Trust. If a Holder of a Claim against Tribune Company does
not submit a Supplemental Ballot, such Holder will be deemed to have transferred all of its
Disclaimed State Law Avoidance Claims to the Creditors’ Trust and, accordingly, will receive
Creditors’ Trust Interests and may be entitled to share in the proceeds of recoveries obtained by
the Creditors’ Trust, if any. For additional information regarding the Creditors’ Trust, please see
Section 14.3.1 of the Third Amended DCL Plan.
ITEM 6:         Certifications.
        Please review and complete the certifications in Item 6. Your original signature is required on the
Supplemental Ballot for your votes on the Third Amended DCL Plan and your elections under the Third
Amended DCL Plan to count. In addition, in Item 6, if you are completing the Supplemental Ballot on
behalf of an entity, indicate your relationship with such entity and the capacity in which you are signing.
You may be requested at a later time to provide proof of your authorization to so sign. In addition, please
provide your name and mailing address if different from that set forth on the mailing label, or if no
mailing label is attached to the Supplemental Ballot.
                       Returning Your Supplemental Ballot to the Voting Agent
         Once you have completed your Supplemental Ballot in accordance with the foregoing
instructions, please return the completed Supplemental Ballot to the Voting Agent at the appropriate
address specified in your Supplemental Ballot so that the Supplemental Ballot is actually received by the
Voting Agent before the Supplemental Voting Deadline.
        No Electronic Transmissions. Supplemental Ballots submitted by facsimile or other electronic
transmission will not be counted. In addition, please note that if your Supplemental Ballot is illegible or
contains insufficient information to permit the identification of the Holder of the Claim, your
Supplemental Ballot will not be counted. Do not mail your Supplemental Ballots directly to the Debtors
or to any of the Proponents of the Third Amended DCL Plan.
         No Withdrawal. After the Supplemental Voting Deadline, unless you obtain the prior consent of
the Proponents of the Third Amended DCL Plan or Bankruptcy Court approval, you may not (i) withdraw
or modify your Supplemental Ballot in any way, (ii) change your vote to accept or reject Third Amended
DCL Plan, (iii) change your release or treatment elections (if applicable), or (iv) change your election not
to transfer your Disclaimed State Law Avoidance Claims to the Creditors’ Trust (if applicable).
                              Questions Concerning Your Claim Amount
       If you disagree with the amount of your Claim set forth in Item 1 of the Supplemental Ballot, you
may ask the Bankruptcy Court to allow your Claim solely for voting purposes in a different amount. To


                                                     6
         Case 08-13141-BLS           Doc 10274-3         Filed 11/18/11      Page 127 of 147



have your claim allowed solely for voting purposes under the Third Amended DCL Plan in a different
amount, you must serve on the Proponents of the Third Amended DCL Plan (at the addresses listed on
page 1 of the Third Amended DCL Plan) and file with the Bankruptcy Court, on or before January [•],
2012, a motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for
purposes of voting (a “3018 Motion”).
         A 3018 Motion must set forth with particularity the amount and classification in which you
believe your Claim should be allowed for voting purposes only, and the evidence in support of your
belief. If you file a 3018 Motion by the deadline above, your Supplemental Ballot will be counted (a) in
the amount established by the Bankruptcy Court in an order entered on or before the Supplemental Voting
Deadline, or (b) if such an order has not been entered by the Supplemental Voting Deadline and unless
the Proponents of the Third Amended DCL Plan have come to an agreement with you as to the relief
requested in the 3018 Motion, in an amount equal to the preprinted amount on the ballot or otherwise in
accordance with the tabulation rules set forth in the Resolicitation Order. January [•], 2012, at [•]:00
[•]a.m. (Eastern Time) has been established as the date and time for a hearing to consider any and all
3018 Motions.
        Additional Questions. If you have questions concerning the ballots or the procedures for voting
to accept or reject the Third Amended DCL Plan, or if you need an additional Supplemental Ballot or
additional copies of other materials in the Resolicitation Package, please contact the Voting Agent at 888-
287-7568 or tribunevote@epiqsystems.com. The Materials in the Resolicitation Package may also be
obtained free of charge by visiting http://chapter11.epiqsystems.com/tribune.
         The Supplemental Ballot is Not a Proof of Claim or Interest. The Supplemental Ballot is not,
and may not be deemed to be (a) a proof of claim or equity interest or an assertion of a claim or equity
interest, or (b) an admission by the Debtors or the other Proponents of the Third Amended DCL Plan of
the nature, validity, or amount of any Claim, and does not signify that your claim has been or will be
Allowed.




                                                     7
            Case 08-13141-BLS     Doc 10274-3    Filed 11/18/11   Page 128 of 147




                                         EXHIBIT F

                                Forms of Supplemental Ballots
          for Holders of General Unsecured Claims in the Subsidiary Revoting Classes




CH1 6333435v.6
             Case 08-13141-BLS                     Doc 10274-3              Filed 11/18/11              Page 129 of 147


      General Unsecured Claims in the Subsidiary Revoting Classes– Third Amended DCL Plan

                                       UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

In re:                                                                         Chapter 11

TRIBUNE COMPANY, et al.,1                                                      Case No. 08-13141 (KJC)

                                            Debtors.                           Jointly Administered


         SUPPLEMENTAL BALLOT FOR HOLDERS OF GENERAL UNSECURED CLAIMS
                    IN THE SUBSIDIARY REVOTING CLASSES TO
                 ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN

         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide for, among
other things, procedures for Holders of General Unsecured Claims in Classes 2E, 4E through 7E, 10E,
12E through 15E, 18E through 20E, 22E through 38E, 40E, 42E, 43E, and 46E through 49E)
(collectively, the “Subsidiary Revoting Classes”) to vote to accept or reject the Third Amended Joint Plan
of Reorganization For Tribune Company and Its Subsidiaries Proposed By the Debtors, the Official
Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and
JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”) and to make certain elections called for
under such Plan.
        You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors.
Please be aware that your votes on and elections under the earlier versions of the Third Amended DCL

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
          Case 08-13141-BLS          Doc 10274-3        Filed 11/18/11      Page 130 of 147


Plan and other plans of reorganization with respect to your General Unsecured Claims are not being
counted for purposes of the Third Amended DCL Plan. Accordingly, if you wish to have your vote on
and elections under the Third Amended DCL Plan counted, you must complete and return this
Supplemental Ballot so that it is actually received by the Voting Agent by no later than January 20,
2012 at 4:00 p.m. (Eastern Time) (the “Supplemental Voting Deadline”), in accordance with the
attached Instructions.
         You have received with this Supplemental Ballot a copy of the Third Amended DCL Plan, a
Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that describes the
modifications to the Third Amended DCL Plan that have been made since the prior solicitation of votes
on and elections under such Plan, a notice respecting the hearing before the Bankruptcy Court to consider
confirmation of the Third Amended DCL Plan, and a copy of the Resolicitation Order (without exhibits)
(collectively, the “Resolicitation Package”). Capitalized terms used but not defined in this Supplemental
Ballot have the meanings given to them in (i) the Third Amended DCL Plan, (ii) the Supplemental
Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your vote on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
     PURSUANT TO THE THIRD AMENDED DCL PLAN, IF YOUR CLAIM IS IN A CLASS
OF CLAIMS IN WHICH NO VALID BALLOTS TO ACCEPT OR REJECT THE THIRD
AMENDED DCL PLAN ARE RECEIVED THEN SUCH CLASS OF CLAIMS WILL BE
DEEMED TO ACCEPT THE THIRD AMENDED DCL PLAN.
        This Supplemental Ballot is only to be used for voting your General Unsecured Claims in the
Subsidiary Revoting Classes. If you hold other Claims against Tribune Company or the Subsidiary
Debtors in the Debtors’ Chapter 11 Cases and those Claims are in Classes entitled to re-vote for purposes
of the Third Amended DCL Plan, you will receive separate Supplemental Ballots to vote such Claims.
     PRIOR TO COMPLETING THIS SUPPLEMENTAL BALLOT, PLEASE REFER TO
THE ENCLOSED INSTRUCTIONS WITH THIS SUPPLEMENTAL BALLOT FOR FURTHER
EXPLANATION ON HOW TO COMPLETE THE ITEMS SET FORTH BELOW.
        To vote to accept or reject the Third Amended DCL Plan and, if desired, make the elections
called for under the Third Amended DCL Plan, please complete the following:
ITEM 1.     AMOUNT OF GENERAL UNSECURED CLAIM IN THE SUBSIDIARY REVOTING
            CLASSES. The undersigned certifies that as of December 12, 2011 (the “Supplemental
            Record Date”), the undersigned was the Holder of a General Unsecured Claim in one of the
            Subsidiary Revoting Classes in the aggregate unpaid amount set forth below.
                                    Debtor _________________________
                                    Class __________________________
                                    $ ______________________________

            The preprinted amount of your Claim as set forth above controls for voting purposes.
ITEM 1A. [Intentionally Omitted].




                                                    2
           Case 08-13141-BLS              Doc 10274-3          Filed 11/18/11         Page 131 of 147


ITEM 2.      VOTE TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN. The Holder of the
             General Unsecured Claim in the applicable Subsidiary Revoting Class set forth above hereby
             votes with respect to such Claim on the Third Amended DCL Plan as follows (check one box
             only):

               to ACCEPT the                                     to REJECT the
                Third Amended DCL Plan                             Third Amended DCL Plan

ITEM 3.      RELEASE ELECTIONS (OPTIONAL). If you return a Supplemental Ballot and vote to
             accept the Third Amended DCL Plan, you will be deemed to have granted the releases
             contained in Section 11.2.2 of the Plan unless you elect not to grant such releases by checking
             the applicable box below. 2 If you vote to reject the Third Amended DCL Plan, you may elect
             to grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan by
             checking the applicable box below. If you do not return your Supplemental Ballot, you will
             be deemed not to have granted such releases unless you advise the Voting Agent in writing
             that you elect to grant the releases contained in Section 11.2.2 of the Third Amended DCL
             Plan. Election to grant such releases is at your option. If you do not grant the releases
             contained in Section 11.2.2 of the Third Amended DCL Plan, you shall not receive the
             benefit of the releases set forth in Section 11.2.2 of the Third Amended DCL Plan.
                      The undersigned has voted to accept the Third Amended DCL Plan in Item 2 above
                       but elects not to grant the releases contained in Section 11.2.2 of the Third Amended
                       DCL Plan.
                      The undersigned has voted to reject the Third Amended DCL Plan in Item 2 above
                       but elects to grant the releases contained in Section 11.2.2 of the Third Amended
                       DCL Plan.
ITEM 4.      [Intentionally Omitted].

ITEM 5.      [Intentionally Omitted].

ITEM 6.      CERTIFICATION. By signing this Supplemental Ballot, the Holder of the General
             Unsecured Claim in the applicable Subsidiary Revoting Class identified in Item 1 certifies
             that it:
             a.        is the Holder of the General Unsecured Claim in the applicable Subsidiary Revoting
                       Class to which this Supplemental Ballot pertains or is an authorized signatory and has
                       full power and authority to vote to accept or reject the Third Amended DCL Plan and
                       make the elections called for on this Supplemental Ballot;
             b.        has been provided with a copy of the Third Amended DCL Plan, the Supplemental
                       Disclosure Document, and the Resolicitation Order and acknowledges that the vote

2
  Section 11.2.2 of the Third Amended DCL Plan provides that each Person (a) that has voted to accept the Plan and
has not opted out from granting the releases, (b) that has voted to reject the Plan but has opted to grant the releases,
(c) that is deemed to accept the Plan and has been provided an opportunity but has not opted out of granting the
releases, or (d) who otherwise agrees to provide the releases, shall be deemed to have unconditionally released each
and all of the Released Parties of and from any and all claims, obligations, suits, judgments, damages, debts, rights,
remedies, causes of action and liabilities of any nature whatsoever (including, without limitation, the LBO-Related
Causes of Action and those arising under the Bankruptcy Code, including any avoidance claim), whether known or
unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured, existing or hereafter arising, in
law, equity, or otherwise, that are or may be based in whole or in part upon any act, omission, transaction, event or
other occurrence taking place or existing on or before the Effective Date that are in connection with the Debtors or
any of them, or their respective assets, property and Estates, the Chapter 11 Cases or the Plan, Disclosure
Documents or the Restructuring Transactions (as such terms are defined in the Third Amended DCL Plan), except as
otherwise provided in Section 11.2.2 of the Third Amended DCL Plan.

                                                           3
         Case 08-13141-BLS           Doc 10274-3         Filed 11/18/11       Page 132 of 147


                    and election set forth on this Supplemental Ballot are subject to all of the terms and
                    conditions set forth in the Third Amended DCL Plan, the Supplemental Disclosure
                    Document, and the Resolicitation Order; and
           c.       has not submitted any other Supplemental Ballot(s) on account of the General
                    Unsecured Claim in the applicable Subsidiary Revoting Class voted herein that are
                    inconsistent with the votes and elections set forth in this Supplemental Ballot or that,
                    as limited by the terms of the Resolicitation Order and the instructions attached
                    hereto, if such other Supplemental Ballot(s) were previously submitted, they either
                    have been or are hereby revoked or changed to reflect the votes set forth herein.
                 Name:
                          (Print or Type)
                 Signature:

                 By:
                          (If Applicable)

                 Title:
                          (If Applicable)

                 Street Address:

                 ________________________________________________________

                 City, State, Zip Code:

                 Telephone Number:

                 Email: __________________________________________________

         This Supplemental Ballot is not, and may not be deemed to be (a) a proof of claim or equity
interest or an assertion of a claim or equity interest, or (b) an admission by the Debtors or the other
Proponents of the Third Amended DCL Plan of the nature, validity, or amount of any Claim, and does not
signify that your claim has been or will be Allowed.

 YOUR SUPPLEMENTAL BALLOT MUST BE ACTUALLY RECEIVED BY THE VOTING
 AGENT ON OR BEFORE 4:00 P.M. EASTERN TIME ON THE SUPPLEMENTAL VOTING
 DEADLINE (JANUARY 20, 2012), OR YOUR VOTE WILL NOT BE COUNTED AS A VOTE
 TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN, AND YOUR ELECTIONS
 WILL NOT BE VALID. SUPPLEMENTAL BALLOTS SUBMITTED BY FACSIMILE OR
 OTHER ELECTRONIC SUBMISSION WILL NOT BE COUNTED, AND YOUR ELECTIONS
 WILL NOT BE VALID.

 PRIOR VOTES AND ELECTIONS MADE ON THE THIRD AMENDED DCL PLAN, OR
 OTHER PLANS OF REORGANIZATION FOR THE DEBTORS, BY HOLDERS OF
 GENERAL UNSECURED CLAIMS IN THE SUBSIDIARY REVOTING CLASSES WILL NOT
 BE RE-COUNTED. THEREFORE, YOU MUST BE SURE THAT THE SUPPLEMENTAL
 BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE THE SUPPLEMENTAL
 VOTING DEADLINE.

IF YOU HAVE ANY QUESTIONS REGARDING THIS SUPPLEMENTAL BALLOT OR THE
PROCEDURES FOR VOTING ON THE THIRD AMENDED DCL PLAN, OR IF YOU NEED AN
ADDITIONAL SUPPLEMENTAL BALLOT OR ADDITIONAL COPIES OF THE

                                                     4
         Case 08-13141-BLS        Doc 10274-3    Filed 11/18/11     Page 133 of 147


SUPPLEMENTAL DISCLOSURE DOCUMENT, THE THIRD AMENDED DCL PLAN, OR
OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE VOTING AGENT AT (888) 287-
7568 OR AT TRIBUNEVOTE@EPIQSYSTEMS.COM.

YOU MAY USE THE PRE-PAID RETURN ENVELOPE PROVIDED WITH THIS
SUPPLEMENTAL BALLOT, OR YOU MAY RETURN YOUR SUPPLEMENTAL BALLOT BY
PERSONAL DELIVERY, OVERNIGHT COURIER, OR FIRST-CLASS MAIL TO THE
VOTING AGENT AT THE FOLLOWING ADDRESS:

If By Mail:                                     If By Personal Delivery or Overnight Courier:

Tribune Company Ballot Processing Center        Tribune Company Ballot Processing Center
c/o Epiq Bankruptcy Solutions, LLC              c/o Epiq Bankruptcy Solutions
FDR Station, P.O. Box 5014                      757 Third Avenue, Third Floor
New York, NY 10150-5014                         New York, NY 10017




                                            5
             Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 134 of 147



                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                                          Chapter 11

TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)

                                      Debtors.                                  Jointly Administered


           JOINT INSTRUCTIONS FOR COMPLETING THE SUPPLEMENTAL BALLOT
                  TO ACCEPT OR REJECT THE THIRD AMENDED DCL PLAN

THESE INSTRUCTIONS EXPLAIN HOW TO COMPLETE THE SUPPLEMENTAL BALLOT
ENCLOSED IN THE RESOLICITATION PACKAGE FOR VOTING TO ACCEPT OR REJECT
      THE THIRD AMENDED DCL PLAN. PLEASE READ AND FOLLOW THESE
 INSTRUCTIONS CAREFULLY SO THAT YOUR VOTES AND ELECTIONS RESPECTING
             THE THIRD AMENDED DCL PLAN WILL BE COUNTED.
                                      Why You Have Received a Supplemental Ballot
         On December [•], 2011, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [Docket No. [•]] (the “Resolicitation Order”) to provide, among
other things, for procedures for certain Holders of Claims against Tribune Company and/or its
subsidiaries in the above-captioned Chapter 11 Cases (collectively, the “Debtors”) to vote to accept or
reject the Third Amended Joint Plan of Reorganization For Tribune Company and Its Subsidiaries


1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
          Case 08-13141-BLS              Doc 10274-3         Filed 11/18/11         Page 135 of 147



Proposed By the Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital Management,
L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the “Third Amended DCL Plan”)
and to make certain elections called for under such Plan. Capitalized terms used but not defined in these
Instructions have the meanings ascribed to them in (i) the Third Amended DCL Plan, (ii) the
Supplemental Disclosure Document, or (iii) the Resolicitation Order, as applicable.
        The Resolicitation Order provides, among other things, that Holders of General Unsecured
Claims in the Subsidiary Revoting Classes2 may re-vote on the Third Amended DCL Plan and may make
elections thereunder.
          These Joint Instructions apply only to the Supplemental Ballots transmitted to Holders of Other
Parent Claims, Holders of EGI-TRB LLC Notes Claims, Holders of PHONES Notes Claims that are on
account of PHONES Notes purportedly put to Tribune Company for exchange but not paid in cash prior
to the filing of the Debtors’ chapter 11 cases (the “PHONES Notes Exchange Claims”), and Holders of
General Unsecured Claims in the Subsidiary Revoting Classes. If you hold other Claims against Tribune
Company and those Claims are in Classes entitled to re-vote for purposes of the Third Amended DCL
Plan, you will receive separate Supplemental Ballots to vote such Claims.
         You have previously received ballots for voting on and making elections under earlier versions of
the Third Amended DCL Plan and other plans of reorganization that were proposed for the Debtors with
respect to your Claims. Please be aware that your votes on and elections under the earlier versions of the
Third Amended DCL Plan and other plans of reorganization are not being counted for purposes of the
Third Amended DCL Plan. Accordingly, if you wish to have your vote on and elections under the Third
Amended DCL Plan counted, you must complete and return this Supplemental Ballot as provided in these
Instructions.
     PURSUANT TO THE THIRD AMENDED DCL PLAN, IMPAIRED CLASSES OF
CLAIMS FOR WHICH NO VALID BALLOTS ARE RECEIVED WILL BE DEEMED TO
ACCEPT THE THIRD AMENDED DCL PLAN.
                    Materials that You Have Been Sent with the Supplemental Ballot
        You have been sent various materials to assist you in deciding how to vote on the Third Amended
DCL Plan (collectively, the “Resolicitation Package”). In addition to the Supplemental Ballot, the
Resolicitation Package contains the following:
                 a copy of the Third Amended DCL Plan;
                 a Supplemental Disclosure Document (the “Supplemental Disclosure Document”) that
                  describes the modifications to the Third Amended DCL Plan that have been made since
                  the prior solicitation of votes and elections on such Plan. The Supplemental Disclosure
                  Document has been approved by the Bankruptcy Court as a supplement to the previously-
                  distributed Disclosure Documents3 to provide information to the Holders of Claims
                  against the Debtors for deciding how to vote on the Third Amended DCL Plan;

2
 The Subsidiary Revoting Classes are the Classes of General Unsecured Claims against certain Non-Guarantor
Subsidiary Debtors (Classes 2E, 4E through 7E, 10E, 12E through 15E, 18E through 20E, 22E through 38E, 40E,
42E, 43E, and 46E through 49E).
3
 See General Disclosure Statement dated December 15, 2010 [Docket No. 7232] (the “General Disclosure
Statement”), which contains a general description of (among other things) the Debtors, their respective businesses
and their reorganization proceedings; (ii) the Specific Disclosure Statement Relating to First Amended Joint Plan of
Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official Committee of
Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,
N.A. [Docket No. 7135] (the “Specific Disclosure Statement”), which contains a detailed description of (among
other things) the provisions of the First Amended DCL Plan, including those provisions that are retained in the Third

                                                         2
          Case 08-13141-BLS            Doc 10274-3         Filed 11/18/11       Page 136 of 147




                notices respecting the hearing before the Bankruptcy Court to consider confirmation of
                 the Third Amended DCL Plan; and
                a copy of the Resolicitation Order (without exhibits). The Resolicitation Order contains
                 important information regarding the process of voting on the Third Amended DCL Plan
                 and how votes on the Third Amended DCL Plan will be tabulated.
        It is very important that you read all of the materials in the Resolicitation Package carefully
in considering how you wish to vote on the Third Amended DCL Plan and whether you wish to
make the elections called for under such Plan. Your votes on and elections under the Third
Amended DCL Plan are very important and may affect your rights and the treatment of your
Claim.
        If you would like to receive additional copies of the Third Amended DCL Plan, the Supplemental
Disclosure Document, or any other materials relating to the Third Amended DCL Plan, you may obtain
copies without charge by visiting http://chapter11.epiqsystems.com/tribune or by contacting Epiq
Bankruptcy Solutions LLC (the “Voting Agent”) at (888) 287-7568 or tribunevote@epiqsystems.com.
                   Deadline for Returning Supplemental Ballots to the Voting Agent
        You must complete, sign, and date your Supplemental Ballot and return it to the Voting Agent in
the enclosed envelope so that it is actually received by the Voting Agent by no later than January 20,
2012 at 4:00 p.m. (Eastern Time) the (“Supplemental Voting Deadline”). If you do not return your
Supplemental Ballot so that it is actually received by the Voting Agent by the Supplemental Voting
Deadline, the votes reflected on your Supplemental Ballot will not be counted, and the elections reflected
on your Supplemental Ballot will not be valid.
                               How to Complete Your Supplemental Ballot
        The following are step-by-step instructions for how to complete your Supplemental Ballot for
voting on the Third Amended DCL Plan and making the elections called for thereunder:
ITEM 1:          Amount of Claim.
         Please certify the amount of your Claim as of December 12, 2011 (the “Supplemental Record
Date”). By certifying the amount in Item 1, you are certifying that the party submitting the Supplemental
Ballot is the Holder, as of the Supplemental Record Date, of a Claim in the aggregate unpaid amount set
forth in Item 1 of the Supplemental Ballot. The preprinted amount of the Claim set forth in Item 1 of the
Supplemental Ballot will control for voting purposes. If you do not agree with the amount preprinted on
Item 1 of the Supplemental Ballot, please see “Questions Concerning Your Claim Amount” below.
ITEM 1A:         Convenience Class Election (Optional).
         Item 1A applies only to the Holders of Class 1F Other Parent Claims against Tribune Company.
If your Supplemental Ballot relates to a Claim in any other Class, your Supplemental Ballot will not
contain the Convenience Class Election described here. If your Supplemental Ballot does not relate to a
Class 1F Other Parent Claim, your Supplemental Ballot will indicate that Item 1A has been

Amended DCL Plan; and (iii) the Explanatory Statement Relating to Modified Elections Under Second Amended
Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by the Debtors, The Official
Committee of Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan
Chase Bank, N.A. (as modified April 26, 2011) [Docket No. 8754] (the “Explanatory Statement”), which contains a
description of (among other things) certain elections offered under the Second Amended DCL Plan (the General
Disclosure Statement, the Specific Disclosure Statement, the Explanatory Statement, and the Supplemental
Disclosure Document, collectively, the “Disclosure Documents”).



                                                       3
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 137 of 147



“[Intentionally Omitted].” If your Supplemental Ballot states“[Intentionally Omitted]” at Item 1A,
please skip Item 1A and move on to Item 2 below.
         You should check this box if you are the Holder of a Class 1F Other Parent Claim and you wish
to have that Claim treated as a Class 1G Convenience Claim. If you make this election, your Class 1F
Other Parent Claim will be reduced in amount to One Thousand Dollars ($1,000) under the Third
Amended DCL Plan. In addition, if you check the box in Item 1A, (a) such election is an irrevocable and
legally binding obligation; (b) your Claim will receive treatment set forth in the Third Amended DCL
Plan for Class 1G Convenience Claims instead of the treatment afforded to Class 1F Other Parent Claims;
(c) your vote to accept or reject the Third Amended DCL Plan will not be counted; and (d) you will be
deemed to grant the releases set forth in Section 11.2.2 of the Third Amended DCL Plan unless you elect
not to grant such releases by checking the appropriate box on the Supplemental Ballot.
ITEM 2:         Vote to Accept or Reject the Third Amended DCL Plan.
         Please cast your vote to accept or reject the Third Amended DCL Plan by checking the applicable
box in Item 2. Please note that you must vote the entire amount of your Claim to accept or reject the
Third Amended DCL Plan; in other words, you may not vote part of your Claim to accept and part of
your Claim to reject the Third Amended DCL Plan.
         If the Third Amended DCL Plan is confirmed by the Bankruptcy Court and becomes effective, it
will be binding upon you whether or not you vote to accept or reject the Plan or abstain from voting on
the Plan.
         Please be aware that a vote to accept the Third Amended DCL Plan is a vote to grant the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan, unless you elect not to grant such releases by
checking the applicable box on the Supplemental Ballot. If you vote to reject the Third Amended DCL
Plan, you may elect to grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan by
checking the applicable box on your Supplemental Ballot. The Third Amended DCL Plan provides that
each Person (a) that has voted to accept the Plan and has not opted out from granting the releases, (b) that
has voted to reject the Plan but has opted to grant the releases, (c) that is deemed to accept the Plan and
has been provided an opportunity but has not opted out of granting the releases, or (d) who otherwise
agrees to provide the releases, shall be deemed to have unconditionally released each and all of the
Released Parties of and from any and all claims, obligations, suits, judgments, damages, debts, rights,
remedies, causes of action and liabilities of any nature whatsoever (including, without limitation, the
LBO-Related Causes of Action and those arising under the Bankruptcy Code, including any avoidance
claim), whether known or unknown, foreseen or unforeseen, liquidated or unliquidated, matured or
unmatured, existing or hereafter arising, in law, equity, or otherwise, that are or may be based in whole or
in part upon any act, omission, transaction, event or other occurrence taking place or existing on or before
the Effective Date that are in connection with the Debtors or any of them, or their respective assets,
property and Estates, the Chapter 11 Cases or the Plan, Disclosure Documents or the Restructuring
Transactions (as such terms are defined in the Third Amended DCL Plan), except as otherwise provided
in Section 11.2.2 of the Third Amended DCL Plan.
ITEM 3:         Release Elections (Optional).
        If you vote to accept the Third Amended DCL Plan, you are deemed to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt out of granting those
releases. If you vote to reject the Third Amended DCL Plan, you are deemed not to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan unless you affirmatively opt in to granting those releases.
If you do not return a Supplemental Ballot, you are deemed not to grant the releases in Section 11.2.2 of
the Third Amended DCL Plan unless you advise the Voting Agent in writing that you elect to grant the
releases contained in Section 11.2.2 of the Third Amended DCL Plan.



                                                     4
          Case 08-13141-BLS            Doc 10274-3        Filed 11/18/11       Page 138 of 147



        If you voted to accept the Third Amended DCL Plan but wish to opt out of granting the releases
in Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3. Similarly, if you vote to reject the Third Amended DCL Plan but wish to grant the releases in
Section 11.2.2 of the Third Amended DCL Plan, please check the box corresponding to that election in
Item 3.
         If you either (i) vote to accept the Third Amended DCL Plan and do not check the box in Item 3
opting not to grant the Section 11.2.2 releases, or (ii) vote to reject the Third Amended DCL Plan and
check the box in Item 3 opting to grant the Section 11.2.2 releases, you will have consented to the releases
set forth in Section 11.2.2 of the Third Amended DCL Plan to the fullest extent permitted by applicable
law. If you do not grant the releases contained in Section 11.2.2 of the Third Amended DCL Plan,
you will not receive the benefit of the releases set forth in the Third Amended DCL Plan.
ITEM 4:          Other Parent Claim Alternative Treatment Election.
         Item 4 applies only to the Holders of Class 1F Other Parent Claims against Tribune Company. If
your Supplemental Ballot does not relate to a Class 1F Other Parent Claim, your Supplemental Ballot
will indicate that Item 4 has been “[Intentionally Omitted].” If your Supplemental Ballot
states“[Intentionally Omitted]” at Item 4, please skip Item 4 and move on to Item 5 below.
         The Third Amended DCL Plan gives the Holders of Class 1F Other Parent Claims the right to
elect between four alternative treatments for purposes of distribution on account of Allowed Other Parent
Claims, which are described in Section 3.2.6(c) of the Third Amended DCL Plan. The alternative
treatments provided for under Section 3.2.6(c) of the Third Amended DCL Plan are identical to those
provided for under the prior version of such Plan, provided, however, that the adjudication and/or
resolution of certain Allocation Disputes (as defined in the Third Amended DCL Plan) could potentially
affect the distributions to which the Holders of Other Parent Claims are entitled under the Third Amended
DCL Plan. Additional information regarding the Allocation Disputes can be found in Section 5.18 and
Exhibit 5.18 the Third Amended DCL Plan, and the Supplemental Disclosure Document.
         If you wish to receive the treatment set forth in Section 3.2.6(c)(i) of the Third Amended DCL
Plan, please check the box in Item 4A. If you wish to receive the treatment set forth in Section 3.2.6(c)(ii)
of the Third Amended DCL Plan, please check the box in Item 4B. If you wish to receive the treatment
set forth in Section 3.2.6(c)(iii) of the Third Amended DCL Plan, please check the box in Item 4C. You
may only select one treatment option. If you do not submit a Supplemental Ballot, or submit a
Supplemental Ballot but do not check the box in Item 4, you will have consented to the treatment set forth
in Section 3.2.6(c)(iv) of the Third Amended DCL Plan for your Class 1F Other Parent Claim.
        If you elect to receive the Alternative Treatment in Section 3.2.6(c)(ii), (iii), or (iv) of the Third
Amended DCL Plan and you elect not to assign your Disclaimed State Law Avoidance Claims to the
Creditors’ Trust, you will not receive the Pro Rata share of Class 1F Creditors’ Trust Interests on account
of your Other Parent Claims.
ITEM 5:          Election Not to Transfer Disclaimed State Law Avoidance Claims (Optional).
         Item 5 applies only to the Other Parent Claims and EGI-TRB LLC Notes Claims. If your
Supplemental Ballot relates to a General Unsecured Claim in the Subsidiary Revoting Classes, your
Supplemental Ballot will indicate that Item 5 has been “[Intentionally Omitted].” If your Supplemental
Ballot states“[Intentionally Omitted]” at Item 5, please skip Item 5 and move on to Item 6.
         Section 14.3.1 of the Third Amended DCL Plan provides as a default that Holders of certain
Claims against Tribune Company, including Other Parent Claims and EGI-TRB LLC Notes Claims, will
transfer Disclaimed State Law Avoidance Claims to the Creditors’ Trust, which is to be established under
the Third Amended DCL Plan. You have the right to opt out of this transfer under Section 14.3.1 of the
Third Amended DCL Plan. If a Holder of any such Claim wishes to opt out of this transfer, it must check


                                                      5
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 139 of 147



the box in Item 5. If a Holder of a Claim against Tribune Company checks the box not to transfer its
Disclaimed State Law Avoidance Claim, it will be “opting out” of contributing all Disclaimed State Law
Avoidance Claims it now holds or may hold in the future, which Disclaimed State Law Avoidance Claims
would otherwise be prosecuted on such Holder’s behalf by the Creditors’ Trust pursuant to Section 14.3.1
of the Third Amended DCL Plan. If a Holder of a Claim against Tribune Company elects not to transfer
its Disclaimed State Law Avoidance Claims, such Holder will not be entitled to receive Creditors’ Trust
Interests and, accordingly, will not be entitled to share in the proceeds of any recoveries ultimately
obtained by the Creditors’ Trust.
         If a Holder of a Claim against Tribune Company does not check the box in Item 5 and consents to
the transfer of its Disclaimed State Law Avoidance Claim to the Creditors’ Trust, such Holder will be
deemed, pursuant to Section 14.3.1 of the Third Amended DCL Plan, to have, as of the Effective Date of
the Third Amended DCL Plan, contributed all of such Holder’s Disclaimed State Law Avoidance Claims
that it now holds or may hold in the future to the Creditors’ Trust in exchange for Creditors’ Trust
Interests. The Creditors’ Trust Interests may entitle such Holder to share in the proceeds of any recovery
ultimately obtained by the Creditors’ Trust. If a Holder of a Claim against Tribune Company does
not submit a Supplemental Ballot, such Holder will be deemed to have transferred all of its
Disclaimed State Law Avoidance Claims to the Creditors’ Trust and, accordingly, will receive
Creditors’ Trust Interests and may be entitled to share in the proceeds of recoveries obtained by
the Creditors’ Trust, if any. For additional information regarding the Creditors’ Trust, please see
Section 14.3.1 of the Third Amended DCL Plan.
ITEM 6:         Certifications.
        Please review and complete the certifications in Item 6. Your original signature is required on the
Supplemental Ballot for your votes on the Third Amended DCL Plan and your elections under the Third
Amended DCL Plan to count. In addition, in Item 6, if you are completing the Supplemental Ballot on
behalf of an entity, indicate your relationship with such entity and the capacity in which you are signing.
You may be requested at a later time to provide proof of your authorization to so sign. In addition, please
provide your name and mailing address if different from that set forth on the mailing label, or if no
mailing label is attached to the Supplemental Ballot.
                       Returning Your Supplemental Ballot to the Voting Agent
         Once you have completed your Supplemental Ballot in accordance with the foregoing
instructions, please return the completed Supplemental Ballot to the Voting Agent at the appropriate
address specified in your Supplemental Ballot so that the Supplemental Ballot is actually received by the
Voting Agent before the Supplemental Voting Deadline.
        No Electronic Transmissions. Supplemental Ballots submitted by facsimile or other electronic
transmission will not be counted. In addition, please note that if your Supplemental Ballot is illegible or
contains insufficient information to permit the identification of the Holder of the Claim, your
Supplemental Ballot will not be counted. Do not mail your Supplemental Ballots directly to the Debtors
or to any of the Proponents of the Third Amended DCL Plan.
         No Withdrawal. After the Supplemental Voting Deadline, unless you obtain the prior consent of
the Proponents of the Third Amended DCL Plan or Bankruptcy Court approval, you may not (i) withdraw
or modify your Supplemental Ballot in any way, (ii) change your vote to accept or reject Third Amended
DCL Plan, (iii) change your release or treatment elections (if applicable), or (iv) change your election not
to transfer your Disclaimed State Law Avoidance Claims to the Creditors’ Trust (if applicable).
                              Questions Concerning Your Claim Amount
       If you disagree with the amount of your Claim set forth in Item 1 of the Supplemental Ballot, you
may ask the Bankruptcy Court to allow your Claim solely for voting purposes in a different amount. To


                                                     6
         Case 08-13141-BLS           Doc 10274-3         Filed 11/18/11      Page 140 of 147



have your claim allowed solely for voting purposes under the Third Amended DCL Plan in a different
amount, you must serve on the Proponents of the Third Amended DCL Plan (at the addresses listed on
page 1 of the Third Amended DCL Plan) and file with the Bankruptcy Court, on or before January [•],
2012, a motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for
purposes of voting (a “3018 Motion”).
         A 3018 Motion must set forth with particularity the amount and classification in which you
believe your Claim should be allowed for voting purposes only, and the evidence in support of your
belief. If you file a 3018 Motion by the deadline above, your Supplemental Ballot will be counted (a) in
the amount established by the Bankruptcy Court in an order entered on or before the Supplemental Voting
Deadline, or (b) if such an order has not been entered by the Supplemental Voting Deadline and unless
the Proponents of the Third Amended DCL Plan have come to an agreement with you as to the relief
requested in the 3018 Motion, in an amount equal to the preprinted amount on the ballot or otherwise in
accordance with the tabulation rules set forth in the Resolicitation Order. January [•], 2012, at [•]:00
[•]a.m. (Eastern Time) has been established as the date and time for a hearing to consider any and all
3018 Motions.
        Additional Questions. If you have questions concerning the ballots or the procedures for voting
to accept or reject the Third Amended DCL Plan, or if you need an additional Supplemental Ballot or
additional copies of other materials in the Resolicitation Package, please contact the Voting Agent at 888-
287-7568 or tribunevote@epiqsystems.com. The Materials in the Resolicitation Package may also be
obtained free of charge by visiting http://chapter11.epiqsystems.com/tribune.
         The Supplemental Ballot is Not a Proof of Claim or Interest. The Supplemental Ballot is not,
and may not be deemed to be (a) a proof of claim or equity interest or an assertion of a claim or equity
interest, or (b) an admission by the Debtors or the other Proponents of the Third Amended DCL Plan of
the nature, validity, or amount of any Claim, and does not signify that your claim has been or will be
Allowed.




                                                     7
            Case 08-13141-BLS    Doc 10274-3   Filed 11/18/11   Page 141 of 147




                                       EXHIBIT G

                                Confirmation Hearing Notice




CH1 6333435v.6
             Case 08-13141-BLS                     Doc 10274-3               Filed 11/18/11              Page 142 of 147


                                 IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re
                                                                                Chapter 11
TRIBUNE COMPANY, et al.,1                                                       Case No. 08-13141 (KJC)
                                                                                Jointly Administered
                                 Debtors.

    NOTICE OF HEARING TO CONSIDER CONFIRMATION OF THIRD AMENDED JOINT
     PLAN OF REORGANIZATION FOR TRIBUNE COMPANY AND ITS SUBSIDIARIES2

         PLEASE TAKE NOTICE THAT on December 18, 2011, the debtors and debtors in possession
in the above-captioned chapter 11 cases (the “Debtors”), the Official Committee of Unsecured Creditors,
JPMorgan Chase Bank, N.A., Oaktree Capital Management, L.P., and Angelo, Gordon & Co., L.P.
(collectively, the “Plan Proponents”), filed the Third Amended Joint Plan of Reorganization for Tribune
Company and Its Subsidiaries (the “Third Amended Plan”). The Third Amended Plan modifies in certain
respects the treatment to be received by certain creditors that were afforded under the Second Amended
Joint Plan of Reorganization for Tribune Company and Its Subsidiaries that was filed with the Bankruptcy
Court on April 26, 2011, as amended on October 19, 2011 (the “Second Amended Plan”).
       PLEASE TAKE FURTHER NOTICE THAT, on December 18, 2011, the Debtors filed with
the Bankruptcy Court a Supplemental Disclosure Document (the “Supplemental Disclosure Document”)



1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Third
Amended Plan or the Resolicitation Order (as defined below).
          Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11       Page 143 of 147


that, in summary, describes and explains the modifications that have been made to the Third Amended
Plan as compared to the Second Amended Plan.
          PLEASE TAKE FURTHER NOTICE THAT on December [●],2011, the Bankruptcy Court
entered an order (the “Resolicitation Order”) [D.I. ●] that, among other things, (i) approved the
Supplemental Disclosure Document; (ii) approved procedures for the resolicitation and tabulation of votes
and/or elections under the Third Amended Plan from certain Revoting Classes (as defined below);
(iii) affirmed that votes cast and elections made by non-Revoting Classes under the Second Amended
Plan will continue to be counted as votes and elections under the Third Amended Plan; and (iv) scheduled
the hearing to consider confirmation of the Third Amended Plan (the “Confirmation Hearing”) and
establish certain key dates and deadlines in respect thereof.
        Pursuant to the Resolicitation Order, the votes and elections of Holders of (i) Senior
Noteholder Claims, (ii) Other Parent Claims, (iii) EGI-TRB LLC Notes Claims, and (iv) PHONES
Notes Claims are being solicited on the Third Amended Plan, as are the votes and elections of
Holders of a limited number of General Unsecured Claims against certain subsidiaries of Tribune
Company (collectively, the “Revoting Classes”). The votes and elections of all other Holders of
Claims on the Second Amended Plan will be counted as votes and elections on the Third Amended
Plan as well. Information provided in the Resolicitation Order will allow all creditors to determine
whether any action is necessary on their part regarding a vote to accept or reject the Third
Amended Plan.
        PLEASE TAKE FURTHER NOTICE THAT:
         1. The Confirmation Hearing will commence on [●], 2012 at [●]:00 [●].m. Eastern Time
before the Honorable Kevin J. Carey, United States Bankruptcy Judge, at the United States Bankruptcy
Court for the District of Delaware, 824 Market Street, Fifth Floor, Courtroom No. 5, Wilmington,
Delaware 19801, to consider confirmation of the Third Amended Plan. The Confirmation Hearing may
be continued from time to time without further notice to creditors or other parties in interest, and the Plan
may be modified, if necessary, in accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy
Procedure, and other applicable law, before, during, or as a result of the Confirmation Hearing, without
further notice to creditors or other parties in interest.

        2. The Court has established [January 20, 2012] at 4:00 p.m. (prevailing Eastern time) as the
date and time by which votes to accept or reject the Third Amended Plan must be submitted by Holders of
Claims in the Revoting Classes (the “Supplemental Voting Deadline”). This notice has been approved by
the Court pursuant to the Resolicitation Order in order to provide interested parties, such as Holders of
Claims against and Interests in the Debtors, with information concerning the process by which the
Debtors will seek the necessary approvals of the Third Amended Plan.

 Objections to Confirmation of the Third Amended Plan
         3. Under the Resolicitation Order, objections, if any, to confirmation of the Plan must: (a) be in
writing; (b) state the name and address of the objecting party and the nature of the claim or interest of
such party; (c) state with particularity the legal and factual basis and nature of any objection to the Third
Amended Plan; and (d) be filed with the United States Bankruptcy Court for the District of Delaware, 824
North Market Street, Third Floor, Wilmington, Delaware 19801 together with proof of service, and served
so as to be RECEIVED on or before 4:00 p.m. Eastern Time on [January 20, 2012] by the following:
(i) Sidley Austin LLP, One South Dearborn Street, Chicago, IL 60603, Facsimile (312) 853-7036, Attn:
Jessica C.K. Boelter; (ii) Cole, Schotz, Meisel, Forman & Leonard, P.A., 500 Delaware Avenue, Suite
1410, Wilmington, DE 19801, Facsimile (302) 652-3117, Attn: J. Kate Stickles; (iii) Chadbourne &
Parke, LLP, 30 Rockefeller Plaza, New York, NY 10112, Facsimile (212) 408-5100, Attn: Douglas E.
Deutsch; and (iv) Landis, Rath & Cobb, LLP, 919 Market Street, Suite 1800, Wilmington, DE 19801,
Facsimile (302) 467-4450, Attn: Adam G. Landis; (v) Zuckerman Spaeder LLP, 1800 M Street, N.W.,
Suite 1000, Washington, DC 20036, Facsimile: (202) 822-8106; (vi) Dewey & LeBoeuf LLP, 333 South
Grand Avenue, Suite 2600, Los Angeles, CA 90071, Facsimile (213) 621-6100, Attn: Bruce Bennett; (vii)
         Case 08-13141-BLS           Doc 10274-3        Filed 11/18/11      Page 144 of 147


Young Conaway Stargatt & Taylor, LLP, The Brandywine Bldg, 17th Floor, 1000 West Street, Post Office
Box 391, Wilmington, Delaware 19899-0391, Facsimile (302) 571-1253, Attn: Robert S. Brady; (viii)
Wilmer Cutler Pickering Hale & Dorr LLP, 399 Park Avenue, New York, New York 10022, Facsimile
(212) 230-8888, Attn: Andrew Goldman, (ix) Davis Polk & Wardwell LLP, 450 Lexington Avenue, New
York, NY 10017, Facsimile (212) 701-5800, Attn: Donald S. Bernstein; (x) Richards, Layton & Finger,
P.A., One Rodney Square, 920 N. King Street, Wilmington, DE 19801, Facsimile (312) 651-7701, Attn:
Mark D. Collins; and (xi) The Office of the United States Trustee, J. Caleb Boggs Federal Building, 844
King Street, Suite 2207, Lock Box 35, Wilmington, Delaware 19801, Facsimile (302) 573-6497, Attn:
David A. Klauder. Objections not timely filed and served in such manner set forth in the Resolicitation
Order may not be considered by the Bankruptcy Court.
        4. If you filed an objection to the Second Amended Plan and wish to object to confirmation
of the Third Amended Plan, you must re-submit that objection as described in this Notice after the
date of this Notice. Objections to the Second Amended Plan will not be automatically considered as
objections to the Third Amended Plan.
Additional Information About the Third Amended Plan
         5. The Supplemental Disclosure Document, the Third Amended Plan, and the Resolicitation
Order are on file with the Clerk of the Bankruptcy Court, Third Floor, 824 Market Street, Wilmington,
Delaware 19801 and may be examined by parties in interest by visiting the Office of the Clerk of the
Bankruptcy Court during business hours. In addition, any party in interest wishing to obtain copies of the
Supplemental Disclosure Document, the Third Amended Plan, the Resolicitation Order, or other
information about the solicitation procedures may request such information by contacting the Voting
Agent (i) by first-class mail addressed to: Tribune Company Ballot Processing Center, c/o Epiq
Bankruptcy Solutions, LLC, FDR Station, PO Box 5014, New York, NY 10150-5014; (ii) by personal
delivery or overnight courier to: Tribune Company Ballot Processing Center, c/o Epiq Bankruptcy
Solutions, LLC, 757 Third Avenue, Third Floor, New York, NY 10017; or (iii) by telephoning the Voting
Agent at (646) 282-2400. Copies of the Supplemental Disclosure Document, the Third Amended Plan,
and the Resolicitation Order are also available on the Internet free of charge at
http://chapter11.epiqsystems.com/tribune.
        6.      The Third Amended Plan contains various releases, including certain releases that
will be granted by Holders of Claims and Interests unless such Holders vote to reject the Third
Amended Plan and do not elect to grant such releases. The provisions are contained in Section
11.2.2 of the Third Amended Plan, and you are encouraged to read those provisions carefully in
connection with any vote you may cast to accept or reject the Third Amended Plan.

Dated: December [●], 2011

SIDLEY AUSTIN LLP                                 COLE, SCHOTZ, MEISEL, FORMAN
                                                  & LEONARD, P.A.
James F. Conlan                                   Norman L. Pernick (No. 2290)
Bryan Krakauer                                    J. Kate Stickles (No. 2917)
Kevin T. Lantry                                   Patrick J. Reilley (No. 4451)
Jessica C.K. Boelter                              500 Delaware Avenue, Suite 1410
One South Dearborn Street                         Wilmington, DE 19801
Chicago, IL 60603                                 (302) 652-3117
(312) 853-7036
           Counsel for Debtors and Debtors In Possession and Certain Non-Debtor Affiliates
            Case 08-13141-BLS   Doc 10274-3   Filed 11/18/11   Page 145 of 147




                                     EXHIBIT H

                                   Publication Notice




CH1 6333435v.6
                   Case 08-13141-BLS          Doc 10274-3              Filed 11/18/11       Page 146 of 147




                     UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE
     In re:                               Chapter 11
     TRIBUNE COMPANY, et al.,             Case No. 08-13141 (KJC)
                            Debtors.      Jointly Administered
Tribune Company                            KPLR, Inc.                                    Towering T Music Publishing Company
435 Production Company                     KSWB Inc.                                     Tribune Broadcast Holdings, Inc.
5800 Sunset Productions Inc.               KTLA Inc.                                     Tribune Broadcasting Company
 Baltimore Newspaper Networks, Inc.        KWGN Inc.                                     Tribune Broadcasting Holdco, LLC
California Community News Corp.            Los Angeles Times Communications LLC          Tribune Broadcasting News Network, Inc., n/k/a
Candle Holdings Corporation                Los Angeles Times International, Ltd.         Tribune Washington Bureau Inc.
Channel 20, Inc.                           Los Angeles Times Newspapers, Inc.            Tribune California Properties, Inc.
Channel 39, Inc.                           Magic T Music Publishing Company              Tribune CNLBC, LLC f/k/a Chicago National
Channel 40, Inc.                           NBBF, LLC                                     League Ball Club, LLC
Chicago Avenue Construction Company        Neocomm, Inc.                                 Tribune Direct Marketing, Inc.
Chicago River Production Company           New Mass. Media, Inc.                         Tribune Entertainment Company
Chicago Tribune Company                    Newscom Services, Inc.                        Tribune Entertainment Production Co.
Chicago Tribune Newspapers, Inc.           Newspaper Readers Agency, Inc.                Tribune Finance, LLC
Chicago Tribune Press Service, Inc.        North Michigan Production Company             Tribune Finance Service Center, Inc.
ChicagoLand Microwave Licensee, Inc.       North Orange Avenue Properties, Inc.          Tribune License, Inc.
Chicagoland Publishing Company             Oak Brook Productions, Inc.                   Tribune Los Angeles, Inc.
Chicagoland Television News, Inc.          Orlando Sentinel Communications Co.           Tribune Manhattan Newspaper Hldgs, Inc.
Courant Specialty Products, Inc. (9221);   Patuxent Publishing Company                   Tribune Media Net, Inc.
Direct Mail Associates, Inc.               Publishers Forest Products Co. of Wash.       Tribune Media Services, Inc.
Distribution Systems of America, Inc.      Sentinel Communications News Ventures, Inc.   Tribune Network Holdings Company
Eagle New Media Investments, LLC           Shepard's Inc.                                Tribune New York Newspaper Hldgs, LLC
Eagle Publishing Investments, LLC          Signs of Distinction, Inc.                    Tribune NM, Inc.
forsalebyowner.com corp.                   Southern Connecticut Newspapers, Inc.         Tribune Publishing Company
ForSaleByOwner.com Referral Serv, LLC      Star Community Publishing Group, LLC          Tribune Television Company
Fortify Holdings Corporation               Stemweb, Inc.                                 Tribune Television Holdings, Inc.
Forum Publishing Group, Inc.               Sun-Sentinel Company                          Tribune Television New Orleans, Inc.
Gold Coast Publications, Inc.              The Baltimore Sun Company                     Tribune Television Northwest, Inc.
GreenCo, Inc.                              The Daily Press, Inc.                         ValuMail, Inc.
Heart & Crown Advertising, Inc.            The Hartford Courant Company                  Virginia Community Shoppers, LLC
Homeowners Realty, Inc.                    The Morning Call, Inc.                        Virginia Gazette Companies, LLC
Homestead Publishing Co.                   The Other Company LLC                         WATL, LLC
Hoy, LLC                                   Times Mirror Land and Timber Company          WCWN LLC
Hoy Publications, LLC                      Times Mirror Payroll Processing Co., Inc.     WDCW Broadcasting, Inc.
InsertCo, Inc.                             Times Mirror Services Company, Inc.           WGN Continental Broadcasting Company
Internet Foreclosure Service, Inc.         TMLH 2, Inc.                                  WLVI Inc.
JuliusAir Company, LLC                     TMLS I, Inc.                                  WPIX, Inc.
JuliusAir Company II, LLC;                 TMS Entertainment Guides, Inc.                WTXX Inc.
KIAH Inc.                                  Tower Distribution Company
        NOTICE OF HEARING TO CONSIDER CONFIRMATION OF THIRD AMENDED JOINT
        PLAN OF REORGANIZATION FOR TRIBUNE COMPANY AND ITS SUBSIDIARIES AND
                    VOTING AND OBJECTION DEADLINES RELATING TO THE PLAN
              PLEASE TAKE NOTICE THAT on November [18], 2011, the Debtors in the above-referenced
     chapter 11 cases filed the Third Amended Joint Plan of Reorganization for Tribune Company and Its
     Subsidiaries (as may be amended, the “Plan”) and the Supplemental Disclosure Document related to the
     Plan (as may be amended, the “Supplemental Disclosure Document”). Capitalized terms not defined in
     this notice have the meanings given to them in the Plan.
              PLEASE TAKE FURTHER NOTICE THAT:
              1. The deadline for voting to accept or reject the Plan is 4:00 p.m. Eastern Time on January
     20, 2011, unless such time is extended. Objections to the Plan must comply with the Resolicitation
     Order and be filed by 4:00 p.m. Eastern Time on January [●], 2012. A hearing to consider
     confirmation of the Plan will be held on February [●], 2012 at 10:00 a.m. Eastern Time, at the United
     States Bankruptcy Court for the District of Delaware, 824 North Market Street, Fifth Floor, Courtroom
     No. 5, Wilmington, Delaware 19801. That hearing may be continued from time to time without further
     notice.
              2. On December [●], 2011, the United States Bankruptcy Court for the District of Delaware
     (the “Court”) entered an order (the “Resolicitation Order”) approving the Supplemental Disclosure
          Case 08-13141-BLS            Doc 10274-3       Filed 11/18/11       Page 147 of 147



Document and the procedures for providing notice to parties in interest of the Plan and the hearing to
confirm the Plan, and approving procedures for resoliciting votes on and elections under the Plan.
         3. The scope of resolicitation of the Plan is limited to Holders of Claims in the following
Classes: Senior Noteholder Claims (Class 1E), Other Parent Claims (Class 1F), EGI-TRB LLC Notes
Claims (Class 1I), PHONES Notes Claims (Class 1J), and the Holders of Claims in the thirty-seven (37)
Classes of General Unsecured Claims against Non-Guarantor Debtors for which no Holders voted to
accept or reject the DCL Plan in the prior solicitation process (Classes 2E, 4E through 7E, 10E, 12E
through 15E, 18E through 20E, 22E through 38E, 40E, 42E, 43E, and 46E through 49E).
         4. Any party in interest wishing to obtain copies of the Supplemental Disclosure Document, the
Plan, the Resolicitation Order or other information about the resolicitation procedures, or with questions
about their ballot, or inquiries on obtaining a ballot, may request such information or materials by
contacting the Voting Agent (i) by first-class mail addressed to Tribune Company Ballot Processing
Center, c/o Epiq Bankruptcy Solutions, LLC, FDR Station, PO Box 5014, New York, NY 10150-5014;
(ii) by personal delivery or overnight courier to Tribune Company Ballot Processing Center, c/o Epiq
Bankruptcy Solutions, LLC, 757 Third Avenue, Third Floor, New York, NY 10017; or (iii) by telephone
at (646) 282-2400. Copies of the Supplemental Disclosure Document, the Plan and the Resolicitation
Order, as well as additional information concerning the matters described in this notice, are also available
on the Internet free of charge at http://chapter11.epiqsystems.com/tribune.

Dated: December [●], 2011

SIDLEY AUSTIN LLP                          COLE SCHOTZ MEISEL FORMAN
James F. Conlan, Bryan Krakauer,           & LEONARD, P.A.
Kenneth P. Kansa, Jessica C.K.             Norman L. Pernick (No. 2290), J. Kate Stickles (No.
Boelter, One South Dearborn Street,        2917), Patrick J. Reilley (No. 4451), 500 Delaware
Chicago, Illinois 60603, Tele: (312)       Avenue, Suite 1410, Wilmington, Delaware 19201,
853-0199, Fax: (312) 853-7036              Tele: (302) 652-3131, Fax: (302) 652-3117

                          Counsel for Debtors and Debtors In Possession




                                                     2
